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              UNITED STATES DISTRICT COURT OF MARYLAND
1                        SOUTHERN DIVISION
2   ---------------------------x
    UNITED STATES OF AMERICA   :
3               Plaintiff      :
                               :
4                              :
    vs                         :Criminal Action:RWT-04-0235
5                              :
                               :
6   PAULETTE MARTIN, et al     :
                 Defendants.   :
7   ---------------------------x
8
                                  Monday, July 31, 2006
9                                 Greenbelt, Maryland
0
1          The above-entitled action came on for a Charge
    Conference Proceeding before the HONORABLE ROGER W.
1   TITUS, United States District Judge, in courtroom 4C,
    commencing at 2:00 p.m.
2
1
           THIS TRANSCRIPT REPRESENTS THE PRODUCT
3
1          OF AN OFFICIAL REPORTER, ENGAGED BY
           THE COURT, WHO HAS PERSONALLY CERTIFIED
4
1          THAT IT REPRESENTS THE PROCEEDINGS AS RECORDED AND
           REQUESTED.
5
1
           APPEARANCES:
6
1
           On behalf of the Plaintiff:
7
1
           DEBORAH JOHNSTON, Esquire
8
1          BONNIE GREENBERG, Esquire
9
1          On behalf of the Defendants:
0
2          MICHAEL MONTEMARANO, Esquire
           ANTHONY MARTIN, Esquire
1
2          MARC HALL, Esquire
           TIMOTHY MITCHELL, Esquire
2          PETER WARD, Esquire
           EDWARD SUSSMAN, Esquire
3
2          HARRY MCKNETT, Esquire
4
2   Tracy Rae Dunlap, RPR, CRR                         (301) 344-3912
    Official Court Reporter
5
2



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                                  I N D E X
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    Reporter's Certificate                                  216
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            THE COURT:     Because I'm only able to use one arm,
1
    I've asked my law clerk to come up here and help shuffle
2
    books around this afternoon.
3
            MS. JOHNSTON:      Your Honor, I'm not sure how the
4
    court wants to proceed; however, I do want to advise the
5
    court of one thing.      I was unable to reschedule grand
6
    jury that I have at 4 o'clock.          It cannot be moved for
7
    reasons that I really can't discuss in court.
8
    Fortunately, Ms. Greenberg is covering most, if not all,
9
    of the jury instruction issues.
0
1
            But in terms of the defense calls the defense
1
    wants to play in their case in chief or during
2
1
    cross-examination --
3
1
            THE COURT:     Why don't we work things around and
4
1
    get things so your 4 o'clock matter, you go to grand
5
1
    jury?
6
1
            MS. JOHNSTON:      I wanted to let the court know that
7
1
    in terms of the calls they're proposing, I'm much more
8
1
    familiar with those than Ms. Greenberg.            So, I would --
9
1
            THE COURT:     Can you come back?
0
2
            MS. GREENBERG:      Excuse me?
1
2
            THE COURT:     Can you come back?
2
            MS. JOHNSTON:      I can absolutely come back.           I
3
2
    expect to be done by 4:45, five by the latest.
4
2
            THE COURT:     We, hopefully, will be done by then.
5
2



                                                                     Page   3
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    But if not, you will be back.
1
            MS. GREENBERG:       Judge, there's another reason to
2
    cover this.     We've been attempting to find out the
3
    witnesses for tomorrow, and we've been told so far that
4
    Mr. Montemarano has available Mr. Shannon, Ms. West, and
5
    potentially Mr. Williams.         That probably won't take up
6
    the rest of the day after Ms. Dobie is finished.
7
            THE COURT:      Well, I have a news bulletin for you
8
    from the marshal.       This is Mr. Martin's client.
9
    According to P. G. Medical, Mr. Goodwin's crown has been
0
1
    repaired and, I think, reglued or new adhesive or
1
    whatever the case may be.         He's fixed.      Mr. Martin, you
2
1
    should plan on your client being, at the earliest
3
1
    possible time, the next witness.           Okay?
4
1
            MR. MARTIN:      I'm ready.
5
1
            THE COURT:      Good.    He's ready, too.        He's fixed.
6
1
            MS. GREENBERG:       Your Honor, my only suggestion is
7
1
    that I understand that Mr. Goodwin might testify, but he
8
1
    might not.     And Ms. Martin might testify, and she might
9
1
    not.   And if we resolve the call issue, Sergeant Sakala
0
2
    is here.     So if they run out of witnesses, they can then
1
2
    proceed to what they want to do with Sergeant Sakala, and
2
    we won't waste any time.
3
2
            THE COURT:      Okay.
4
2
            MS. GREENBERG:       I also, Your Honor, took the
5
2



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    liberty of passing out to defense counsel a cleaned up
1
    verdict form with whatever minor things people have
2
    pointed out during the trial.
3
            THE COURT:      You have one for me, I hope.
4
            MS. GREENBERG:       I have two copies for the court;
5
    one for your clerk, and also a disk.             And counsel has got
6
    one.
7
            THE COURT:      Let me just note for the record that
8
    all defense counsel are here except for Mr. Sussman, who
9
    indidated he was waiving his right to be present.                He
0
1
    submitted information about the jury instructions in
1
    writing.    And of course, the actions I take today about
2
1
    the jury instructions are not absolutely chiseled in
3
1
    granite final.      We will confer about them obviously
4
1
    before I give them, we will hear about them after I have
5
1
    given them.     There will be plenty of opportunity to
6
1
    participate in that.        And I will revisit any rulings
7
1
    before I make them final with regard to Mr. Sussman's
8
1
    client, but he has waived his right to be present.
9
1
            I also note that no defendant is here, other than
0
2
    Mr. Bynum, who wishes to be here, and he's welcome to be
1
2
    here today.
2
            MR. HALL:      Your Honor, I will also point out in
3
2
    reference to Mr. Sussman that had E-mailed me this
4
2
    weekend a number of points that he wanted made, so I will
5
2



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    --
1
               THE COURT:      I will think Mr. Sussman -- when I
2
    look at you -- I will think "Sussman" when I look at you.
3
               MR. HALL:      Do you want me to walk over there?
4
               THE COURT:      No, it's okay.
5
               Let me ask counsel this.          Just in terms of
6
    planning purposes, we're going to be going this week, in
7
    the absence of some problem, from 9:00 to 5:00, except
8
    for Thursday when we're going to go from 9:30 to 5:00.
9
    And what I'm trying to ascertain is whether it is a
0
1
    collective wisdom of the defense that that is going to be
1
    enough to get time to get the defense case done or not.
2
1
               MR. MONTEMARANO:        I can speak to some of that.
3
1
    Much of this, of course, depends on Mr. Goodwin and his
4
1
    final determination on testifying, because --
5
1
               THE COURT:      I believe as of the last time we spoke
6
1
    he was going to testify; is that right, Mr. Martin?
7
1
               MR. MARTIN:      That was my understanding Your Honor,
8
1
    despite my many admonitions to the contrary.
9
1
               THE COURT:      All right.
0
2
               MR. MONTEMARANO:        Your Honor let's just say I have
1
2
    not spoken to Mr. Goodwin about testifying, but I have
2
    enough information to speak to the balance of this.                      We
3
2
    would begin tomorrow morning with Ms. Dobie and complete
4
2
    her; that would take the better part of the morning.                      Mr.
5
2



                                                                         Page     6
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    Ward is suggesting he may have another witness.               Is that
1
    correct, Peter?
2
           MR. WARD:      Well, finding one, I will be glad to
3
    put him on.    But I don't have another issue, but we do
4
    have an issue that, of course, I have raised.
5
           THE COURT:      I will address that.         But, your
6
    witness would be Ms. Dobie.
7
           MR. WARD:      Ms. Dobie.
8
           THE COURT:      Continue, Mr. Montemarano.
9
           MR. WARD:      Of course, I do want to have the
0
1
    opportunity to question Sergeant Sakala.
1
           THE COURT:      Right.     Monday.
2
1
           MR. MONTEMARANO:         That's separate and apart.
3
1
           THE COURT:      That's a separate issue.
4
1
           MR. MITCHELL:       The only thing I anticipate, Your
5
1
    Honor, is the cross-examination of Sergeant Sakala and
6
1
    perhaps a rebuttal witness, depending on the answer to
7
1
    one of my questions.
8
1
           THE COURT:      Rebuttal to Sergeant Sakala?
9
1
           MR. MITCHELL:       Yes.
0
2
           MR. MONTEMARANO:         So I would ask the court to
1
2
    establish to its satisfaction a final answer from Mr.
2
    Goodwin tomorrow morning first thing.
3
2
           THE COURT:      Oh, I intend to.
4
2
           MR. MONTEMARANO:         My witnesses are on call.            I did
5
2



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    not ask them to come in.
1
           THE COURT:      I will, first thing in the morning,
2
    say, how are your teeth doing.          And I understand is
3
    they've been fixed.
4
           MR. MONTEMARANO:        Your Honor, so you understand,
5
    I'm not trying to tell you how to do your job.               I'm
6
    trying to tell you where I stand.
7
           THE COURT:      You make all the suggestions you want.
8
           MR. MONTEMARANO:        Assuming Mr. Goodwin testifies,
9
    it's safe to assume I won't need my witnesses by
0
1
    Wednesday.
1
           THE COURT:      You will finish with your witnesses --
2
1
           MR. MONTEMARANO:        I will not need them until
3
1
    Wednesday.
4
1
           THE COURT:      I think we will be full right now with
5
1
    Ms. Dobie with Mr. Goodwin.
6
1
           MR. MONTEMARANO:        I, therefore, would tell them at
7
1
    lunch on Tuesday, see you Wednesday morning.              If,
8
1
    however, Mr. Goodwin bails on his option to testify
9
1
    tomorrow morning first thing, I will request a brief
0
2
    moment before the jury is brought in so I can call my
1
2
    witnesses and inform them they need to be here.
2
           THE COURT:      All right.      Well, just tell the
3
2
    government so they are ready to go.
4
2
           MR. MONTEMARANO:        That would be Matthew Shannon,
5
2



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    he's an attorney in D. C.        He and I spoke this morning
1
    and I told him I would give him a heads-up when he would
2
    be needed.     All he wants to know is when.
3
              THE COURT:   Okay.
4
              MR. MONTEMARANO:     And Martha Jean West.         She is
5
    staying in southern Prince George's County with friends.
6
    I'm going to go check with the clerk when we take a break
7
    this afternoon on compensation to her for -- she's from
8
    Florida, and I think the government's obligated to put
9
    her up.     I'm not sure how that works, and I need to find
0
1
    out about that if she just needs to submit receipts or
1
    whatever, because she's thinking it's an hour and a half
2
1
    trip.
3
1
              I went down there this morning.         I know -- she
4
1
    might stay closer so she would be available the night
5
1
    before and then could begin whenever we need her.               So, to
6
1
    that extent I would tell her to get up here tomorrow
7
1
    first thing in the morning, and I'll give her a heads-up
8
1
    about that potential today.         Otherwise, I would ask her
9
1
    to be here on Wednesday.
0
2
              THE COURT:   As we all know the closest hotel is
1
2
    the green belt Marriott and I don't sell hotel rooms.
2
              MS. JOHNSTON:    Your Honor, in terms of Martha Jean
3
2
    West.     It is my understanding she had counsel at one
4
2
    point in time in relation to this matter and that she
5
2



                                                                     Page   9
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    does have a Fifth Amendment right because, in fact, she
1
    was selling stolen clothes to Ms. Martin.              So, those are
2
    issues that I thought I should mention to the court.
3
            THE COURT:     Mr. Montemarano, are you aware of who
4
    her counsel is, or do I need to contemplate the provision
5
    of appointment of counsel for her?
6
            MR. MONTEMARANO:        When I first spoke with Ms.
7
    West, I spoke, as well, to her attorney in Florida, about
8
    whom she informed me perhaps halfway through our
9
    conversation, at which point of course I pulled up on the
0
1
    reins and I said let me have a name and number; let me
1
    talk to him.     Obviously, that's what I'm supposed to do.
2
1
            THE COURT:     Right.
3
1
            MR. MONTEMARANO:        When I served the subpoena on
4
1
    her it was, you know, a year plus later.             She informed me
5
1
    she was going to speak with a friend of hers who is a
6
1
    friend of hers up here when she got up here, but she
7
1
    wanted to talk to me.       We did so.      I have no knowledge
8
1
    from the government as to what material they may have
9
1
    that they think is impeachable, and perhaps that's
0
2
    something we should sort out before I even bring her to
1
2
    the court because that might solve this --
2
            THE COURT:     Why don't I do this?         Why don't I
3
2
    contact Ms. Shearer and ask her to have identified
4
2
    standby counsel ready in the event that we need one.
5
2



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            MR. MONTEMARANO:       That would be a good idea.             I
1
    don't think Donna's in.        I just left a phone message for
2
    her.
3
            MR. WARD:     Ms. Shearer is not here today.            I
4
    called her on the way down.         She was out ill today.
5
            MR. MONTEMARANO:       She sounded like death warmed
6
    over on her phone message.
7
            THE COURT:     We've already assaulted the judge and
8
    beat up one defense attorney, so I guess it wouldn't be
9
    poetic if we didn't mess up the CJA coordinator as well.
0
1
            MR. MONTEMARANO:       I would caution Ms. Johnston and
1
    Ms. Greenberg that their turn is next.             In any event, we
2
1
    would then go to Ms. West.         Once Ms. West was complete,
3
1
    and that would take a substantial portion of Wednesday if
4
1
    not all of it.     Mr. McKnett would then move to the
5
1
    recross or continued cross, or however you want to call
6
1
    it, on Sergeant Sakala.
7
1
            And after Sergeant Sakala, who Mr. McKnett and I
8
1
    have a number of calls to discuss, Mr. McKnett would move
9
1
    to his witnesses, and the defense will be done.               I'm not
0
2
    sure how long it will take.         I think Sergeant Sakalla
1
2
    would take a day, day and a half.           I'm not sure how long
2
    Harry's witnesses would take.
3
2
            THE COURT:     Mr. McKnett, you're standing.            As I
4
2
    recall, when we left last week you had a question about a
5
2



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    probation department employee, in terms of when to call
1
    that person.
2
              MR. MCKNETT:     That's correct, Your Honor.          Because
3
    I'm coming in last in the presentation here, my estimates
4
    of when my client will get on has been kind of a moving
5
    target.    I think Mr. Montemarano has accurately laid out
6
    to sequence of witnesses which would indicate that my
7
    client's case might not get in until Friday.
8
              MR. MONTEMARANO:       Friday or Monday.      Friday or
9
    Tuesday.
0
1
              MR. MCKNETT:     What I would do, with the court's
1
    approval, is to have -- I think I indicated last week
2
1
    that the first witness I intend to call is my client's
3
1
    husband, so I'm going to have him on standby for Thursday
4
1
    if we should somehow get there.          And then if not, I'll
5
1
    just keep him on standby until it's time for him to come
6
1
    in.   The two Pretrial people are very flexible.              They
7
1
    just need the day before.         Give them call, and they can
8
1
    be here when we need them.
9
1
              THE COURT:     All right.
0
2
              MS. GREENBERG:     Are there two or three?         I thought
1
2
    there were three down there.
2
              MR. MCKNETT:     There's only two.       Lisa and Nikki.
3
2
              THE COURT:     Okay.
4
2
              MR. MONTEMARANO:       Your Honor, I'm sorry.        There's
5
2



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    only one other hitch in that.          One of my witnesses has
1
    apparently vanished, and I haven't tracked him down yet,
2
    but I'm continuing to try.         So, I'm not promising that
3
    he'll be here.
4
            THE COURT:     Has your client made a decision on
5
    testifying?
6
            MR. MONTEMARANO:       I think it's very unlikely.            I
7
    don't know if the final decision has been made, but I'm
8
    not planning on it at this point.
9
            MR. MCKNETT:      Your Honor, with regard to my
0
1
    witnesses.    There will be the five.          And I think it's
1
    fair to say, depending on the length of cross-examination
2
1
    that they could take the better part of a day, if not a
3
1
    full day.
4
1
            THE COURT:     That's assuming your client is one of
5
1
    the five; right?
6
1
            MR. MCKNETT:      Yes, Your Honor.
7
1
            THE COURT:     What about the other four -- the four
8
1
    remaining?    Are they short witnesses?
9
1
            MR. MCKNETT:      If she were to testify, she would
0
2
    take up, I think, the longest period of time; and, her
1
2
    husband would be the next longest.           The other three would
2
    be very short, perhaps 15 minutes each.
3
2
            THE COURT:     All right.      And refresh my
4
2
    recollection.     What is this current status of a possible
5
2



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    stipulation on the forfeiture issue being deferred to the
1
    court?    Is that ready now?
2
              MS. GREENBERG:      We did.
3
              MR. MONTEMARANO:      We put that on the record.
4
              THE COURT:   So there will not be a second
5
    deliberation by the jury, and that issue will be remitted
6
    to the court for its decision?          All right.      Now, if that
7
    does become --
8
              MR. MONTEMARANO:      Your Honor has indicated that
9
    would be deferred until probably post-vacation.
0
1
              THE COURT:   I would defer it.        Whether I deferred
1
    it to a separate proceeding where I have additional
2
1
    argument and witness or defer it to sentencing, I haven't
3
1
    looked at it yet.      I haven't looked at it yet.           But
4
1
    certainly, when we're finished this month or next month,
5
1
    we are finished for a while.
6
1
              MR. MONTEMARANO:      Not to paraphrase Bogart, but
7
1
    there's always September 5th.
8
1
              THE COURT:   Yes.     Well, we'll see.       Now, let me --
9
1
    with regard to the additional calls.            Correct me if I'm
0
2
    wrong.    Are those calls substantially transcribed in the
1
2
    transcript attached to the letter to me dated July 21
2
    from Mr. McKnett, or are there more transcripts?
3
2
              MR. MONTEMARANO:      I'm not familiar with that
4
2
    letter.    I can tell Your Honor where it stands from my
5
2



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    point of view.
1
            THE COURT:     What's attached to that letter is a
2
    transcription that starts with call B-26.
3
            MS. JOHNSTON:      That's what I have too, Your Honor.
4
            MR. MONTEMARANO:       That's correct.       But we have
5
    reorganized it in terms of making sure they were in the
6
    right order.     We have removed a few calls that we decided
7
    we were not going to argue about, and we have -- I think
8
    that's pretty substantially where it stands.              I can
9
    provide the court -- we gave one of these to Mr. Krinsky
0
1
    last week.     Here's another one so you both will have a
1
    copy.
2
1
            THE COURT:     All right.
3
1
            MR. MONTEMARANO:       When I gave Ms. Merez the
4
1
    material for Mr. Krinsky earlier today, what it was was a
5
1
    couple of transcripts that had not been reproduced as
6
1
    part of the book they need to be added there's a note as
7
1
    to one to have calls.
8
1
            THE COURT:     I'm going put the thing that's
9
1
    attached to Mr.      Mac let net mac net's letter ton floor
0
2
    {doynt} need that now.        Whey need to look at is the white
1
2
    notebook {nont} {mont} the white notebook the which one
2
    {gai} you today.
3
2
            MR. MCKNETT:      Your Honor the book that Mr.
4
2
    Montemarano has {juts} {t} handed up is in to the best of
5
2



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    my ability in proper chronological sequence as I was
1
    reviewing the books over the weekend I found a couple
2
    that were out of {ord} {ner} time sequence and I think
3
    book that Mr. Montemarano may still have those
4
    misplacements in some of the transcripts I would be happy
5
    to fix it.     It's a couple of them and I can just pull
6
    {ket} out and put them in the right place.
7
            THE COURT:     I understand there's a couple you want
8
    {o} add to that book {mont}n't no the {poobing} I just
9
    gave {yu} is up to date and that has addition it is one I
0
1
    {dwaif} Mr.     {cins} {ki} last week needs to have the
1
    pages {proy} {vid} ed this afternoon added {sglfrjts}
2
1
    {sglchbling} whether he work off this book then.
3
1
            MR. MONTEMARANO:       Yes, that book right there is
4
1
    fine.
5
1
            THE COURT:     Let me go through tall various papers
6
1
    I have that relate to {thish} shoe.            I have just gotten
7
1
    from Mr.     Mitchell a motion to have one phone call
8
1
    played, number B 2429; is that in this book or not Mitch
9
1
    yes it is Your Honor.
0
2
            THE COURT:     It is in the book.
1
2
            MS. JOHNSTON:       Your Honor that's a call that we've
2
    already -- that's the per I've {yan} chicken style call
3
2
    that was played.      Mr.   Mitchell played it twice for agent
4
2
    Sakala on cross-examination.          There is no basis to {purt}
5
2



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    cross examine agent Sakala about that call since he's
1
    already had an opportunity to cross father and mother
2
    inhim.     He already cross examined him about {ket} was
3
    ticket or chicken and there's no authority to allow him
4
    to again cross examine him just to emphasize that point.
5
    That's purely argumentative.          I understand that they have
6
    a transcript prepared that says {pur} per {oouf} {yan}
7
    chicken.     However the court's instructed the jury that
8
    the transcript that's present --
9
             THE COURT:    So the bottom line is if I present
0
1
    this in the jury would have two competing transcripts one
1
    that says chicken and one that says.
2
1
             MR. MONTEMARANO:      Tickets {sglfrjs} {sglfrjts}
3
1
    tickets okay.
4
1
             MR. MONTEMARANO:      I would just reserve to the
5
1
    considerate that we contested the admission to have
6
1
    transcripts in advance because that's was their version
7
1
    {sglfrjts} {sglj} I'm incline today let the jury have
8
1
    both transcripts and tell them if they want to hear the
9
1
    recording again the different sides have heard it
0
2
    differently.
1
2
             MS. JOHNSTON:     Your Honor,
2
             THE COURT:    I don't see any reason to necessarily
3
2
    replay it with Sakala again because it was {ri} played is
4
2
    {sa} with Sakala twice.
5
2



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             MR. MONTEMARANO:      Fair enough.
1
             MS. JOHNSTON:     That is my objection is to is to
2
    put agent Sakala up there and to re{kosz} him {op} what
3
    he's already been crossed on {sglfrjts} {12K3R50EU7B8G9S}
4
    put {thit} way I'm incline today agree with you but I
5
    that {kuz}n't mean I'm not note the {thaer} recording.
6
             MS. JOHNSTON:     And closing argument is a different
7
    {dfrnt} story {sdifrnt} different story if somebody WAN
8
    toss play nit closing argument that's fine.              My objection
9
    is to cross recross agent Sakala {sglfrjts} {sglfrjt} he
0
1
    has already been crossed and re{coz} ed about this call.
1
    {vi} no problem with the defense transcript being placed
2
1
    in front of this jury with the same instruction that I
3
1
    will give them about the government's version.               This is
4
1
    the government's version of what they think they heard
5
1
    this is what the defense thinks they heard.              It's you
6
1
    make the decision {whait} is.          The evidence is the
7
1
    recording.
8
1
             MR. MONTEMARANO:      {soyt}'s clear we transcribed it
9
1
    at Mr.   Mitchell's request -- Mr. McKnett and I are
0
2
    responsible for most of the calls.
1
2
             THE COURT:    Understood {mant}.
2
             MR. MONTEMARANO:      We {dit} at Mr.       Mitchell's
3
2
    quit's not our intention to go into it again identity
4
2
    {es} purely Mr.      Mitchell's I issue.
5
2



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            THE COURT:     I will permit the transcript to be in
1
    the book and this book will go to the jury just {tlibing}
2
    government's is going to the jury.
3
            MS. JOHNSTON:      Your Honor we're objecting toing
4
    for it unless somebody lays a foundation {fo} that
5
    transcript they're going to need call somebody who
6
    transcribed it note {ta} hear recording.
7
            THE COURT:     Did the somebody call somebody who
8
    said they transcribed it.
9
            MS. JOHNSTON:      Yes agent Sakala {sglfrjts}
0
1
    {sglfrjt} he didn't transcribe it.
1
            MS. JOHNSTON:      He {tooes} one -- he prepare it had
2
1
    transcripts he absolutely did.          He authenticated those
3
1
    tapes as being valid tran scrips of the call.
4
1
            THE COURT:     What authority do you have Ms.
5
1
    {squlons} ton for the proposition that in a case
6
1
    involving government wiretaps where the government offers
7
1
    transcripts of it that the government has to have
8
1
    somebody to come in and say, I transcribed it.               This is a
9
1
    good transcript as opposed to the government making a
0
2
    proffer to that effect and it coming to the jury win
1
2
    struck shuns so limiting it?
2
            MS. JOHNSTON:      Your Honor, if the court needs
3
2
    authority, defense counsel would have objected if I
4
2
    hadn't had about Sakala lay the foundation that he
5
2



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    reviewed all of those calls, he prepared the transcripts
1
    and they say what they say and they associate what's said
2
    with that person.      It's particularly important in this
3
    call because I don't know who transcribed it.               That maw
4
    person may or may not have {235UBGS} {perns} listen
5
    {toing} wiretap calls {apd} preparing transcripts.
6
            THE COURT:     Let me ask the defense do you have a
7
    witness who ising {g} to say I transcribed this.
8
            MR. MONTEMARANO:       Yes Your Honor we think it's did
9
    {mrusz} {saj} in all candor.
0
1
            THE COURT:     Who did you have.
1
            MR. MONTEMARANO:       Mr. McKnett can tell you he had
2
1
    the personal dealings with.         It was arm's length for me
3
1
    Beth {maps} perhaps {im} better speaking with it.                It was
4
1
    a professional transcriber who was DUI give ten CKs and a
5
1
    list of the call note {witz} C Ds E a list of the {kawls}
6
1
    and explained how the C Ds and note the {thaer} recording
7
1
    even if we're only going to play a a portion we had the
8
1
    entire call transcribed so there would be no question
9
1
    about that.    Is.
0
2
            MR. MCKNETT:      Your Honor, what happen happened is
1
2
    I took -- there is a court certified reporting service in
2
    Columbia called cop {po} {fa} lease reporting services.
3
2
    I took the disks to their office, I talked to Mrs. Cop
4
2
    {po} {fa} lease, {trooes} {sa} cop {po} {na} lease I told
5
2



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    her what we wanted done and presented her with the disks
1
    and with a list of the conversations we wanted tran {5B}
2
    ed.     {di} not tell her anything about what we thought was
3
    -- should be in the transcripts.           I said here they R.
4
    listen to them.      Transcribe them as best you hear them.
5
    She did.     I have here the original in her binding with
6
    her certification and her original signature on the last
7
    page and I would be happy to submit that to the court.
8
              THE COURT:     How did she identify the speakers?
9
    Met.
0
1
              MR. MCKNETT:     We identify it had speakers from the
1
    logs.
2
1
              THE COURT:     From the logs.
3
1
              MR. MONTEMARANO:     Yes.
4
1
              THE COURT:     Does the dispute, Ms. Johnston duoto
5
1
    the question of the transcriber's identification of
6
1
    speakers {r} or to {taut} en{tis} ty of what she wrote
7
1
    down.
8
1
              MS. JOHNSTON:     It goes to both Your Honor.          One is
9
1
    they may have relied on the logs.           As agent Sakala said
0
2
    sometimes they would have to go back and change the logs
1
2
    sometimes they were able to identify someone later so it
2
    goes to the identity of the speakers.            Two it goes to the
3
2
    fact that the person who did these transcripts it's my
4
2
    understanding doesn't have experience transcribing
5
2



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    wiretap conversations and generally this is a.
1
            THE COURT:     I'll permit you to require them to
2
    bring in this person who can testify in five minutes that
3
    they transcribed it with those directions and but I'm
4
    going to permit the transcripts and go to the weight of
5
    the transcript the weight that you give to it {fwu}
6
    bottom loin is it is the recording not the transcript
7
    that is before the jury.        These are an aid {t} it's an
8
    aid {gi} ento them by both sides how good or bad the aid
9
    is I will let you develop with witnesses {mont} {mnt} in
0
1
    light of Ms. -- well the {firs} wet never arrange {wd}
1
    her to be available.       Would the court be -- I would
2
1
    proffer as an officer of the court.
3
1
            THE COURT:     Can you {sxwooez} her in.
4
1
            MR. MONTEMARANO:       She will testify to a certain --
5
1
    to an adequate foundation for them.
6
1
            THE COURT:     Squeeze her in whenever you can.
7
1
            MR. MONTEMARANO:       After the calls are played?            Or
8
1
    do you -- we will the court require them in advance?                  We
9
1
    just want to know {sglfrjts} {sglfrjt} I'm not going
0
2
    require them in advance I'll take take the calls subject
1
2
    to the proffer that you're going to connect the dots and
2
    if you don't have her that's an issue we have to address.
3
2
            MR. MONTEMARANO:       If the court please.         I have a
4
2
    subpoena in my office the frank form from the court.                  I
5
2



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    will prepare it tonight, {git} get it to Mr. McKnett he
1
    can serf it on Ms. {ka} bo {mroo} {fa} lease we don't
2
    have to bring it here down here to the mar shalls or
3
    anything else note the {har} the {ro} hear the recording
4
    {sglfrjts} {sgljts} {tand} jury can take into account if
5
    that's the case.
6
             MR. MONTEMARANO:      Mr. McKnett live ass few might
7
    be minutes from her.       It would be easier than have the
8
    mar shalls come audiotape tall the way {toup} Columbia.
9
             MR. MCKNETT:ly Would be happy to do that, Your
0
1
    Honor.   She will testify that these were transcribed by
1
    her or by someone under her direct supervision by someone
2
1
    in her office {mont} {nont} note the hear the recording
3
1
    there are mistakes that I believe R. {kel} ly who is the
4
1
    performer who goes by the initial R. period it's art as
5
1
    short for Arthur {kel} ly these things happen we're not
6
1
    suggesting there's anything nefarious she {dit} one ty
7
1
    time she came up with this our {mursz} examination about
8
1
    detective {sa} sergeant {ka} {la} is {sa} {ka} {la} is
9
1
    for specific content than it is for specific words.
0
2
             THE COURT:    Mr.    Mitchell.
1
2
             MR. WARD:    Of course we are the point that
2
    detective Sakala testified that he went through the logs
3
2
    one by one.
4
2
             MR. MONTEMARANO:      Repeatedly.
5
2



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            MR. WARD:     And identified all the parties and
1
    where had there was a misidentification corrected it so
2
    that shouldn't be an issue.
3
            THE COURT:     I think those are all fact that is the
4
    jury can consider.       Mr.   Mitchell.
5
            MR. MITCHELL:      I just want to be clear on the call
6
    they referenced in my request.          Do I understand the court
7
    to say that I cannot ask the -- Sergeant Sakala anything
8
    about that call at all?
9
            THE COURT:     I think you can ask him about the call
0
1
    because I'm certain who what you're going to do is to
1
    bring out some other call; is that right?
2
1
            MR. MITCHELL:      No.    I intend to have him view the
3
1
    new transcript and question him on why his opinion is
4
1
    different on {hrz} words.
5
1
            THE COURT:     You can do that.
6
1
            MR. MITCHELL:      I didn't have this transcript
7
1
    initially when I cross examine inned him and I wasn't ex%
8
1
    {pebingt} ing his answer.
9
1
            THE COURT:     I you can do that.         I don't want to
0
2
    have to go through playing the record egging again.                   The
1
2
    recording has been played if I recall correctly twice
2
    when Ms. Johnston played ate and once on {coz}
3
2
    examination when you said detective I think they aren't
4
2
    they playing chicken Mitch I played it twice I think.
5
2



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    {sglfrjts}.
1
    Q.        Note the {thaer} recording.
2
              MS. JOHNSTON:    Your Honor, I don't understand how
3
    or what authority there is for a defendant Mr.               {pwin}
4
    {um} to recall an officer to cross examine him about the
5
    same subject matter he's just finished cross examining
6
    him about {sglfrjts} {ghfrjts} the only thing he's going
7
    to be able to cross examine him about is we have a
8
    transcript that transcribes it differently.
9
              MS. JOHNSTON:    He didn't prepare that transcript
0
1
    {glfrjts} {sglfrjts} that's all he has to say {si} didn't
1
    prepare it.    It's not my transcript.          I don't agree with
2
1
    it.
3
1
              MS. JOHNSTON:    There is no legal authority
4
1
    {sglfrjts} {12K3R50EU7B8G9S} I understand.              I'm going to
5
1
    permit it.    It's going to {po} to be very {btion} very
6
1
    brief.    As I said {doynt} want {dwrou} flay recording
7
1
    again you can play it in clothing closing you {ooe}
8
1
    played it twice to the jury and ewe can ask him, gee,
9
1
    whiz we had somebody {stran} scribe it and they got it
0
2
    differently and he can say well they got it differently,
1
2
    period.
2
              MR. MITCHELL:    I want to go in a little bit
3
2
    further and let me explain the purpose of that.               I didn't
4
2
    intend to share with the government all of the reasons
5
2



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    why I intend to cross examine him because I certainly
1
    don't want that communicated to Sergeant Sakala, but the
2
    critical issue is not that he's going to look at another
3
    transcript and say I disagree with their transcript and
4
    end of story, but it goes more to the reasoning behind
5
    him altering the tran script to make it tickets instead
6
    of chicken questioning him {r57b} why that is different
7
    than the logs which indicate the word chickenen instead
8
    of tickets, while he changed that and why if there are
9
    two -- now two versions of this call and the one that he
0
1
    testified is different why is that?
1
    Without going into details about the purpose.               I don't
2
1
    want to -- I would hope the court would not limit me so
3
1
    much that I can't go into that and question his -- his
4
1
    own interpretation of that word and perhaps his bias or
5
1
    motive for putting the word tickets as opposed to chicken
6
1
    which is not a drug code word.
7
1
            MS. JOHNSTON:      That is all matters that he covered
8
1
    in his original cross-examination.           To let him come back
9
1
    just and revisit the whole thing just because it's been
0
2
    three weeks since the jury heard that cross examination
1
2
    is improper.
2
            MR. MITCHELL:      But I didn't have a transcript at
3
2
    the time and we had that done and I think it's entire
4
2
    appropriate now that I have something different.
5
2



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             THE COURT:    I will permit very limited additional
1
    inquiry but I won't shut it off completely.              Because you
2
    can cross examine him with -- I mean if I understand what
3
    you're proffering to me is that his transcript and his
4
    log said chicken originally he changed it to tickets, you
5
    now have a transcript that's been prepared by somebody
6
    who allegedly is independent that said chicken.
7
             MR. MITCHELL:     Correct.
8
             THE COURT:    You want to confront him with that.
9
             MR. MITCHELL:     Correct {sglfrjts} {glfrjts} that's
0
1
    about it.
1
             MR. MITCHELL:     I don't intend for {toyt} be much
2
1
    longer than that but I just didn't want to be limited to
3
1
    just saying, do you agree with this transcript or not and
4
1
    him saying no and {thep} sitting down.
5
1
             THE COURT:    All right.      Understood.      Now, anything
6
1
    further on the preliminaries as to the transcripts?                   I
7
1
    think that disposes of your document that I {ooef} just
8
1
    had handed to me called request to enter deuce wiretap
9
1
    evidence.     To the extent that it's asking me to let you
0
2
    play the phone {tab} {r57b} tap evidence again the answer
1
2
    is no.   To the extent that you wish to inquire as to the
2
    subject matter of the chicken versus tickets call, you
3
2
    may conduct limited inquiry based upon the new
4
2
    transcript.     All right?     Now,
5
2



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             MR. MARTIN:     Are you still with the tell flown
1
    calls Your Honor?      Because.
2
             THE COURT:    Yes.
3
             MR. MARTIN:     I have some as well.
4
             MS. JOHNSTON:     Perhaps we could start with what's
5
    in the book and go through them call by call.
6
             THE COURT:    I want to make sure I have all the
7
    {xhoon} communications about nit front of me.               Tell let
8
    me tell you what {vi} and you can tell me whether or not
9
    I'm right or wrong about what I have in front of me.                  I
0
1
    {ooef} got in front of me.
1
             MR. MARTIN:     My recommendation Your Honor is you
2
1
    go by the in{git} indict {wment} each defendant pointing
3
1
    out what calls he or she wants.
4
1
             MR. MONTEMARANO:      My calls are {grupd} grouped
5
1
    together Your Honor.       Note {thaer} recording how I try
6
1
    today laid them out in my list.
7
1
             THE COURT:    Okay.     Let me just get through piles
8
1
    of stuff here.
9
1
             MR. MONTEMARANO:      Sure.    Take your time, Your
0
2
    Honor.
1
2
             THE COURT:    Okay.     I have {dshing} let me make
2
    sure I have all of the paperwork on this issue in front
3
2
    of me.   Let me tell you what I have remaining in front of
4
2
    me.   I have two letters dated July 30, one from Mr.
5
2



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    Montemarano one from Mr. McKnett.           You guys are working
1
    on Sundays.    {im} very impressed.
2
             MR. MONTEMARANO:      Not the first one either Your
3
    Honor.
4
             THE COURT:    Life to have trial lawyer.           The letter
5
    from Mr. McKnett which came in by fax on the theth At 11
6
    p.m. or ten p.m. it looks like is a chart {le}
7
    delineateing the reasons for certain intercepted calls
8
    offered on behalf of LaNora a lee.           I have that.       I {sls}
9
    from Mr.    {mont} ma no will a letter dated the same date
0
1
    which {sa} list of calls that Ms. Martin will introduce
1
    and you indicated that Mr. McKnett is including a list
2
1
    from Ms. Ali and you indicate your reasons for all of
3
1
    these calls.     Do I have everything in front of me now
4
1
    that's in writing about this issue.
5
1
             MR. MONTEMARANO:      There's a call list append today
6
1
    my letter {sglchblingts} {sglfrjts} right.              {vi} a call
7
1
    list and then {vi} {haiment} ed transcript is that
8
1
    transcript now incorporated in the book.
9
1
             MR. MONTEMARANO:      It's in the book I handed you
0
2
    it's not in David's copy that I gave him last week.
1
2
             THE COURT:    It's in the book that I have now
2
    {mopt} {mont} yes.       That book in front of {sglfrjt} note
3
2
    {ta} hear the recording.
4
2
             MR. MONTEMARANO:      Yes that cop book is the one we
5
2



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    would want sent back to the jury.           {sglfrjts} {glfrjt}
1
    let me have the book.
2
            MS. JOHNSTON:      Your Honor it does have our
3
    original motion and our reply to their response which
4
    sets forth the basis why many of these calls are not
5
    admissible.
6
            THE COURT:     What has it in it.
7
            MS. JOHNSTON:      Our original motion in limb nee and
8
    a our rely to {nair} opposition {sglfrjts} {sglchblingts}
9
    yes.
0
1
            MS. JOHNSTON:      Which sets forth our reasons for
1
    {k5eb9} ing to many of these calls separate and apart
2
1
    from the court's limited admissibility here.
3
1
            THE COURT:     I have all this on this issue.            {vi}
4
1
    the government's motion, the responses and of the defense
5
1
    and the government's reply.         So, all the papersen on this
6
1
    I have in front of me.
7
1
            Let's -- now, as I indicated before I thought that
8
1
    the -- in order for these calls to be matters that could
9
1
    be looked into on re{rp} ed cross-examination of Sergeant
0
2
    Sakala, they needed to fall into one of two categories
1
2
    one was the rule of completeness and the other was that
2
    it was appropriate to challenge his opinions that he had
3
2
    given in his interpretation of the calls.              So, let's take
4
2
    it from the top.      Call B 26.
5
2



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              MR. MONTEMARANO:     May it please the court I would
1
    speak to call B 26 and and the 17           other calls that are
2
    noted on my list as p.m. that's Paulette Martin call with
3
    mar {sha} Jean West.       They are virtually identical in
4
    that they are lengthy calls for the most part.               {sefl}
5
    are shorter.     They are discussions of clothing types,
6
    styles, colors and sizes and the sizes range from size
7
    two to size 16.       I don't pretend to be any sort of
8
    fashion {maif} enbut basically size two is someone who is
9
    built like a {swiz} {l} stick {wr567bd} size 16                is
0
1
    someone who is built perhaps more like me.
1
              THE COURT:    No more like me or Mr.         Ward.
2
1
              MR. MONTEMARANO:     No I think Peter's every bit of
3
1
    an 18.    But b that as it may.
4
1
              MR. WARD:    I think I have you beat on this.
5
1
              MR. MONTEMARANO:     Be that as we may Your Honor it
6
1
    is {wooeb} ear not talk about clothing for {wub} person.
7
1
    {om} {sochl} of the language in the clothing discussion
8
1
    reiterate it is language the government has already
9
1
    sought to as adduce as drug code words sup dresses and
0
2
    sow so on and so forth fort.          A few cause calls reference
1
2
    other people there {es} call B 22 note the {thaer}
2
    recording.     I'm going the refer to pages it might be
3
2
    easier.
4
2
              MS. JOHNSTON:    Yes, your Honor if we could go
5
2



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    through these calls one by {wun} one {sglfrjts}
1
    {glchbling} the first three calls, calls if I'm reading
2
    it correctly {mont} {mopt} first fife.
3
            THE COURT:     Refer to page numbers.          I'm look ago
4
    your call list, {35U8} s B 26, {240RBGS} 24 {1-RBGS} 249
5
    and 322 all three are calls between Paulette Martin and
6
    mar {sha} Jean West and in one case J. {ter} {rel}.
7
            MR. MONTEMARANO:       That's jack {ki} {trer} {ter}
8
    {rel} who live ins Ms. Martin's house she gets on the
9
    phone and speaks {sglchblingts} {sglfrjts} {fl} are call
0
1
    that is you are tendering to me that are calls in fact
1
    about clothing.
2
1
            MR. MONTEMARANO:itis Painfully clear cover it is
3
1
    waterfront sizes, colors manufacturers, them people who
4
1
    are familiar with women's {kloetz} ing may listen to and
5
1
    go identify heard of that line and I {ooef} heard of
6
1
    this, etcetera and would know in terms of personal
7
1
    experience that thing that is perhaps you and I would not
8
1
    know about them and substantially speaking my other calls
9
1
    regarding Ms. West are pretty much all the same thing.
0
2
    Two other others do include a third party one {sa} Gwen
1
2
    LN {UBGS} and one is a {tam} my LN {UBGS}.
2
            THE COURT:     Let me hear from Ms. Johnston about
3
2
    the five calls that I just mention {wfd}.
4
2
            MS. JOHNSTON:      The first five call that is the
5
2



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    court mentioned?      First of all, the government objects on
1
    their add miss -- it's my understanding {kouns} {e}
2
    doesn't want {the} these just to impeach agent Sakala but
3
    he wants to use these calls as substantive evidence in
4
    his case is n chief and that would be why {hooes} calling
5
    mar {sha} Jean West we object to these calls coming in
6
    except as sub {stan} {ti} evidence {thawz} they are
7
    hearsay.    Even if the party is here to testify they are
8
    hearsay statements about what they were doing At another
9
    time that is not admissible under any hearsay exception.
0
1
    The court allowed the government to play some calls and I
1
    cited for the court an unrelated opinion in the {pwif}
2
1
    ens case which I think having been on the opposite side
3
1
    where we introduced calls that contained subject matter
4
1
    that wasn't directly related {fo} the conspiracy although
5
1
    the court found it harmless error the court made it clear
6
1
    the statement haves to be admissible for some {r57b}
7
1
    under the hearsay rules.
8
1
            THE COURT:     Let me ask you this Ms. Johnston {t}
9
1
    my contemplation is that these calls -- Mr. Montemarano
0
2
    {yu} better listen to this.         My contemplation {sa} this
1
2
    these calls let's take the specific specifics We're
2
    talking about now would be played and could be considered
3
2
    by the jury but they would be told with a limiting
4
2
    instruction that they are not being admitted for the
5
2



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    truth of what's contained in these calls because the
1
    speaker in here is not before the court, not available
2
    for cross-examination, it's not {pwling} offered for the
3
    truth of what's being said in these calls.              It is however
4
    being permit today be played so as to test the
5
    sufficiency of the opinion given by the expert, detective
6
    Sakala -- Sergeant Sakala in which he opine that had
7
    references made to clothing where are {ket} to clothing.
8
            MS. JOHNSTON:      On some of occasions.
9
            THE COURT:     On some occasions note this is one B.
0
1
            MS. JOHNSTON:      {sgl}.
1
            THE COURT:     This is testimony of an expert about
2
1
    the meaning of certain phone calls note hear the
3
1
    recording because he said in {gi} ing his opinion that he
4
1
    relied on all of these calls and that he's reaching an
5
1
    opinion about what was meant in some of these calls he
6
1
    had reach it had conclusion when they said clothing they
7
1
    didn't really mean clothing so he is {terment} permit
8
1
    today be inquired into or cross examined ton fact that
9
1
    isn't it a fact and I'm going play this that here's a
0
2
    call that you would not {dpis} {put} is about clothing
1
2
    isn't that right Sergeant Sakala and then jury can
2
    consider that in decide {whaing} weight to give to the
3
2
    opinions he's {prooef} {yous} ly given as to the meaning
4
2
    of the calls play bid the government.
5
2



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            MS. JOHNSTON:      Your Honor the court {tand}
1
    government are on the same page I understand understood
2
    that's what the court's ruling was {t}. However that's
3
    not my understanding of what defense counsel want toss do
4
    they want to now call that Jean West {antd} get these
5
    call ins as substantive evidence {dfrjts}.
6
            THE COURT:     {e} we're not crossing the bridge of
7
    Ms. West testifying unless and -- we're talk about the
8
    recordings in the rubric of further cross-examination of
9
    Sergeant Sakala.
0
1
            MS. JOHNSTON:      He can tall call {whofr} whoever he
1
    want {fos} testify but my objection is for those calls
2
1
    coming in through mar {sha} Jean West or fall et Martin
3
1
    as substantive evidence {sglfrjts} {glfrjts} these call
4
1
    also be coming in through cross-examination of sergeant
5
1
    {sa} {kla} a a Sakala as I indicate before to add note
6
1
    the hear the recording {jonts} {yons} {thep} I would
7
1
    suggest to the court there are far too many mar {sha}
8
1
    Jean West call ins here {sglfrjt} {sglfrjt} I haven't
9
1
    gotten to tissue of whether there's too much m.
0
2
            MS. JOHNSTON:      Very, very Qume {ta} lative.
1
2
            THE COURT:     I will to work {orn} -- my work {ser}
2
    right here an appropriately {tliment} ing instruct
3
2
    {shawn} shun that I know instruct it is jury that these
4
2
    -- this additional cross-examination of sergeant {sa}
5
2



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    {kha} has been admitted by permitted by me in order to
1
    permit the defense to make further inquire {spwroy} the
2
    grounds for the opinions he has {prooef} {yus} ly given.
3
    I mean {hooes} given his opinions in his direct
4
    examination as to the meaning of various call that is
5
    have been played by the government, transcribe {fwid}
6
    government and placed before the jury.             These additional
7
    calls are not being offer {fwid} government, may not be
8
    considered for the truth of what's contained in them but
9
    they may be considered {fwi} jury in reaching its
0
1
    conclusion of what weight if any to give to the opinions
1
    of Sergeant Sakala.
2
1
            MS. JOHNSTON:      Your Honor, if {pi} -- we've
3
1
    submitted to the court a limiting instruction consistent
4
1
    with what the court's opinion was.
5
1
            THE COURT:     Sit in these papers?         {jons} I hand
6
1
    {td} it up {pri} Friday.
7
1
            THE COURT:     I've got it on my jury pile.            It pus
8
1
    here somewhere.
9
1
            MS. JOHNSTON:      If we look for example at B 26             if
0
2
    the court is allowing these call ins so that the jury can
1
2
    assess Sergeant Sakala's testimony that item {ofs}
2
    clothing used in certain conversations related to drugs,
3
2
    in this call for example, there is a whole discussion on
4
2
    page -- the very first call, Page two concerning somebody
5
2



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    named {glor} {ya} and.
1
            THE COURT:     Page two.
2
            MS. JOHNSTON:      Not looking well and her father's
3
    at home.
4
            MR. MONTEMARANO:       I don't plan to play the
5
    entirety of these calls.
6
            THE COURT:     He just said he's not going play the
7
    entirety of the call.
8
            MR. MONTEMARANO:       We transcribed the calls it {es}
9
    wouldn't make sense for me to play all this personal part
0
1
    of the conversation.       In that is part to have defense
1
    argument that the government by playing excerpt {ss}
2
1
    limit {whaing} the government is being provided access to
3
1
    where we transcribed a call we transcribed it all.                There
4
1
    are instance {wes} played for paid for 15 minutes of
5
1
    transcription and we will use 30 seconds {3R5U7BS} {jns}
6
1
    we object to that.       The government is under the law are
7
1
    not permitted note the hear recording we are limit inside
8
1
    terms after after of what we can play to statements that
9
1
    of coconspirator statements in {furment} {rans} of the
0
2
    conspiracy we can't play {tres} {t} of this {koul} {dawl}
1
2
    call so this notion that the government how only played
2
    parts to have call {ss} an improper one because we were
3
2
    limited under the rules ofest What we could present to
4
2
    this jury we couldn't present conversations about mar
5
2



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    {har} {vi} Washington having sex which is in one to have
1
    calls they provide us transcripts of that would be
2
    improper they objected indeed on occasion where we had
3
    some of that in there and we took it out.
4
    So this notion that they're presenting a whole transcript
5
    to say look we present it had whole transcript we're not
6
    trying to trick you T government is tricking you because
7
    they provided excerpt {ss} improper and these transcripts
8
    should be edited to the pertinent portion of those calls
9
    and that should be all they're allow today play and all
0
1
    they're allowed to {gif} --
1
            THE COURT:     First of all it's a lodgeistic {kal}
2
1
    matter how are we going be playing only portions of the
3
1
    call during this cross-examination Mr. Montemarano.
4
1
            MR. MONTEMARANO:       We will before we presume to
5
1
    play the call {pros} {vid} the government with the calls
6
1
    we're going to play a time break from 131 through 2:14
7
1
    kind of thing {sglfrjts} {sglchblingts} {whri} can't you
8
1
    cut the {trab} transcript down to the same thing.
9
1
            MR. MONTEMARANO:       We {prr} were provided
0
2
    transcripts if their in their entirety they were
1
2
    certified by Ms. Come {po} fell's in their entirety
2
    {sglfrjts} {sglfrjt} I'm sure the government would not
3
2
    note the {thaer} recording.
4
2
            MS. JOHNSTON:      {b} ab{vut} absolutely but Your
5
2



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    Honor we re{pir} prepared our excerpted calls and many
1
    things it took us many {wing} week toss get them ready I
2
    assume defense counsel is going to have their own disk to
3
    play {sglfrjts} {gfrjts} if you are going to play less
4
    than the entirety of these which I encourage {dwrou} do
5
    why can't you simply note on these transcripts where it
6
    begin and where it ends and somebody can just take the
7
    {stran} script transcript and do the chopping and
8
    cutting?    Request.
9
            MR. MONTEMARANO:       If that's the court is going to
0
1
    order us to do then we will certainly do that.
1
            THE COURT:     Won't it reduce the length of this
2
1
    document substantially?
3
1
            MR. MONTEMARANO:       Certainly.      But in as much as
4
1
    the calls themselves are the evidence, we thought that
5
1
    the calls going an a back.
6
1
            THE COURT:     The jury will have as it has with
7
1
    regard to the government's recordings the whole {sha}
8
1
    bang, right?
9
1
            MS. JOHNSTON:      New York City Your Honor we
0
2
    {pwhrai} played excerpts of the {kawls} and that's what
1
2
    we introduced was just the excerpts of the calls because
2
    the rest of the recording would not have been admissible
3
2
    evidence in large part.
4
2
            THE COURT:     In other words the jury {o} will only
5
2



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    be able to play what you played.
1
            MS. JOHNSTON:      Exactly Your Honor and quite
2
    frankly that's what should be done here because the jury
3
    shouldn't be getting access to information that's not
4
    otherwise admissible.
5
            THE COURT:     I would tend to agree with that.               I
6
    think what you need to do is to {dut} cut these
7
    transcripts down.      I recognize we're try {toing} get this
8
    trial over with and whatever resources we can make
9
    available to the defense to do that, {looets} {25BG} them
0
1
    available.
1
            MR. MONTEMARANO:       So the court understand this is
2
1
    is not being done by the defense in house where we have
3
1
    our own transcriber.
4
1
            THE COURT:     I understand {mont} {mo} which have
5
1
    our own editors an we have our own cutters and pace terse
6
1
    we had to get this done and {sert} {fid} externally the
7
1
    only way do this was in to to {sglfrjts} {sglchbling}
8
1
    what I don't want to hear from the government is that the
9
1
    government doesn't {libling} the cutting of the
0
2
    transcripts.     I ass {stum} government if I require as
1
2
    you're asking me do that the defense bring in somebody
2
    who says hi I'm a certified court reporter that
3
2
    transcribed these, I don't want to have her examined
4
2
    about the fact that it's been chopped at everybody's
5
2



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    request.
1
            MS. JOHNSTON:      Your Honor that would not be the
2
    government's intention.
3
            THE COURT:     Good {mons}.
4
            MS. JOHNSTON:      My intention is to limit whatever
5
    they're going the play for agent Sakala and present to
6
    the jury by means of recordings and transcript toss this
7
    which goes to his testimony {sglfrjts} {glfrjts} if the
8
    government -- if the defense knows now what portions of
9
    these recordings they want to play let's note it on these
0
1
    transcripts right now then you can proceed forward to
1
    produce abridged transcripts and question have sergeant
2
1
    {sa} {la} in and out of here.
3
1
            MS. JOHNSTON:      In addition to that they must
4
1
    provide the recordings the abridged recordings they don't
5
1
    have the capability of doing That Your Honor.               They have
6
1
    copies of these transcripts it took us week toss prepare
7
1
    the calls that we played here in court.             When I say weeks
8
1
    I mean weeks and some of those were {mez} ed up --
9
1
    {sglfrjts} {glfrjts} I don't know Ms. Johnston {thait}'s
0
2
    {fooez} {fobl} the defense to produce abridged
1
2
    recordings.    That may be a large order.           What may be more
2
    logical is that the jury is apprised of the fact that the
3
2
    -- if they -- during their deliberations need to hear
4
2
    again the portion that was played to them, we can make
5
2



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    ark arrangements for it to be played to them again.                   If
1
    you can get the redacted recordings, fine but something
2
    tells me that I'm going be told that the world will come
3
    to an end if I make you do that.
4
            MR. MONTEMARANO:       Well the problem is Mr. McKnett
5
    and {doy} not have the audio equipment to redact the
6
    recordings.     I don't know if we can {rp} think copy {nem}
7
    {tr} them from C Ds to C D that the government gives us.
8
    I don't know.     Note the {thaer} recording.           I'm prepare
9
    today sit here with my laptop plug {spwod} the system
0
1
    playing call B 2121 starting at 2:30 going to 3:20 at mar
1
    harry {oos} {qui} eel be his paralegal and I'm sure he'll
2
1
    do the same thing for me.
3
1
            MR. MCKNETT:      I would like to Your Honor but I
4
1
    don't have a LAN top {sglfshingts} {sglfrjts} {sglfrjt} I
5
1
    am {soosz} {um} assume {thaing} the learned defense
6
1
    counsel in front of me here have got a cop point of view
7
1
    this transcript where it indicates {wh} where you want to
8
1
    play and where you don't want to play.
9
1
            MR. MONTEMARANO:       I started narrowing that part
0
2
    but the first thing I want today do was get nit
1
2
    everybody's hands {sglfrjts} {xwhrfrjts} you now have it
2
    in everybody's hands including mine.
3
2
            MR. MONTEMARANO:ly Have it tomorrow morning judge
4
2
    that's not a problem.
5
2



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             THE COURT:    I'm assume {thaing} you're going to
1
    eventually have for me a transcript thats a beginning and
2
    ending point of these call that is you within the to play
3
    {thand} with regard to the first {fooi} calls we just
4
    discussed it's going to be enough of a call to show
5
    {whro}'s talk {toing} whom and they're talking about
6
    clothing and {fabing} {sfshtion} that right?
7
             MR. MONTEMARANO:      Yes Your Honor.       {sglfrjts}
8
    {sglchblingt} all right.        I see no reason why with a
9
    limiting instruction for the limited purposes I just
0
1
    {gai} sergeant casa {kla} cannot be questioned about
1
    those limited portions of the first five calls.               We got
2
1
    five calls down and a long {lis} tot go so let's keep
3
1
    going.    The next call {vi} is call number B 323 beginning
4
1
    on Page 30.    {swhi} that proper?
5
1
             MS. JOHNSTON:     Just so the court is clear because
6
1
    the dates aren't reflected on Mr. Montemarano {ooets}
7
1
    list.    The first call was on March eight.            The next four
8
1
    calls were on March 10, and a this call is {sglfrjts}
9
1
    {sglfrjt} March 11.
0
2
             MS. JOHNSTON:     March 11.
1
2
             THE COURT:    Okay.
2
             MS. JOHNSTON:     It looks there are two soles on
3
2
    March 11.
4
2
             THE COURT:    Note the hear the recording.
5
2



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             MR. MONTEMARANO:      323 is -- which {wub} are we on?
1
    I thought we were on 323.
2
             THE COURT:     323, Monday {mont} that's Mr.
3
    McKnett's.
4
             MR. MCKNETT:     No it's not {mopt} {mopt} my mistake
5
    Your Honor {sglfrjts} {sgljts} I'm look at your list.
6
             MR. MONTEMARANO:      My mistake.      I did not have a
7
    star next to it note the {ae} it I to hear the recording
8
    {sglfrjs} {glchbling} my question is why {mont} {moynt}'s
9
    same thing {btion} {dichbt} day it doesn't include Ms.
0
1
    {ter} {rel}.     {sglfrnlt} {sglfrnlts} it's {mo} clothing.
1
             MR. MONTEMARANO:      Yes, sir {sglfrjts} {sglrjts} on
2
1
    this one you want do the same thing so it's limit today
3
1
    the question of clothing purchases or sales; is that
4
1
    correct?     All right.    You may do that in redacted form.
5
1
             All right the next one I have is at Page 35 which
6
1
    is another call with mar {sha} Jean West about clothing;
7
1
    right?
8
1
             MR. MONTEMARANO:      Same thing.
9
1
             THE COURT:     Same thing.
0
2
             MS. JOHNSTON:     That is on the same day that would
1
2
    be in the government's {r57b} cumulative.
2
             THE COURT:     I will make the same ruling I expect
3
2
    substantial redacting {fwi} defense to produce jus {tt}
4
2
    relevant portions.
5
2



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              MR. MONTEMARANO:     I may dumb {m} some of the calls
1
    {sglfrjs} {sglnl} dumb ping is en{dur} courageed.
2
              MR. MONTEMARANO:     I may ask Sergeant Sakala there
3
    were three recordings regarding clothing and he'll have
4
    to say yes or we'll {g} {tlawl} of them {sglfrjts}
5
    {sglfrjt} that's fine the next one {vi} is on page 38
6
    which is a call number B 46two again about clothing.
7
              MR. MONTEMARANO:     It's aboutgoing call Ms. Martin
8
    leaving a voice mail {mejsz} {saj} for a customer saying
9
    I've been holding this suit for a month I owe you $50
0
1
    back for the {sout} sold.
1
              MS. JOHNSTON:     I would object to that call.          If
2
1
    the court will call, agent {sa} {ra} {ka} {la} said that
3
1
    there were calls about clothing that she sold {kloit} ing
4
1
    and particular men's clothing {sglfrjts} {sglfrj} I'll
5
1
    permit this to be played.         All right the next one {vi}
6
1
    with no explan {fution} -- is this the -- does the star
7
1
    mean it's a a mac net call.
8
1
              MR. MONTEMARANO:     Yes, sir and the number signs
9
1
    are Mr.    Martin.
0
2
              THE COURT:     {e} we're just going the {dwrind}
1
2
    grind through these in order so the next one is your call
2
    {btion} Mr. McKnett.
3
2
              MR. MCKNETT:     Your Honor call B 46three is a short
4
2
    conversation {fwooen} Ms. Ali and Ms. Martin in which it
5
2



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    establishes two things.        One is that these are people who
1
    were friends and did favors for each other which would be
2
    relevant later on as I {kebtion} plain to the court and
3
    secondly it's an arrangement with where Ms. Ali is
4
    agreeing to buy airline tickets for Ms. Martin.
5
            MS. JOHNSTON:      Your Honor we would object to that
6
    call because it's not being introduce today attack agent
7
    {sa} {kla}'s testimony it's introduced as counsel
8
    mentioned {tho} to show they were friends {ap} they had
9
    other social {thij} thing it is word ticket is not use
0
1
    inside this call moment.
1
            MR. MCKNETT:      It isn't but they're arrangesing for
2
1
    Ms. Ali to use Ms. Martin's credit card to make travel
3
1
    {afrng} mentes which was inherent note {ket} was
4
1
    inherently require a tick tote fly to Kansas City.
5
1
            MS. JOHNSTON:      Agent Sakala didn't testify about
6
1
    conversations {queb} generally he testified about tickets
7
1
    being a code word this conversation doesn't have anything
8
1
    in it about tickets it is to {shoy} the relationship
9
1
    between Ms. Mart {ain} Ms. Ali which similar proper.
0
2
    Note the {thaer} recording.
1
2
            MR. MCKNETT:      Your Honor the government put on
2
    seven weeks of testimony to show an improper relationship
3
2
    between these two people.         I think it's fair for me to
4
2
    show a proper relationship between these {ooem} two
5
2



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    people {sglfrjts} {sglchblingt} it seems to me that
1
    remember this.     The opinion testimony of Sergeant Sakala
2
    was {gi} enin two areas.        One the drug trafficking
3
    business in general and secondly his ability to interpret
4
    the words used by those in the drug trafficking business
5
    when they communicate with each other.             One of his
6
    opinions was that various references to tickets were not
7
    in fact bona fide tickets but rather to drug
8
    transactions.     This is a phone call involving a tick
9
    society I will permit this recording.
0
1
            MS. JOHNSTON:      Your Honor if I may call the {toyt}
1
    the court's attention there are no calls on that day that
2
1
    the government introduced between Ms. {mairnt} and Ms.
3
1
    Ali {sglfrjts} {sglfrj} I understand {fwhu} is the on
4
1
    {gobtion} {mibing} -- it goes to the strength or {pn}
5
1
    weakness of his opinion that when they use it had term
6
1
    tickets with each other they were using that not {o} no
7
1
    the bona fide sense of tickets but drug trafficking.                  All
8
1
    right the next call.
9
1
            MR. MONTEMARANO:       Call by Ms. Martin requesting
0
2
    catalog {frs} a clothing company.           She {proo} sides a
1
2
    name and address where to send how about how she was
2
    having trouble getting cat {ta} {lotion} s she asked for
3
2
    ten catalogs not one which is consistent with her being
4
2
    in the business of {tand} handing catalogs out to clients
5
2



                                                                    Page 47
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    to client toss sell to {vom}.
1
             MS. JOHNSTON:     I don't think there's anything in
2
    this call {toynd} {kait} it {wawz} clothing catalog it
3
    could be a catalog from pottery barn {sglfrjts} {sglfrjt}
4
    where are you refer {toing} that Ms. Mr. Montemarano.
5
             MR. MONTEMARANO:      I belief that was based upon the
6
    understanding of the logs of who the number is registered
7
    to I. I don't have my log {ws} me if I could speak with
8
    Mr. McKnett for a moment he may be able to Claire clarify
9
    this.    Mr.   Ward is going to assist me.
0
1
             MS. JOHNSTON:     Your Honor again the logs don't do
1
    anything in terms of what's in the calls.              This call
2
1
    doesn't {machbing} in anywhere I could see and I could be
3
1
    wrong because I looked at it very quickly.              There is
4
1
    nothing in here about clothing it could be catalog {frs}
5
1
    the pottery barn and they don't sell clothes.
6
1
             MR. WARD:    Excuse me Your Honor since I don't {z}
7
1
    awe as we say have a dog in this night fight may by
8
1
    excused for a moment {sglfrjts} {glfrjts} yes we may I
9
1
    will not do anything sub {stan} {ti} with regard to Ms.
0
2
    Dobie in your absence or anything {ket} all about Ms.
1
2
    Dobie.
2
             MR. WARD:    Thank you sir {sglfrjts} ward.
3
2
             MR. MONTEMARANO:      I don't know where that -- it
4
2
    says D issues it does not say what I cannot in good faith
5
2



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    explain why my understanding was that this was about
1
    clothing.     I cannot {ksh}.
2
              THE COURT:   Well it does talk about that she asked
3
    for ten books and she only got one book and no retail
4
    price lists or wholesale rice {proo} price lists and
5
    she's complaining about that bag poor way of doing
6
    Business.     And she's talking about the fall catalog and
7
    it does say catalogs Page 42.
8
              MR. MONTEMARANO:     Yes.    It says catalog also on
9
    Page 44.
0
1
              MS. JOHNSTON:    It doesn't talk about clothing.
1
              MR. MONTEMARANO:     No it does not.
2
1
              THE COURT:   I'll permit this sol.         The next note
3
1
    {witz} I'll permit this call the next one is call B 634
4
1
    and and is this again about clothing?
5
1
              MR. MONTEMARANO:     Well they're talking about
6
1
    sizes, small size {tlibing} like a two to 4 and and sizes
7
1
    12 to 14.     This is obviouslytize Sizes for different
8
1
    people.     A {soo} person who wear ass size two could can't
9
1
    wear a 12 -- well they could they could swim nit note the
0
2
    hear the recording in various size toss various people
1
2
    it's not just buying for {hes}.
2
              THE COURT:   All rightly permit that call the next
3
2
    call {vi} is on Page 52 which is a mac net call.                {jobs}
4
2
    {yons}.
5
2



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              MS. JOHNSTON:     We object to this call.         It has
1
    nothing do with --
2
              THE COURT:     This one Mr. McKnett is for what
3
    purpose?
4
              MR. MCKNETT:     Your Honor, this call.
5
              MS. JOHNSTON:     Your Honor I think court skipped
6
    page 47     according to Ms. Green berg.
7
              MS. GREENBERG:     Oh, I'm sorry.       I did {chl} I did.
8
    Excuse me {jons} {xwhront} {c5e7b9} it's another mar
9
    {sha} Jean West call Your Honor talking about styling of
0
1
    clothing item, etcetera, etcetera and talk about sizes
1
    does a 23 fit her on note {witz} two fit her for {xwam}
2
1
    approximately.     This is one I would probably play in its
3
1
    entirety.
4
1
              THE COURT:     B 638.
5
1
              MR. MONTEMARANO:        Yes {sglfrjts} {sglchblingt} all
6
1
    right I will permit that.          Now we're at Page 52, call B
7
1
    835; correct?
8
1
              MR. MCKNETT:     Your Honor, this goes {sglfrjts}
9
1
    {sglchblingt} by the way {vi} in this book something
0
2
    that's already been transcribed.
1
2
              MR. MCKNETT:     Excuse me Your Honor.
2
              THE COURT:     Many my in my copy to have book I have
3
2
    several pages of government recordings.
4
2
              MR. MCKNETT:     Owe Your Honor.      Mr. Montemarano and
5
2



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    I put in where we thought appropriate to put things in
1
    full context some of the government pus transcripts so
2
    that the jury will have them in front of them.               At the
3
    same time they read -- hear our excerpts and read along
4
    with our transcripts.       It's part of the completeness.
5
            THE COURT:     Well, I think -- I don't think they
6
    should be in your book.
7
            MR. MCKNETT:      We can take them out Your Honor.
8
            MR. MONTEMARANO:       We can certainly take imit out.
9
    This is loose leaf Your Honor to facilitate this {pwb}
0
1
    problem.    We did not discuss it with the government.
1
    They're in evidence.       We figured more --
2
1
            THE COURT:     You mean they're in the right time
3
1
    sequence.
4
1
            MR. MCKNETT:      Yes they're in proper time sequence
5
1
    Your Honor that's why we put them in there {sglfrjts}
6
1
    {glfrj} calls you're putting in are in the defense book
7
1
    {jons} ens I do.      {doy}.
8
1
            THE COURT:     Take them out.       This does not mean you
9
1
    can't explain to the ladies and gentlemen of the jury in
0
2
    closing argument remember when you heard call B note the
1
2
    {thaer} recording between Ms. Martin and Ms. Ali?                Well,
2
    they didn't play this and then you know.
3
2
            MR. MCKNETT:      It just seemed simpler looking at
4
2
    mechanic mechanically from being in the jury box rather
5
2



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    than having to have two books to go back and forth --
1
    {sglfrjts} {glchbling} the problem is this is your book
2
    your document your version of what these recordings mean
3
    and I think it ought to be limited to that.              You're
4
    perfectly free to argue to the jury {wais} based upon the
5
    government's transcript as well as a replaying to have
6
    government's recordings what is said in these other calls
7
    and indicate that your {dez} {iing} {thaition} s an the
8
    matter {yous} played show that the {prorp} con Tex is the
9
    X {veshtion} us the Y that Sergeant Sakala testified to.
0
1
    You do that.     All right let's move on.          Next call is B
1
    835 on Page 52.      That's a mac {nel} mac net call a what's
2
1
    the reason for that one.
3
1
            MR. MCKNETT:      Your Honor there's a couple of
4
1
    reasons for this.      {wub} one is to ref {fut} the
5
1
    government's opinion that there was no to use the words
6
1
    to have witnesses no {le} {jit} Pratt {z} legitimate
7
1
    {pwhriz} relationship going on here this starts out
8
1
    talking about Ms. Ali and {hrz} Martin putting on a
9
1
    fashion show with {kef} inScott it then turn toss another
0
2
    issue on Page 55 the court may recall that later in the
1
2
    -- later in time the government {prept} ed a transcript
2
    in which Ms. Ali and Ms. Martin are talking about Ms. Ali
3
2
    coming over to her house the conversation was about pig's
4
2
    feet {chl} Ms. Ali said she told jack {ki} {ter} {rel}
5
2



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    who was Ms. Martin's landlord that she was coming {oef}
1
    for pig's feet.      Detective Sakala implied -- testified
2
    that that was a lie to cover Ms. Ali coming over there to
3
    get drugs.    In this conversation they complain -- Ms.
4
    Martin complain toss Ms. Ali about Ms. {ter} {rel}
5
    constantly wantsing Ms. Martin to go to the store for
6
    her.    And even though Ms. Martin was already home, Ms.
7
    {ter} {rel} wanted her to go back out an get her
8
    cigarettes or something.        In the later conversation Ms.
9
    Ali says a that lied to Ms. -- didn't lie {m} she told
0
1
    Ms. {ter} {rel} she was coming for pig's feet but she
1
    didn't want to have to stop tat store for her like Ms.
2
1
    {ter} {rel} always asked her to do.            It undercuts the
3
1
    detective's {pb} about the purpose of this later
4
1
    conversation.
5
1
             MS. JOHNSTON:     Again Your Honor that's sub {stan}
6
1
    {ti} evidence.     It's not going to attack the agent's
7
1
    testimony.    This is -- I mean we're talking about
8
1
    somebody wanting bubble bath and it doesn't show that Ms.
9
1
    Ali was involved in doing shows.           They're discussing
0
2
    somebody else who was thinking about doing a fashion
1
2
    show.    Again what we're doing here is introducing sub
2
    {stan} {ti} evidence that's not admissible {ub} {der} the
3
2
    hearsay rule under the ruse that somehow it goes against
4
2
    agent Sakala's testimony about the calls that he
5
2



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    interpreted when he has already said there were many
1
    calls that were not drug related {sglfrjts}
2
    {sglchblingts} well if I recall correctly, Sergeant
3
    Sakala testified not only as to interpretation of the
4
    words used in these calls but the relation {rp} between
5
    the parties and that relationship testimony was based
6
    upon his review of all the {kawls} as well as the
7
    evidence that was seized and he -- and he {ipd} {kait} ed
8
    that there was not a legitimate business relationship and
9
    assuming that this is going to test that opinion that he
0
1
    gave.
1
            MS. JOHNSTON:      He testified that Ms. Ali and Ms.
2
1
    Martin were friends that they had a social relationship
3
1
    with each other.      He didn't testify that they exclusively
4
1
    a {kluing} drug relationship.          So it doesn't impeach him.
5
1
            THE COURT:     I thought Mr. McKnett you were saying
6
1
    and I don't have per {fbingt} recall in a trial this
7
1
    {len} that Sergeant Sakala had testified as to the abceps
8
1
    of any business relationship between them.              Is that what
9
1
    you're saying or not.
0
2
            MR. MCKNETT:      That's -- yes, Your Honor that was
1
2
    the clear import of his testimony considering the
2
    relationship between the parties on trial.              {fa} that
3
2
    there was no legitimate business going on.
4
2
            MS. JOHNSTON:      There is -- no one has proffered
5
2



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    any proof of legitimate business record between Ms. --
1
    {sglfrjts} {sglfrjt} I'll permit this recording.                The
2
    {kebing} {t} {wup} is on Page 58, B 857.             That's one of
3
    yours Mr.    Mac.
4
             MR. MCKNETT.     Net et net is that Page 58
5
    {sglfrjts} {sglfrj} Page 58 note the get the call number
6
    again.
7
             MR. MCKNETT:     Your Honor this is a call between
8
    Ms. Martin and {and} an unidentified male in which the
9
    conversation is about tickets for $50 each.              It's a
0
1
    nondrug conversation.       The {tbingt} {tjt} detective's
1
    testimony was clear that this was a conversation about
2
1
    drugs.   This is $50 was for drugs and this is clearly --
3
1
    {sglfrjts} {glfrjts} did he apply that testimony to Ms.
4
1
    Ali net excuse me Your Honor.
5
1
             THE COURT:     That {tp} was also given specific
6
1
    {tloy} Ms. Ali {sfshtion} that correct?
7
1
             MR. MCKNETT:     Yes.    They're talking -- yule {is}
8
1
    seize if the court may not know this, {yul} yule yule
9
1
    {iz} ease is my client's husband {ae} a and he is not
0
2
    charge {wd} any crime in this case but his conversation
1
2
    is about $50 tickets.       {jons} {3R5U7BS} I don't -- I
2
    thought we were talking about call B 847             with an
3
2
    ununidentified male {sglfrjts} {glfrj} yeah it's an
4
2
    unidentified male but there's a reference to it in the
5
2



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    second statement by Ms. Mart {toyn} yule {iz} ease.
1
            MS. JOHNSTON:      I don't understand why this would
2
    be admissible.
3
            THE COURT:     Mr. McKnett.       {nebingt}.
4
            MR. MCKNETT:      The detective testified that his
5
    opinions were based on a review of all the conversations.
6
    He chose to ignore or discard this conversation when my
7
    client's husband is talking about tickets for $50, yet
8
    when my client talks about tickets for $50 he testified
9
    it had to do with drugs.
0
1
            THE COURT:     All right I will permit this call.
1
            Next call I have is number B as in boy 851 at Page
2
1
    60 that's one of your calls Mr. McKnett.
3
1
            MR. MCKNETT:      Yes Your Honor.       Two purposes here.
4
1
    They're related.      The first purpose is to show that Ms.
5
1
    Martin, client LaNora and her husband yule it {iz} ease
6
1
    were at Ms. Martin's house talking about a legitimate
7
1
    business enterprise having do with the Aretha Franklin
8
1
    show.   Later Mr. Goodwin and my client talk on the {fob}
9
1
    phone about show business.         It show ass legitimate
0
2
    business being discussed and also show ass {le} {jit} Mt.
1
2
    Business relationship being between my client, and her
2
    husband -- I'm repeating myself the detective testified
3
2
    {tla} were no legitimate businesses going on.
4
2
            THE COURT:     Are you going to excerpt this call net
5
2



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    {ki} do that if the court chooses.
1
            THE COURT:     Codo the best you because it's a long
2
    call.
3
            MS. JOHNSTON:      21 minutes long Your Honor but
4
    there has been no evidence that there was a legitimate
5
    {pwaiz} s going on between any of these par {tis} we were
6
    suppose today get any kind of documents that were going
7
    to {pwro} be used by from the defense by June six.                It's
8
    now tend of July we haven't gotten any legitimate
9
    documents {rern} ing concerning an Aretha Franklin show
0
1
    and {ron} heys.      So if the bases of this argument is a
1
    legitimate business then they're introducing improper
2
1
    hearsayment a though the court is saying note the hear
3
1
    the recording {sglfrjts} {sglfrjt} let me ask you a
4
1
    question Mr. McKnett the transcription of this call is
5
1
    seven {painl} s long.       Sit real will a21 minute call or
6
1
    is that the time of day.
7
1
            MR. MCKNETT:      It's not 21 minute call {sglfrjts}
8
1
    {sglchblingts} that's a call meaning it's at nine {o}
9
1
    {klosh} o'clock -- 9:06?        I don't think it's 21 mints.
0
2
            MR. MCKNETT:      The next call {swi} 12 numbers
1
2
    later is eight minutes later {sglfrjts} {sglnlts} it's
2
    not a 21 minute call note.
3
2
            MR. MCKNETT:      No it's not it {oo} {es} a couple of
4
2
    minutes.
5
2



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            THE COURT:     Whey would unencourage yaw the to do
1
    on all call {ss} {dabingt} them down to to what you
2
    really need to play because you don't want to put this
3
    jury to sleep which I don't think anybody want toss do.
4
    You want this to be an exciting pungent {coz} examination
5
    so if you would do that and cut this transcript book in
6
    after half which I'm sure you can do, they will all be
7
    {e} tern alley grateful and you will probably make a
8
    better point too if you do it that way.             The next call
9
    {vi} is on page 68 Number         B 853.    That's your call Mr.
0
1
    McKnett.    {thet}.
1
            MR. MCKNETT:      This is similar to the previous call
2
1
    Your Honor I believe it's the same day about eight
3
1
    minutes later Ms. Martin is talking to {ron} {hood} about
4
1
    the same attempt to get into show business.              There are
5
1
    discussions with my {klibt} -- this is a long call {ki}
6
1
    certainly {ed} it it down.
7
1
            THE COURT:     Yeah, it S.
8
1
            MR. MCKNETT:      It's sort of the same purpose with
9
1
    the {prooef} {yus} call to establish -- to undercut to
0
2
    establish the detective's opinion about the relationship
1
2
    between my client, her husband ands Ms. Mart {r57b} and
2
    perhaps others in.       I can cut that down Your Honor.              It
3
2
    also talks Your Honor if I may on Page 71 it talks about
4
2
    how much does goody get and that's my client talking
5
2



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    there.     This again shows it raises an issue concerning
1
    detective's opinion about the relationship between the
2
    parties.
3
              THE COURT:     You say your client is talking on Page
4
    71?
5
              MR. MCKNETT:     On Page 71 at some point prior to
6
    that my client gets on the phone.           I think it's on Page
7
    69.     Yeah, Page 69 Ms. Mart {hin} been talk {toing} {ron}
8
    {hood} she then hands the phone {mo} to my client's
9
    husband and he gets on the phone and talk toss Ron hood
0
1
    about show business, goody's cut {glfrjts} {sglfrjts}
1
    where does Ms. Ali get on this phone call {ket} net
2
1
    excuse me {sglfrjts} {sglchblingts} is Ms. Ali on this
3
1
    phone call.
4
1
              MR. MCKNETT:     If I said Ms. Ali I misstated.             She
5
1
    snot on the phone call.
6
1
              MS. JOHNSTON:     Your Honor here is the problem with
7
1
    this.     This talks about a future business they're try
8
1
    {toing} get into.      There is noest that they ever did get
9
1
    into this future business.
0
2
              MR. MCKNETT:     That's {ir} are {el} {le} {vant}.
1
2
              THE COURT:     That's not the purpose for which I'm
2
    considering it.      It's simply to test Sergeant Sakala's
3
2
    opinions where he indicates that the only business going
4
2
    on is drug business and that the people are not
5
2



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    discussing legitimate business.
1
            MS. JOHNSTON:      Your Honor he did not testify that
2
    the only business they were discussing was drug business.
3
    He clearly testified that they --
4
            THE COURT:     On a number or of occasions Ms.
5
    Johnston he gave the opinion that there was no evidence
6
    of any legitimate business in certain specific areas such
7
    as if I recall correctly clothing business.              And that was
8
    an opinion he gave.       If he gave that opinion, that
9
    opinion can be tested.
0
1
            MS. JOHNSTON:      Your Honor {btion} he gave the
1
    opinion that there was clothing -- that they were clothe
2
1
    involve inside the clothing business he absolutely
3
1
    testify that had they were involved in clothing business
4
1
    there were calls about tickets that were actually tickets
5
1
    to events he testified to that.          He testified that he
6
1
    didn't find any evidence of any legitimate concert
7
1
    business because in his opinion they were using drug
8
1
    proceeds for that.       That's what he meant by not a
9
1
    legitimate concert business.
0
2
            MR. MONTEMARANO:       Your Honor, if I could be heard
1
2
    I know it {ooets} not my call with but with regard to the
2
    whole thing about what detective Sakala said about my
3
2
    client being involve inside business.            What he said was
4
2
    there were calls re{vol} {ving} around or discussing
5
2



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    clothing.     He never conceded that there was a business
1
    and I think that is belied statement to the contrary is
2
    belied to the the search of my client's home where they
3
    studiously avoided all of that.
4
            THE COURT:     I remember your questioning and I know
5
    what you're saying.
6
            MR. MONTEMARANO:       Thank {quu} you Your Honor.
7
            THE COURT:     I believe when he was examined by you
8
    on that or the whoever it was that was being examined was
9
    they didn't find evidence of legitimate clothing business
0
1
    if.   Am I remembering incorrectly?
1
            MR. MONTEMARANO:       Found paper wok irrelevant.
2
1
            MS. JOHNSTON:      He went through the notebook that
3
1
    had suits and other things listed as purchases of
4
1
    clothing by Ms. Ali and this the drug purchases were in a
5
1
    separate column {sglfrjts} {sglfrjt} his testimony was
6
1
    that it was ann't a legitimate business I think is what
7
1
    he said.     Something to that effect.         All right.
8
1
            MS. JOHNSTON:      He acknowledge it had clothing
9
1
    transactions {sglfrjts} {sglchbling} Mr. McKnett.
0
2
            MR. MCKNETT:      Hi nothing further on that call,
1
2
    Your Honor.
2
            THE COURT:     All right.      Netiquette Your Honor, I
3
2
    don't have my log with me but I'm looking at the next
4
2
    call, 854.     And if I recall this correctly, 854 similar
5
2



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    is simply a continuation of 853.
1
              THE COURT:     Well, {vi} a page number issue.
2
              MR. MCKNETT:     I think it picked back up under a
3
    separate call number and if that's the case I can get rid
4
    of 854 completely.
5
              THE COURT:     All right.    Yeah, okay.      I'll permit
6
    you to do that.      Now, the next call {st} is a call with a
7
    number symbol in front of it and that means it is Mr.
8
    Martin.    That's B.
9
              MR. MARTIN:     886.
0
1
              THE COURT:     886 okay.
1
              MR. MARTIN:     Which appears on Page 80 in this book
2
1
    and page 127     in the government's phone logs.            May {vi}
3
1
    the court's permission to sit so I can look at my notes.
4
1
              THE COURT:     Certainly.    {ket} mart Your Honor will
5
1
    recall that this was the first of the several 106
6
1
    objections that I made back on Thursday, June 22, 2006.
7
1
    This is a call that references an entertainment attorney.
8
1
    Ms. Martin is on the phone and she's talking to I think
9
1
    -- hold on just a second here.
0
2
              THE COURT:     She's talking to your client {mont}.
1
2
              MR. MARTIN:     She's talk {toing} my client exactly
2
    and the conversation send {e} centers around the need for
3
2
    a good attorney -- entertainment attorney it talks about
4
2
    the O. J. s and Gerald {le} {vert} it talks about the
5
2



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    contracting with Aretha Franklin and the {o} jays and my
1
    argument is based more on the completeness theory.                Of
2
    course I also.
3
            THE COURT:     Is this a call that a a part of which
4
    was introduced {fwi} government.
5
            MR. MARTIN:      That's right only a {partion} part of
6
    this call was introduced it was the first time they came
7
    {um} up to the bench I think {dur} ing this trial.                Mr.
8
    Ward was the one who brought the completeness rule to my
9
    attention because I couldn't remember that it was rule
0
1
    106 and and this is the call it was either Your Honor or
1
    government trial counsel said well Mr.             Martin you can
2
1
    always play that in your case in chief.             Well that's
3
1
    where we are now {awrn} Your Honor and I'm not look
4
1
    {toing} question Sergeant Sakala {rartd} regarding
5
1
    {thchlt} I just want this call to be made available to
6
1
    the jury so that we don't have a situation where the law
7
1
    prevails --
8
1
            THE COURT:     I don't have perfect recall and I
9
1
    don't recall who said what about this but I do know that
0
2
    when you were examining the witness this transcript
1
2
    didn't exist; is that correct?
2
            MR. MARTIN:      This transcript did not exist.
3
2
            THE COURT:     It does now.
4
2
            MR. MARTIN:      Yeah.
5
2



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            THE COURT:     So, within the rubric of my ruling on
1
    allowing further cross-examination of Sergeant Sakala you
2
    may use this.
3
            MR. MARTIN:      Thank you sir.
4
            THE COURT:     All right.      Okay.    With whatever
5
    cutting and editing you want to do to it.              You know, if
6
    you can make it less lengthy, I think all would be
7
    appreciated.
8
            MR. MARTIN:      I understand and Your Honor {ooem}
9
    not looking to question the good officer.              What I would
0
1
    like to do do though in the interest of complete seasons
1
    have both the disk and the transcript available to the
2
1
    jury when they are ready to starlight a start
3
1
    deliberations.
4
1
            MS. JOHNSTON:      Your Honor I think if he wants to
5
1
    introduce it through agent Sakala then he has to do it in
6
1
    proper fashion by cross examining hip about it
7
1
    {sglchblingts} {sglfrjts} you can cross examine him about
8
1
    it.
9
1
            MR. MARTIN:      That's fine {ki} do that.
0
2
            THE COURT:     He's capable of playing the whole
1
2
    thing; correct.
2
            MR. MARTIN:      Not a problem.
3
2
            MS. JOHNSTON:      We haven't pulled any of these
4
2
    calls Your Honor to play {sglfrjts} {sglfrj} I assume you
5
2



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    have a CD ROM with this call on it.
1
            MR. MARTIN:      We do that's how {witz} transcribed
2
    {sglfrjts} you can key it up and I play I play it.
3
            MR. MARTIN:      Right.
4
            THE COURT:     If you within the to excerpt it.
5
            MR. MONTEMARANO:       The only thing we would is ask
6
    the court in respond response so that is the {e} court's
7
    staff the electronic wizard whizzes note the hear the
8
    recording allow me to hook up my laptop or Ms. Mr.
9
    Martin hook up his laptop --
0
1
            MS. JOHNSTON:      We didn't hook our toss introthe
1
    into the court system we put {ket} in front to have
2
1
    speakers.
3
1
            THE COURT:     They did a pretty low tech way.
4
1
            MR. MONTEMARANO:       My gosh.     I'm not quite as much
5
1
    in ah of the government as I was for so long.
6
1
            THE COURT:     It's really rather low tech but it
7
1
    does work.    You can two can put --
8
1
            MR. MONTEMARANO:       {tapd} government puts its pants
9
1
    on one leg at a time as well.
0
2
            THE COURT:     That's right.
1
2
            MR. MONTEMARANO:       Your Honor while I'm standing
2
    {ki} speak to the next call {swi} mine?
3
2
    A.      {nfrjt}.
4
2
            THE COURT:     Sit call A 301.
5
2



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            MR. MONTEMARANO:       Yes it {oo} {tes} same call you
1
    were discussing with Mr.        Martin.     Mr.    Martin's note the
2
    {thaer} recording voice mail {metsz} {saj} left on Ms.
3
    Martin's home phone -- cell phone, rather and it is the
4
    if you {wabt} to build a billion dollar industry voice
5
    mail message of Ms. Martin Your Honor will recall,
6
    followed by a woman named {wa} neat that live leave
7
    {aling} message about Spencer boyar he's a professor from
8
    Howard universe {fi} hety he is {oo} en aer {spw} {tain}
9
    {m} attorney he talked taught all the black note the
0
1
    {thaer} recording.
1
            THE COURT:     You can play this call.          {c5e7b9}
2
1
    {mont} thank you.
3
1
            THE COURT:     All right.      Number 97 -- Page 97,
4
1
    number B 1078 and and that is a a Mr. McKnett call.
5
1
            MR. MCKNETT:      Which call is that Your Honor
6
1
    {sglfrjts} {sglchblingt} Page 97 of the book.               Call B
7
1
    1078.
8
1
            MR. MCKNETT:      Your Honor, if I could address this
9
1
    one and and the next one together.           It would help and
0
2
    explain better why I think these should come in.                1078
1
2
    and 1139.    The government {taz} court may recall at one
2
    point played a transcript in which Ms. Martin said to my
3
2
    client I fixed your thing.         I have it with me.        It was
4
2
    Sergeant Sakala's testimony that that meant that Ms.
5
2



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    Martin had took cooked crack cocaine for my client.                   In
1
    these two calls, call 1078, the unidentified male says to
2
    my client's husband yule {is}'s garner, Paula cooking
3
    dinner, huh?     And garner says yeah, yeah so I'm here.
4
    That establishes that first of all there was a social
5
    relationship between the two which I think at this point
6
    is not really at issue {sglfrjt} {sglfrjts} where are you
7
    in this call?
8
            MR. MCKNETT:      1078 the very first line {sglfrjts}
9
    {sglchblingts} all right.
0
1
            MR. MCKNETT:      Unidentified male says Paulette
1
    cooking dinner.      The next call Ms. Martin is talking to
2
1
    her son in which she says {t} at around the middle of the
3
1
    page I fix a sweet potato pie last night T. government's
4
1
    interpretation of the word fix is to cook crack cocaine.
5
1
    It's my argument that the word fix at least in this
6
1
    context clearly shows that she was cooking -- fixing food
7
1
    not drugs.
8
1
            MS. JOHNSTON:      If we could have the call that the
9
1
    government play that had counsel says this is refuting it
0
2
    would be helpful to know.
1
2
            THE COURT:     What {tooes} call number?           I've got it
2
    in my notes somewhere.
3
2
            MR. MCKNETT:      Your Honor I'm in the same {poing}
4
2
    it would take me a couple of minutes.            I could find it.
5
2



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            MS. JOHNSTON:      In vacuum this call doesn't say
1
    anything.
2
            MR. MCKNETT:      Excuse me Ms. Johnston.
3
            MS. JOHNSTON:      I said this call doesn't tell us
4
    anything if it's not in time and place in relation to the
5
    call that agent Sakala interprets {mons}.
6
            MR. MONTEMARANO:       With respect Your Honor there is
7
    no disagreement that there was a call that Sergeant
8
    Sakala define inside that way.          We can't identify which
9
    one out of their hundred or so but there's in question
0
1
    that we all heard a {quawl} call that {witz} clearly
1
    {mings} fixings we hit a pie.
2
1
            THE COURT:     You will momentarily see why I take my
3
1
    note ins a trial like this on a computer.
4
1
            MS. JOHNSTON:      I don't think {witz} fixing sweet
5
1
    to potato pie.
6
1
            THE COURT:     I'ming {g} to look for the words sweet
7
1
    potato tie pie and I'll tell you who said it on what
8
1
    date.
9
1
            MR. MCKNETT:      Your Honor I think the betterer word
0
2
    search would be for the word fixed.
1
2
            THE COURT:     I don't think I put fix inside there.
2
            MS. JOHNSTON:      I don't believe agent Sakala -- I
3
2
    think conversation {mrz} mac net is referring to did not
4
2
    reference sweet potato pie.
5
2



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            MR. MCKNETT:      No it didn't I it said I if I canned
1
    your thing I visit with me it's what Ms. Martin told Ms.
2
    Ali.   Detective Sakala said in his opinion that was code
3
    word for I fixed your crack cocaine.            These two
4
    transcripts these pro{two} messages first there is an
5
    identification that Ms. Martin is cooking dinner and then
6
    in the next conversation she use it is word fix to refer
7
    to cooking sweet potato pie.
8
            THE COURT:     All right.      Sergeant Sakala talked
9
    about sweet potato pie meaning cocaine in call B 1378
0
1
    note wit {uz} 137five.
1
            MS. JOHNSTON:      Your Honor {vi} the call that he's
2
1
    referring to.
3
1
            THE COURT:     Is that the one?
4
1
            MS. JOHNSTON:      No.    The call he's referring to is
5
1
    call B 1233 on Page 140 of the government's exhibit and
6
1
    that call happened on March 21 of 2004.             So the calls he
7
1
    wants to introduce on March 19          which refers to Mr.           Yule
8
1
    {is} cease garner being at Ms. Martin's house when {hrz}
9
1
    Martin's fixing dinner and then the next call where {hz}
0
2
    Martin tells her son that she fixed a sweet potato pie
1
2
    the night before referring to March 19 and March 20.                   The
2
    call in question happens in the afternoon of March 21
3
2
    where Ms. Martin says I fixed your thing.              I have it with
4
2
    me so just call me.       And so those two earlier calls are
5
2



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    not at all related to this later call and this call
1
    doesn't mention sweet potato pie.
2
              MR. MCKNETT:    Your Honor if the call {rs} that
3
    close together in time and Ms. Martin is using the word
4
    fix in one of them, clearly in the context of cooking
5
    dinner, then I think I legitimately should be able to
6
    argue the next day when she says I fixed your thing she's
7
    using the word fixed the same way.           Unlike detective
8
    Sakala's opinion that when Ms. Martin said, I fixed your
9
    thing she was talking about cooking crack cocaine.                Then
0
1
    it goes to the weight of the detective pus opinion the
1
    basis for his opinion.        He selectively chooses to use the
2
1
    word fix as a code for cooking crack when Ms. Martin
3
1
    herself is using the word fixed with relation to food.
4
1
    {jons} {yns} that's because of the whole phrase and the
5
1
    nature of the conversation.         He didn't interpret this
6
1
    conversation.
7
1
    {sglfrjts} {sglfrj} all right.          I'll permit this to be
8
1
    played.
9
1
              The next one I believe is a next two calls are
0
2
    requested by Paulette Martin relating to clothing
1
2
    transactions; correct.
2
              MR. HALL:   Your Honor before Mr.         {mnt} ma {ra} no
3
2
    starts.    Since I'm not involved in any of the calls may
4
2
    by excused for just one moment the make an important
5
2



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    phone call {sgls} {sglfrjs} {sglfrjts} yes you may since
1
    {wooer} not dealing with any of your issues and Mr.                   Ward
2
    has long ago been back.        I have yet rule on any calls
3
    involving Lavon Dobie.
4
            MR. WARD:     They did not involve a telephone call
5
    Your Honor.
6
            THE COURT:     So far I haven't kept any calls out.
7
            MR. WARD:     I'm sorry.
8
            THE COURT:     So far I {ooef} not kept any calls
9
    out.
0
1
            MR. WARD:     I've noticed which by that Your Honor
1
    and I'm encourageed by that.
2
1
            MR. MONTEMARANO:       There's a brief tell flown call
3
1
    of mar a {sha} Jean West discussing sizes and styles.
4
1
    And another brief call with {kef} inScott.              The court
5
1
    will remember {kef} incot Scott is a {wern} person whose
6
1
    calls with Ms. Mar inwere played by the government
7
1
    claiming they were discussions about crack, etcetera the
8
1
    allegations that Mr.       Scott is the other son of Ms. Levi.
9
1
    This is another call and it is entirely the opposite
0
2
    direction.    It's clearly talking about sizes and
1
2
    clothing, etcetera and there are other can he have
2
    inScott calls of similar nature and this is one they put
3
2
    in more than anything else as a form of introduction to
4
2
    the other {def} inScott.
5
2



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            MS. JOHNSTON:      Your Honor, detective Sakala very
1
    specifically testify {wfd} that {kef} inScott was
2
    involved in selling clothing and that there were numerous
3
    calls between Ms. Martin and Ms. Mr.            Scott concerning
4
    clothe {thaing} were not drug related calls that was his
5
    testimony this doesn't do anything to cross examine him
6
    there may be issues about women's clothing and mar {sha}
7
    gene {wes} and whether that's a legitimate business
8
    {nort} but agent Sakala never said anything in terms of
9
    {kef} inScott that he was involved in something other
0
1
    than selling clothes and that he had a shop in Baltimore.
1
            THE COURT:     If that's the testimony of Sergeant
2
1
    Sakala and I recall ate the same way why would you
3
1
    describe would bit appropriate to play this recording?
4
1
    It {oos} con {sus} tent with his opinion.
5
1
            MR. MONTEMARANO:       I understand that except for one
6
1
    small problem.     Why were there any {kef} inScott -- if
7
1
    that's true and I {ooep} not calling Johnston a liar.                 My
8
1
    recollection is different.         If Ms. Johnston was right
9
1
    {whoo} why would she play any {kef} inScott calls I E
0
2
    sought to and why would Your Honor let my of them in
1
2
    because they would be pate {ent} ly irrelevant to the
2
    government's burden of proof wouldn't they.
3
2
            MS. JOHNSTON:      Your Honor the soles we allow
4
2
    inside concerning Mr.       Scott I believe concerned the
5
2



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    arrest of Gwendolyn Levi {sglfrjts} {sglfrjt} yes, they
1
    did.   That's my memory of it.         I don't see how this call
2
    is fair as further cross-examination of Sergeant Sakala
3
    so you need to help me out.
4
            MR. MONTEMARANO:       I would ask then Your Honor
5
    reserve a final decision on this because there are like
6
    three or four {kef} inScott call ins the entire list I
7
    think they will all either fall or rise together
8
    {sglfrnlt} {sglfrjts} at least my preliminary feeling is
9
    that this one falls.
0
1
            MR. MONTEMARANO:       Very well.
1
            THE COURT:     It's not inconsistent and {woul} not
2
1
    be fair game for {xrosz} examination of Sergeant Sakala.
3
1
            MR. MONTEMARANO:       Fair enough Your Honor.
4
1
            THE COURT:     B 1441 is subject to its being
5
1
    redacted somewhat is all right because it shows the
6
1
    clothing question.
7
1
            MR. MONTEMARANO:       Thank you.      All right the
8
1
    {sdwhrfrjts} {sglfrjts} all right the next call {vi} is B
9
1
    1567 {r57b} Page 107.
0
2
            MR. MCKNETT:      Your Honor, this call and the next
1
2
    one,
2
            THE COURT:     First of all we {ooef} {gt} a problem
3
2
    with government transcripts in the middle of this book.
4
2
            MR. MCKNETT:      Your Honor we will pull tout
5
2



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    government transcripts.
1
             THE COURT:     I'm assuming you're going to pull
2
    these government transcripts out that appear in this next
3
    few pages here {mont} yes, sir.          You already order that
4
    had.    We will do it.
5
             THE COURT:     And so the next one {vi} is 107, B
6
    1567.
7
             MR. MCKNETT:     15671568 go together Your Honor.
8
    They're two very short calls in which Ms. Ali is talking
9
    to Ms. Martin about having two tickets to get rid of.
0
1
             THE COURT:     Having what?      I couldn't hear you.
1
             MR. MCKNETT:     Excuse me.
2
1
             THE COURT:     I couldn't hear you.
3
1
             MR. MCKNETT:     Ms. Ali is talking the to Ms. Martin
4
1
    about having two dick tickets to get rid of and she's
5
1
    going the call {trooes} {ta} {sa} to see if {trooes} {sa}
6
1
    {wabt} s them because she and ewe {lil} cease can't use
7
1
    them and so {fot}.       They show again the use of the word
8
1
    tickets in a nondrug context.
9
1
             THE COURT:     That's next two -- this one {tand}
0
2
    next call.
1
2
             MR. MCKNETT:     1568 as well Your Honor {sglfrjts}.
2
             MR. MCKNETT:     Second one, 1568 Ms. Ali calls back
3
2
    and tells Ms. Martin that she in fact had been able to
4
2
    get rid of the tickets to {trooes} {sa} because {trooes}
5
2



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    {sa} jumped on them.
1
            THE COURT:     I will permit these calls.           All right.
2
    Next call then is on Page 113, number B 1996.               What's the
3
    purpose of this one?
4
            MR. MCKNETT:      Your Honor this is a fairly lengthy
5
    call and if the court allows me to bring it in, I'll be
6
    happy to {ed} it it down.         If I remember this call
7
    correctly this is a call in which Ms. Martin and Ms. Ali
8
    again are talking about the problems Ms. Martin has with
9
    Ms. {ter} {rel} who lives upstairs Ms. {ter} {rel} trying
0
1
    to get in her business, trying to {of} hear what's going
1
    on, trying to in effect be a busy body, a nosey person
2
1
    the reason this is important is it shows Ms. Ali and Ms.
3
1
    Martin are trying to minimize their involvements with Ms.
4
1
    {ter} {rel} as much as they possibly can.              There's a
5
1
    later conversation presented by the government which
6
1
    detective Sakala interpreted the conversation as one in
7
1
    which Ms. Martin wasing {g} to leaf a quantity of drugs
8
1
    with Ms.
9
1
    {ter} {rel} for Ms. Ali to come over later and pick up
0
2
    and this conversation clearly shows that that simply was
1
2
    not the nature of the relationship between Ms. {ter}
2
    {rel} and Ms. Martin and Ms. Ali.
3
2
            MS. JOHNSTON:      That's a problem because he's going
4
2
    intoest of what the relationship was not in terms of what
5
2



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    agent Sakala said that they had a drug dealing
1
    relationship in addition to their friendship that some of
2
    the calls he interpreted had to do with drugs.               This is
3
    being offered as sun {stan} tive proof of what their
4
    relationship was {chl} {hrz} a lee can testify to a as to
5
    it, Ms. Martin can testify.         This talks about plastic
6
    surgery it talks about wigs that Ms. Martin got and Ms.
7
    Ali.    It talks about, you know, all sorts of things.
8
             THE COURT:     How is this --
9
             THE COURT:     How is this relevant.
0
1
             MR. MCKNETT:     I will be happy to {ed} it out those
1
    portions {sglfrjts} {sgchblingts} what's going to be
2
1
    left.
3
1
             MR. MCKNETT:     What's going to be left is.
4
1
             MS. JOHNSTON:     Ms. {ter} {rel} is sick upstairs.
5
1
             MR. MCKNETT:     If I could re{ser} it have right to
6
1
    Ted {ed} it it a little bit further but I would start
7
1
    from the beginning of the conversation and note the
8
1
    {thaer} recording and continue through the portion on --
9
1
    through Page 115 about middle of the page and then pick
0
2
    {pwawng} later on and I don't have a precise spot here
1
2
    Your Honor but they talk about how Ms. {ter} {rel} was
2
    trying to get into Ms. Martin's things and be nosey and
3
2
    those are the aspects that I want to bring in because I
4
2
    {swofld} argue that the agent note {witz} in forming his
5
2



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    opinion intentionally discarded this conversation.
1
            THE COURT:     Which opinion do you mean?
2
            MR. MCKNETT:      The opinion that in a rather
3
    nonspecific conversation Ms. Martin said to Ms. Ali if
4
    I'm in the here when I come by I'll leave it with Ms.
5
    {ter} {rel} I'll leave it with jack {ki}.              That was a --
6
    there was no reference the tickets or drugs or sweet
7
    potato pie or anything else in that conversation.                It was
8
    just a lee with jack {ki}.         The detective interpreted
9
    that to mean mean that Ms. Martin was going to leave a
0
1
    quantity of drugs with Ms. {ter} {rel} for my client to
1
    pick up.    This conversation at least the relevant
2
1
    portions of it indicates that that relationship, that
3
1
    kind of a relationship simply didn't exist between those
4
1
    three people that there was no possibility that Ms.
5
1
    Martin would ever leave drug {ws} Ms. {ter} {rel} for
6
1
    anybody to pick up.       Or anything else for {hrz} Martin
7
1
    for somebody else to pick up {sxwrons} {jons} if {maz}
8
1
    Martin and Ms. Ali want to testify about their {ri}
9
1
    lation ship with Ms. {ter} {rel} they certainly can.
0
2
    {sglfrjts} {sglfrjt} what I don't have perfect recall on
1
2
    is what {tabt} relation with Ms. {ter} {rel} whether he
2
    gave an opinion of on that.
3
2
            MR. MCKNETT:      I'm not sure he ever got into that
4
2
    in any great detail.       He talked about Ms. {ter} {rel}
5
2



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    being -- if the woman who lived up stair that is Ms.
1
    {ter} {rel}.
2
            THE COURT:     Let me just say this Mr. McKnett.              I
3
    don't recall him saying giving an opinion about the
4
    relationship between Ms. Martin and Ms. {ter} {rel} or
5
    Ms. Ali and Ms. {ter} {rel}.          But, if you can find
6
    something where he gave that opinion and present it to
7
    me, I'll consider this as being something that would be
8
    usable on cross examination if there is such a thing, but
9
    I don't recall any such thing and if there wasn't any
0
1
    such {12R507B8G} I don't think it's proper to put this
1
    into further cross examination.
2
1
            MR. MCKNETT:      Your Honor I don't know that he -- I
3
1
    can't recall offhand any specific time that he testified
4
1
    that there was any specific relationship between Ms.
5
1
    Martin and Ms. {fer} {ter} {rel} or Ms. Ali and Ms. {ter}
6
1
    {rel} or any combination of those three, but imimplicit
7
1
    in the opinion that Ms. Martin would leave drugs with Ms.
8
1
    {ter} {rel} for Ms. Ali to pick up implicit in that
9
1
    opinion is his opinion that the relationship was such
0
2
    that they would do that.        And this conversation undercuts
1
2
    that portion of that implicit preponderance.
2
            THE COURT:     As I said you're going to have to
3
2
    convince me of this one.        As of right now my on collusion
4
2
    is that this is not fair game for cross-examination on
5
2



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    opinions because I don't think you he gave an opinion on
1
    this subject.
2
            MR. WARD:     Your Honor, I do -- I don't have all my
3
    notes with me but I do specifically call {tla} was a
4
    conversation about how Ms. Mart {r57b} could not go up
5
    into the kitchen because the woman was there and she
6
    department want her to know about her business and so
7
    forth and so so on and about how she was a drunkard and
8
    that she {wawz} big time boozer or you know basically an
9
    unreliable type person.        {jons} {jns} and then this call
0
1
    would just corroborate if that's {tha} that {tes} opinion
1
    agent Sakala {gai} -- {sglfrjts} {sglfrj} my ruling now
2
1
    is that this cannot be used.          Be glad to reconsider it
3
1
    Mr. McKnett if you can give me something further that
4
1
    would {juts} ty {fi} using it but as of now, no.                Let's
5
1
    go to the next one it's A 681 on page 124 and and I
6
1
    believe the asterisk means it is mac net?
7
1
            MS. JOHNSTON:      This is again about {kef} inScott
8
1
    leaving suits.     Which is not inconsistent with what the
9
1
    detective detective's testimony was.
0
2
            THE COURT:     Net in the Your Honor again
1
2
    corroborate support it is testimony's opinion note there
2
    was no legitimate business.         This supports the fact that
3
2
    my client -- at least my client's husband inI {ip} police
4
2
    Italy and that my client were interest inside buying
5
2



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    clothes this had to {o} do with {lin} ensuit that is
1
    apparently Mr.     Scott had left at Ms. Martin's house for
2
    sale.
3
            MS. JOHNSTON:      Agent Sakala testified can she have
4
    inScott had a clothing store and he would bring clothes
5
    down to Ms. Martin to sell and first of all it's not
6
    relevant whether yule {is}'s bought {kloe} s or not the
7
    detective didn't {gef} give any opinion about {yul} {is}
8
    {ooesz} garner engaged drug activities.
9
            THE COURT:     I will not permit this call.            Page
0
1
    130, call number B 2436.
1
            MR. MARTIN:      I'm pulling that Your Honor {sglfrjt}
2
1
    {sglfrjt} you're not going to offer that {mrt}.
3
1
            MR. MARTIN:      I don't know why I listed that.
4
1
    {jons} have {yu} all pulled then call B 2220 on page 126?
5
1
    {mont} {c5e7b9} that's the one I in advance of our
6
1
    hearing -- in advance of the hearing I informed Ms.
7
1
    Johnston that was a call I was not able to establish a
8
1
    rationale that convinced me and I therefore submitted
9
1
    that I probably couldn't establish one that would
0
2
    convince the court.
1
2
            MS. JOHNSTON:      That's all I needed to know.           Thank
2
    you.
3
2
            THE COURT:     All right we're now I a{t} think at
4
2
    the per {UF} {yan} chicken call.
5
2



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            MR. MCKNETT:      Your Honor {ki} back up a second?              I
1
    think I'm confused on B 2436.
2
            THE COURT:     Correct.
3
            MR. MCKNETT:      Is that.
4
            MR. MARTIN:      It was listed as mine.         I looked at
5
    it.
6
            MR. MCKNETT:      I don't think that is.         I think
7
    that's my call.
8
            THE COURT:     Oh, it S.
9
            MR. MCKNETT:      I think -- yes, it is.         And it is
0
1
    the complete conversation with regard to an excerpt that
1
    the government played.        {sglchbility} {sglfrjt} how long
2
1
    is the --
3
1
            MR. MCKNETT:      Only the portion on Page 132
4
1
    {sglfrjts} {sglfrjt} all right.          It's just three pages.
5
1
            MR. MCKNETT:      It's just three pages.
6
1
            THE COURT:     All right.       I'll permit that.
7
1
            MR. MARTIN:      So it's in.
8
1
            THE COURT:     That's from {hrz} a lee.          Okay.     Not
9
1
    good win.    Okay.    Now {wooer} at per you have {yan}
0
2
    chicken page 136, call 2429.          Is this the defense
1
2
    {veshtion} of the {got}'s version of the same call.
2
            MR. MONTEMARANO:       Yes U.     Your Honor has said we
3
2
    can send our transcript back we're not going to play the
4
2
    call unless Mr.      Mitchell is able to -- my understanding
5
2



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    is Your Honor's ruling is that you weren't going to --
1
    {sglchblingts} {sglfrjts} you can have your transcript in
2
    this book.    That's fine.
3
             MR. MONTEMARANO:      Right.
4
             THE COURT:    All right.
5
             MS. GREENBERG:      Your Honor, I'm sorry if we could
6
    get back to B 2436.       I'm just looking at page 26five of
7
    the transcript book and I'm not seeing our transcribed
8
    portion in Mr. McKnett's transcribed portion {sglfrjts}
9
    {glfrjts} this is on Page 130?
0
1
             MS. GREENBERG:      Okay.    I got it.     Okay, thank you.
1
    I poll lo {jiz} for the interruption.
2
1
             THE COURT:    All right.       Now we're at B 2790 on
3
1
    page 138.
4
1
             MR. MARTIN:     That occurs on page 138         in our book
5
1
    and page 29one in the government's.            This is a telephone
6
1
    conversation between Paulette Martin and Tiffany vessels.
7
1
    You may recall this is when Ms. Martin is supposedly {gi}
8
1
    ing directions to Ms. Vessels on how the get to the
9
1
    house.   Again I made a rule 106 objection and the thrust
0
2
    of this request, Your Honor,
1
2
             THE COURT:    So this is the complete call.
2
             MR. MARTIN:     It's completeness and also they
3
2
    discus tickets to Aretha Franklin and Gerald {le} {vit}
4
2
    {le} {vert} {sglfrjts} {sglfrjt} all right I will permit
5
2



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    that.   Next call page 143 Number          B 3201.
1
            MR. MONTEMARANO:       This is the first of the calls
2
    of Gilbert Williams who is the concert promoter the court
3
    may recall in North Carolina to whom Ms. Martin sent
4
    $131,000 on or about the 25th 26           th of May.     Shortly
5
    after the forfeiture order was signed by this court but
6
    before it was formally executed.           As a result the
7
    government sought the return of this money from Mr.
8
    Williams and he had already spent this money in promoting
9
    the Gerald {le} {vert} father and son tour for that
0
1
    summer and I think it goes to establish that Ms. Martin
1
    was indeed involved in legitimate businesses that
2
1
    spending $131,000 for camouflage is shall we say
3
1
    excessive.
4
1
            MS. JOHNSTON:      Your Honor, our position would be
5
1
    that was drug proceeds but how is he going to get any of
6
1
    this sub {stan} {ti} ly in the {nerm} terms of what the
7
1
    money was for?
8
1
            MR. MONTEMARANO:       Well, {jons} {yns} the whole bit
9
1
    {tabt} forfeiture is irrelevant here.            I understand
0
2
    {koul} counsel has a letter that they wrote to the
1
2
    government about the money getting the money back which
2
    we don't think is admissible.
3
2
            THE COURT:     How does this one come out.
4
2
            MS. JOHNSTON:      I don't know huh how any of this is
5
2



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    coming in.
1
            MR. MONTEMARANO:       May it please the court.          So
2
    we're on same page T. government sought the gone Monday
3
    gnu and wrote the more Williams {vi} a copy of this
4
    letter Mr. Williams {pwro} wrote to the {got} and said
5
    basically with an excess of testosterone told the
6
    government to go fly a kite.          Your Honor is smiling like
7
    I am they are {mez} ing with the big dog doesn't always
8
    strike me as being a smart thing when he {dez} doesn't
9
    have the money an he says {u} I don't have it, I ain't
0
1
    giving it back.      It's been spent the government {EFP}
1
    propose add possible settlement -- {sglfrjts} {glfrjt}
2
1
    how does this have {smiing} anything to do with opinion
3
1
    that is Sergeant Sakala gave?
4
1
            MR. MONTEMARANO:       Ms. Martin is not engaged in any
5
1
    legitimate businesses.        His words.     He blew off entire
6
1
    {tli} notion that she was involved in concert promotion.
7
1
    In huge numbers of calls about shows and tickets and acts
8
1
    that many of the people in the jury will be familiar with
9
1
    and this is one example of it and this sort of set it is
0
2
    stage one of the earliest call {ws} Gilbert will {quams}
1
2
    {apd} I think sit soluble to demonstrate tremendouslation
2
    ship they have because it was my {pwengs} so intention to
3
2
    put on Mr. Williams and ask him what he intent the money
4
2
    on {whand} this was for the fact that the government in
5
2



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    two years hasen done anything about this money hasn't sue
1
    Master's degree Williams.
2
            THE COURT:     {u} don't want to hear {tabt}
3
    forfeiture whey want to hear about is how this is
4
    something that can reasonably be look today as calling
5
    into question the {pb} s given {gi} Sergeant Sakala.                  And
6
    on what specific opinion.         Now the specific opinion I
7
    hear you telling me is he found no evidence of any
8
    legitimate business by Ms. Mart sin that right.
9
            MR. MONTEMARANO:       No one engaged the entertainment
0
1
    business.    This is a -- almost a precondition to
1
    establishing the transfer of money to Mr. Williams.
2
1
            MS. JOHNSTON:      What agent Sakala said was yes I'm
3
1
    familiar with the fact that she paid guilty produck shuns
4
1
    a hundred and and {sm} $1,000 but in my opinion it wasn't
5
1
    legitimate business because that was money -- that was
6
1
    drug proceeds.     So what agent Sakala has admitted that
7
1
    she transferred that money to him {hrz} an investment in
8
1
    the concert business {sglfrjts} {sglfrnlts} meaning it
9
1
    was drug proceeds in the sense of where she got the money
0
2
    from but the transaction may very well have been to
1
2
    purchase tickets.      Not.
2
            MS. JOHNSTON:      Not the purchase tickets to purr
3
2
    in{ves} in the a concert {sglfrjts} {jons} {yns} there is
4
2
    nothing to cross examine him about.            He has admit that
5
2



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    had's what happened she sent the money to him to {ip}
1
    {ves} in the a concert promotion --
2
              THE COURT:ly Not permit call B 23 note the {thaer}
3
    recording.
4
              MR. MONTEMARANO:     Thank you Your Honor.
5
              THE COURT:    A 1015 on Page 152 has a star {oynt}.
6
    Who is if star?
7
              THE COURT:    A 1015.    Page 152.      Net I didn't have
8
    it on my list.
9
              MS. JOHNSTON:    That's a a call between Ms. Martin
0
1
    and Mr. Goodwin.       Mart {ket} oh, is it?
1
              THE COURT:    Does the star mean Mr.         Mart {snin}
2
1
    mar mar New York City numbers do.           Let me take a quick
3
1
    look here and see.
4
1
              MS. JOHNSTON:    It's about concerts.         Different
5
1
    people.    Monday.
6
1
              MR. MONTEMARANO:     Your Honor I prepared that list
7
1
    you can't really hold Mr. McKnett and Mr.              Martin
8
1
    accountable.
9
1
              MS. JOHNSTON:    It's 22 {painl} s long
0
2
    {sglchblingts} {sglchblingts} what is your translation of
1
2
    what this means?       It's {gt} a star on it.
2
              MS. JOHNSTON:    It's 22 pages long.         {mornt} {mont}
3
2
    oh I know why Your Honor there's a long discussion in the
4
2
    middle of the call by the parties relative to {ron} hood,
5
2



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    who is involve inside the interstainment business and
1
    about Aretha Franklin and the use -- utility of certain
2
    acts {ver} us others.       They discuss {kha} {ka} can at
3
    page 157 and and I think that Mr. McKnett had sought to
4
    bring it in because of its relationship to the
5
    entertainment business but this is one he {apd} I would
6
    have have pus cuss ed would have to be seriously redacted
7
    because sit quite long but as I indicated before we
8
    transcribed them all -- the entirety of them.
9
            THE COURT:     In the absence of substantial
0
1
    redaction that {ki} approve I won't permit this call so
1
    come back to me with {whaef} you may have and if there's
2
1
    a redaction but it's too long and I {ooep} not sure how
3
1
    it comes in.     All right.     The next one {vi} is B 3391 at
4
1
    page 16five.
5
1
            MR. MONTEMARANO:       Yes Your Honor it's Ms. Martin
6
1
    calls the mid LAN {thooe} {t} attar in I {pwhrooe} Kansas
7
1
    City Missouri checking on arrangements for a show there
8
1
    if the amount of money had been paid had been deposited.
9
1
    If the show had been cancelled and this relates to
0
2
    earlier calls which Ms. Martin discusses try {toing} get
1
2
    her money back from {ron} hood.          I believe they're in
2
    some of the -- some of the discussions with the calls Mr.
3
2
    McKnett has already ought sought to introduce about money
4
2
    that she is due and it's being held it {swofld} have been
5
2



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    escrowed by {ron} hood and how he's not trust {wor} think
1
    and {shooes} try {toing} find out if this show is gone
2
    that she's in essence put up money for has been cancelled
3
    or is still going forward.         It's a very brief call and
4
    the government's log indicates that the phone numbers
5
    register today the mid land theater in Kansas City which
6
    is how I know that and {vi} put that on my list and
7
    provide {wd} name of the person.
8
            MS. JOHNSTON:      Your Honor, here is the
9
    government's problem with this.          Again, this is about
0
1
    concert business.      Agent Sakala said that they had
1
    in{ves} it had money at a had attempted to invest money
2
1
    in some concerts.      He testify today that.          He never said
3
1
    that they didn't investigate the invest the {druling}
4
1
    proceeds into concert {sos} he is not in any way, shape
5
1
    or form being cross {xaip} inned or impeached by this he
6
1
    admitted {tai} sought {toyn} vest Mr.            mart note {thaer}
7
1
    recording.
8
1
            THE COURT:ly Permit this call ton basis that it is
9
1
    fair for cross-examination on opinions {gi} enabout
0
2
    tickets.     As {ket} being for real shows.
1
2
            MS. JOHNSTON:      Your Honor just so the court is
2
    clear there is no reference in here to tickets it's not
3
2
    tickets ha she wants back.
4
2
            THE COURT:     I understand but he can has {gi} enan
5
2



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    {p} en that various conversations that dealt with tickets
1
    and shows were not about tickets and shows but was about
2
    drugs.     They can test that opinion with these recordings.
3
    The {nebingts} one I have is on page 168, new recording
4
    note the {thaer} recording.
5
              MR. MONTEMARANO:     Yes Your Honor it's another
6
    lengthy call with Gilbert Williams and my basis would be
7
    the same as the one that you already said wouldn't come
8
    N. they're discussing calls they're discussing details.
9
    This is an in depth discussion.
0
1
              THE COURT:ly Be glad to revisit this one fit's a
1
    substantially cut one but as of now I won't permit
2
1
    {thoym} be {xroopsz} I inned about this win think I {ooe}
3
1
    give inyou all {mrep} ty of ammunition about plenty of
4
1
    other calls I'm no not sure you really need with this
5
1
    one.     Note the hear the recording.
6
1
              MR. MONTEMARANO:     It's be with {r57b} unidentify
7
1
    fed male just where Ms. Martin says she's getting red
8
1
    {doy} {fwi} father and son tour which is Gerald {le}
9
1
    {vert} and the {le} {vert} the {le} {vert} for the fall
0
2
    now this is in mid April of 04 and and this is the --
1
2
    this is the show or the tour for which she pop it had 131
2
    K.
3
2
              MS. JOHNSTON:    Again it's not relevant because
4
2
    agent Sakala admitted she in{ves} {tid} that money with
5
2



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    Gilbert I Williams that $131,000 {sos} there is nothing
1
    to cross examine him about in reference in to that
2
    transaction.
3
            THE COURT:     I won't permit that call.
4
            MR. MONTEMARANO:       The next one I intend to redact
5
    significantly but there's is long discussion of sizes
6
    about hao LaNora is a ten on page 16two {ou} the cost on
7
    some of these items {sglfrjts} {glfrjts} you can play
8
    this recording but you're going have to re{dablingt} it.
9
            MS. JOHNSTON:      Is this call B 3946.
0
1
            MR. MONTEMARANO:       Yes.
1
            MS. JOHNSTON:      The government may object to the
2
1
    redactions depending {o} with on what they are.
3
1
            THE COURT:     You may.       I'm saying it pus too long
4
1
    if you want to redact note the play it you're going have
5
1
    to redact it note the hear the recording {mont} {nont}
6
1
    201 the call 19      {1KW} is much the same kind of thing.            I
7
1
    think they may well be one call continuing the other
8
1
    where it gets cut off.
9
1
            MS. JOHNSTON:      Is this on page 19six.
0
2
            MR. MONTEMARANO:       Yes.
1
2
            THE COURT:
2
            MS. JOHNSTON:      Again Your Honor we'reing {g} to
3
2
    object on the Qume {la} {ti} nature of these calls.
4
2
            THE COURT:     That's whey {ooem} saying.           I think
5
2



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    we're getting cumulative and I'm in{stings} if you're
1
    going the {yitz} at all it has to be redacted otherwise
2
    we will be forever playing --
3
              MR. MONTEMARANO:     Your Honor I wouldn't suggest to
4
    note the {thaer} recording I think there is an argument
5
    that while maybe two points do define a line, it's maybe
6
    more hell helpful if you define more than just two
7
    points.    I have a stretch of about 12 weeks when the wire
8
    is up.    If I can show conversations about calls from the
9
    beginning B 26     the {firs} {ket} day the wire is up
0
1
    through, you know T 30th of May, my {afring} ment is all
1
    the more plausible and that's why I try today do it's 18
2
1
    calls but that barely works out to one a week.
3
1
              THE COURT:   What I am saying {si} recognize that
4
1
    you are on the receiving end of opinion testimony that
5
1
    gives opinions about your client as well as others that
6
1
    they are not engaged in legitimate business {z} when
7
1
    they're dog these {pwis} s concerning tickets and shows
8
1
    and note the {thaer} recording totality of all of the
9
1
    recordings and that this is part or of that universe.
0
2
    All I'm saying is that {doy} want to exercise some gate
1
2
    {kip} er function to not have unnecessarily repetitious
2
    or redundant testimony or when it's a very long call
3
2
    dealing with a multitude offish Shoo issues other than
4
2
    that then I insist that it be redacted.
5
2



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              MR. MONTEMARANO:     I understand that Your Honor.
1
    Just so the court knows write {ooem} coming back from
2
    with the redactions I'm much more likely to {e} note the
3
    {thaer} recording {sglfrjts} {12K3R50EU7B8G9S} {vi} an
4
    open mind on that all I'm saying is some of these have
5
    been so overwhelmingly long {im} not sure we really need
6
    nit any event so call B 3948          about clothing can come in
7
    but I'm requesting redaction {sos} that it's not
8
    excessively long.       Call B 3956 at Page 201 has a star on
9
    it.     Does that mean it's Ms. Ali?
0
1
              MR. MCKNETT:     That's me Your Honor.
1
              THE COURT:     What's tissue on this call?
2
1
              MR. MCKNETT:     Your Honor this is a very short
3
1
    call.     Ms. Ali leaves a message on Ms. Martin's answering
4
1
    machine in which she's talking about fat people clothes
5
1
    like a 16 and and I wanted to get that in because it show
6
1
    ass different legitimate reason for the use to have
7
1
    number 16     which they t detective testified was a drug
8
1
    reference in other contexts {sglfrjts} {sglfrjt} all
9
1
    right I will permit that call.
0
2
              Next call is numb {kher} A 1219          at Page 202.
1
2
              MR. MARTIN:     Yes, Your Honor.      I would like to
2
    preface my remarks by noting that there were over 850
3
2
    contact contacts noted {fwi} government involving leerily
4
2
    reed good win over several phone numbers, that of those
5
2



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    43 calls were actually discussed or put into the
1
    government's log and at this time I'm seeking to have
2
    introduced four calls note the hear the recording I make
3
    that statement Your Honor because I think the last
4
    comment about evidence being cumulative was one that
5
    struck me right here.       I'm not asking for a lot but I am
6
    asking for these four phone calls to show that there was
7
    some discussion about investments and Aretha Franklin
8
    getting sick and them wanting their money back and if the
9
    court -- this is an excerpted call F.
0
1
    the court think this is is cumulative then would note my
1
    objection in not being able to get this in.              It is a
2
1
    lengthy call if the court wants me to redact portions of
3
1
    it; I would understand that.          It does repeat pretty much
4
1
    what was --
5
1
            THE COURT:     Tell me what the purpose of putting
6
1
    this call in is.
7
1
            MR. MARTIN:      Again to show that there was
8
1
    legitimacy.    It's not an excerpted call so I can't make
9
1
    the rule 106 argument with respect to this one and and
0
2
    I'm just pre{em} ting the -- {sglfrjt} {glfrjt} what
1
2
    opinion of Sergeant Sakala is this testing?
2
            MR. MARTIN:      Sorry {sglfrjt} {sglfrjt} what
3
2
    opinion that Sergeant Sakala gave is this testing.
4
2
            MR. MARTIN:      The argument regarding legitimacy and
5
2



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    there being no legitimate business inendeavors on the
1
    part of Mr. Goodwin.       In fact it wasn't jus sat {ka}
2
    {la}.    Also Eveler testified or suggested that there was
3
    an absence of legitimate business on the part of Mr.
4
    Goodwin and I questioned him as to whether he was an
5
    accountant or an auditor and whether or not he had looked
6
    at the stream of {kbing} shore the different businesses
7
    Mr. Goodwin had and he said no.
8
             MS. JOHNSTON:     That is a classic hearsay objection
9
    he's offering it {fo} the truth of the matter that's
0
1
    asserted therein that {ap} participantly Mr. Goodwin had
1
    a legitimate business.        It's not add {miz} {bl} for that
2
1
    purpose it's not add {miz} {bl} photo {e} cross examine
3
1
    agent is {ka} {la}.       He said note the {thaer} recording
4
1
    he said there were calls we played a part of a call in
5
1
    which there that was the first portion to have call.                  He
6
1
    edited it then to a drug conspiracy though arguably a
7
1
    note the {thaer} recording as money of their investment
8
1
    of drug proceeds.      This call does not refute any of agent
9
1
    Sakala's testimony when it comes to the concert business
0
2
    and that they have invested in it as opposed to selling
1
2
    tickets.
2
             THE COURT:    All right.
3
2
             MR. MARTIN:     I'm not going repeat myself Your
4
2
    Honor.
5
2



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              THE COURT:    All right.     ly Not permit this call
1
    {scoment} the next call is page B -- call B 4108 on Page
2
    211.
3
              MR. MARTIN:    We withdraw that one.
4
              THE COURT:    You're withdrawing that.
5
              MR. MARTIN:    Yes, sir.
6
              THE COURT:    Okay.    Green Your Honor we're at
7
    halfway point on these calls if Ms. Johnston is going to
8
    leave can we take a break from the calls.
9
              THE COURT:    What I wanted to ask you is are you
0
1
    able capable of operating on the phone calls without her
1
    here.
2
1
              MS. GREENBERG:     {sinz} since Sergeant Sakala was
3
1
    her witness I would rather her be here.             If the court
4
1
    doesn't want to proceed {o} that way I can do my best.
5
1
              THE COURT:    {ki} grind into the jury instructions
6
1
    in her absence and resume.
7
1
              MS. GREENBERG:     We can do the jury instruction and
8
1
    Mr.     Ward filed a memo relate {toing} testimony tomorrow
9
1
    and if we can take up that time and if we're done by the
0
2
    time she gets back then maybe we can go back to the phone
1
2
    calls.
2
              THE COURT:    I need a break too.        If -- {vom} I
3
2
    finish third-degree phone call?          Let me see.      The next
4
2
    call is on Page 213, call numb we are number B 3134.
5
2



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            MS. GREENBERG:       Your Honor {wooer} about halfway
1
    through I thought that would be a good buoyant to break.
2
            THE COURT:     Why don't we just break for ten
3
    minutes maybeless if you want and Ms. Johnston could be
4
    excused we'll continue.        I will then start the jury
5
    instructions.
6
            MS. GREENBERG:       If we finish with those other
7
    matters Your Honor I'm fine with proceeding with the book
8
    but if we could try deal with those {ut} other matters.
9
            THE COURT:     I really don't want to be here until
0
1
    midnight tonight.
1
            MS. JOHNSTON:      Your Honor I think you were
2
1
    {refrps} ago list that defense counsel gave you with
3
1
    {stars} and numbers on it relating to different
4
1
    attorneys.    {sglfrnlt} {sglfrjts} you don't have that
5
1
    {squlons} {jons} mine didn't have any stars on it never
6
1
    mind {vi} stars okay and the numbers {sglfrjts} {glfrjts}
7
1
    don't want to leave you without any stars.
8
1
                    (Off the record at 3:52 p.m.)
9
1
                    (On the record at 4:05 p.m.)
0
2
            MS. GREENBERG:       Jury instructions, Your Honor?
1
2
            THE COURT:     I want you to know that I have
2
    scheduled a 5:30 conference call in a case that may go up
3
2
    in smoke.    If it doesn't go up in smoke I will have to go
4
2
    off the bench for a few minutes and come back on it's a
5
2



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    very brief conference call on a criminal case.
1
    {sglfrjts} {1K3R50EU7B89S} counsel what I was looking
2
    for.   I my deputy is not here but I believe I asked her
3
    to docket as court draft jury {ip} struck shun what was
4
    handed out to you.       If it hasn't been done, I will do so
5
    so that the record of this proceeding will make some
6
    sense, but what I have requested be done is to provide to
7
    you my current version of the transcript.              Now, -- of the
8
    instructions.     Now, what I did was to take the
9
    government's draft instructions that it gave which was
0
1
    what they proposed to do which was in a not unsubstantial
1
    part based upon what I did in the earlier trial of the
2
1
    first group of defendants in this case so there was
3
1
    something familiar to what I was {25BG} ing at.
4
1
    I then went through it one page at a time and made my
5
1
    {suing} suggested {ed} its {toyt}.           There are some open
6
1
    items that I need to discuss with you, but this is the
7
1
    document that I'm proceeding with and will be giving to
8
1
    my secretary to put into final form before being given to
9
1
    the jury.    There are some instruct {shub} s that are not
0
2
    in this set.     Among themly be {gi} ing them the jury form
1
2
    and explaining it to them orally.           Other than
2
    housekeeping matters of, you know, where they're supposed
3
2
    to be {dur} ing the day and the night, this is complete.
4
2
    So, what I want you to know is that I have not included
5
2



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    in here the form instruction 9-10 a {lez} er included
1
    offense which I will be grad glad to hear from.               I have
2
    in front of me some notes of addition {l} things I want
3
    to {wfd} to them to the instructions in the appropriate
4
    place.
5
    One is something indicating to them that they should not
6
    be -- they should not expect to press a butt button and
7
    have a transcript of witnesses.          We don't do that.        And
8
    secondly I have a note to make a possible limiting
9
    instruction about the summary charts.            Now {vi} also in
0
1
    front of me a letter from the government dated July 24
1
    asking me they not delete something I deleted and we'll
2
1
    get to that when we get to that page.            I also have in
3
1
    front of me from Mr.       {sus} {sus} man a proposal for
4
1
    several change toss the instructions and I will take them
5
1
    up as I get to them as I go through tin struck shuns.
6
1
    Now are there any other documents pertaining to the
7
1
    question of the instructions that I have not mentioned in
8
1
    t?   I obviously have all of the documents that led up to
9
1
    the earlier submission but I do not have any additional
0
2
    materials from anyone else; am I correct?
1
2
             MR. HALL:    Your Honor, there had been -- Mr.
2
    {susz} man I {pwhrooe} in believe in his request to the
3
2
    court had sent the court a multiple conspiracy
4
2
    instruction and I had also sent.
5
2



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            THE COURT:     I have that.
1
            MR. HALL:     Okay.     I just wanted to make sure
2
    because hi also sent a multiple cob spear {si}
3
    instruction I actually like Mr.          {susz} man's better.
4
            THE COURT:     You have as well.
5
            MR. HALL:     Yes.     I sent it to your clerk about a
6
    week ago.
7
            THE COURT:     I'll have to look for it.           We'll
8
    locate it.
9
            MS. GREENBERG:        Your Honor Mr.      Hall's just
0
1
    basically recite it is sand.
1
            MR. HALL:     Yes mine was taken directly from sand,
2
1
    Your Honor.
3
1
            THE COURT:     All right.      Mr.    Martin.
4
1
            MR. MARTIN:      Sir, I did not work on this case this
5
1
    weekend like my brother did I was working on something
6
1
    else but something did occur to me that I should have
7
1
    submitted to the court.        Fourth circuit is now
8
1
    considering the argument of what exactly constitutes
9
1
    crack which is the Brisbane case in the District of
0
2
    Columbia.     I would expect that any day now they will
1
2
    render a decision on that.
2
            THE COURT:     The fourth circuit?
3
2
            MR. MARTIN:      The fourth circuit, yeah.          I happen
4
2
    to know that case was argued in March and I've made much
5
2



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    a do during the course of this trial regarding the
1
    absence of testing of sodium bicar {pwont} ate or the
2
    absence of testimony alleging that the absence of the
3
    crack was smoke {bl} note the {thaer} recording in
4
    deciding whether or not Mr. Goodwin distributed crack
5
    cocaine on November 25, 2 thousand 3 and and anybody else
6
    who wants to join in on this that they have to first
7
    {dperm} that it was in fact crack and not some other form
8
    cocaine base.
9
            THE COURT:      That's the Brisbane case that's under
0
1
    advisement.
1
            MR. MARTIN:      United States versus Brisbane is the
2
1
    D. C. case.
3
1
            THE COURT:      What's the counter part in the fourth
4
1
    circuit.
5
1
            MR. MARTIN:      The {fout} circuit case is C A S T I
6
1
    L L O-R A M O S note {witz} United States versus {ka}
7
1
    still {ro} yo ram os and no decision yet has been base
8
1
    made on {ka} still yo ROM ram os.
9
1
            THE COURT:      I was making take ago look to see if
0
2
    this was decide today day note the hear recording {graen}
1
2
    green groan Your Honor I'ming {g} to object tote note to
2
    that are hear the recording {fwi} case law {fwi}
3
2
    standpoint and through numerous draft {ofs} jury din you
4
2
    can in{stlung} s.
5
2



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            THE COURT:      I'm incline today agree with you andly
1
    take a look at these cases whey intend to do is go
2
    through these in{stlung} {sos} let's start with -- I
3
    don't know why it start {ws} Page two but it start {ws}
4
    Page two.    All right.      {doy} not to have a conference
5
    call at note {witz} 5:30 so I'm a free man.               The
6
    in{stlung} s begin on Page two so I'm going to go through
7
    each Page one at a time, if you have a problem with
8
    anything on that page you need to let me know.                  Becausely
9
    be making {ed} its manual oily on the {painl} s as we go.
0
1
    Page two.    What I intend to do when I put these in final
1
    form is to delete the instruction numbers as well as the
2
1
    instruction headings so lit read like a novel.                  No.
3
1
            MR. MONTEMARANO:        {apd} citations {sglfrjts}
4
1
    {sglnt} and citations.        All of those will be removed.
5
1
            MR. WARD:      I'm sorry that will be just for the
6
1
    jury's benefit the one that goes into the jury.
7
1
            THE COURT:      The that the one that goes in to the
8
1
    jury will have no cry {taiing} s no headings headings no
9
1
    nothing {ar}.
0
2
            MR. WARD:      {Ta} one we have will have the jury
1
2
    numbers.
2
            THE COURT:      The one you have in {nnt} {frnt} of
3
2
    you.
4
2
            MR. WARD:      So we can {k5eb9} {sglfrjts} {sglfrn}
5
2



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    yes I am not going make a further version.              What you have
1
    in front of you is what the version I will work off you
2
    have of to make my final {ed} its and I will grind it
3
    through in a pristine, clean, form.            So.
4
            MR. WARD:      Okay sir thank you.
5
            THE COURT:      {snou} the time to tell me shotgun was
6
    something was wrong with it {moort} mart I don't know
7
    that something is wrong but it says I was looking at the
8
    last line it says I ask you to care give me that same
9
    careful {u} attention now as give you my instructions on
0
1
    the law I would have left it as I ask you to give me that
1
    same careful attention now, as I instruct you full stop.
2
1
            THE COURT:      That's just the way I'm going to do
3
1
    it.   That's {oo} a style thing and that's the way I'm
4
1
    going to do it.
5
1
            All right.      Page four.      These are all style
6
1
    {khaij} changes to sand {wr567bd} {sif} {fert} that I jus
7
1
    {t} made for style purposes.
8
1
            MR. HALL:      No objections Your Honor.
9
1
            THE COURT:      Page five.      If I don't hear an
0
2
    objection I'm moving on.         Page five?     I had a request on
1
2
    it's -- I {gez} it's in a later instruction to put in if
2
    a witness agree {ws} a the assertion made in the note the
3
2
    hear the recording I guess we will get to that later.
4
2
            MR. HALL:      Your Honor yeah that was one of Mr.
5
2



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    {susz} man's and I believe that doesn't come into play
1
    until in{stribing} shun 14.
2
             THE COURT:ly Come back to that when we get to it.
3
    Page six.
4
             MR. WARD:     Yes Your Honor.       I oh I'm sorry you do
5
    count stipulations {sglfrjts} {sglfrjt} yeah I cleaned
6
    this up and made it clear.
7
             MR. WARD:     I was looking at the part that you had
8
    circled at the top the evidence consists of the answers,
9
    the testimony, the exhibits and I had written in and the
0
1
    stipulation pus but I see you covered that you {ko} that
1
    below {sglfrjts} {sglfrjt} yes, yes I do.
2
1
             MR. WARD:     Thank you {sglchblingts} {sglfrjts}
3
1
    that's why I didn't like the way it was written soy fixed
4
1
    it so it covers everything.
5
1
             All right.     Page seven.      Page eight.      The first
6
1
    paragraph was redun {dant}.          Page nine.     Page ten.      Page
7
1
    11.   Page 12.
8
1
             MR. HALL:     No changes on 12.
9
1
             THE COURT:     None.    No.    Page 13.     Page.    Page 15.
0
2
    {ard}.
1
2
             MR. WARD:     Excuse me judge.       I'm sorry.      In
2
    relation to Number ten, I think a numb we are number of
3
2
    us asked for.
4
2
             THE COURT:     What page number.
5
2



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              MR. WARD:     1314.   A number of us had asked for the
1
    definition of reasonable doubt and I think Your Honor had
2
    denied that.
3
              THE COURT:     Yes.
4
              MR. HALL:     He declined to do that.
5
              THE COURT:     I think it would be an {hooe} heroic
6
    matter for me in the fourth circuit to define reasonable
7
    doubt in tab sense of a request from the jury and I think
8
    they've repeatedly.
9
              MR. WARD:     I {whawns} the 40 circuit has said.
0
1
              THE COURT:     They have rerepeatedly and author
1
    {tai} tively instructed the judges in this circuit not
2
1
    the give a aen instrung in{stlung} of reasonable doubt
3
1
    unless the jury asks for it.
4
1
              MR. MARTIN:     That doesn't preclude us from arguing
5
1
    reasonable doubt.
6
1
              THE COURT:     {yu} may argue to jury reasonable
7
1
    doubt.
8
1
              MR. MARTIN:     Can we give us examples {sglfrjts}
9
1
    {sglchblingt} I am not going to rule on that question
0
2
    now.     I think you certainly can say the judge's
1
2
    in{stlung} says reasonable doubt.            I don't think you can
2
    try to define it.       Beyond {whooif} done.         Consistent with
3
2
    the {fout} circuit law.         All right.     Anything on Page 13?
4
2
    14?    15.   By the way, this one I have -- this is a
5
2



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    modified sand and {sif} {fert} instruction that assumes
1
    that you're in a courtroom with the curtains being drawn
2
    and I rewrote it because I'm usualfully two A which has
3
    no windows but there really are windows in this
4
    courtroom.     Can you from where {yu} ear sitting see if
5
    it's raining?
6
              MS. GREENBERG:     No.
7
              MR. HALL:    You can only tell maybe {ket}'s cloudy
8
    or not.
9
              THE COURT:    Well, I will then change this
0
1
    instruction a little bit the say as you know, this
1
    courtroom has few windows and ewe you cannot look outside
2
1
    to see whether it's raining.          Okay?    Unless you've got
3
1
    better vision than I do.         I have to adjust this
4
1
    instruction depending on the courtroom.             All right so
5
1
    that's what I'm going to do to this instruction is the
6
1
    last line on this page on Page 15 will say, windows and
7
1
    you cannot look outside to see whether or not sit raining
8
1
    {tand} {prooe} {yous} line I'm going change no to few.
9
1
    I'll say only a few.
0
2
              MR. MCKNETT:down I don't want to interrupt.              On
1
2
    page 16.     That statement is already in there the top of
2
    the second paragraph.        {sglfrjts} {sglfrj} oh, yeah.
3
2
    Green {r57b} Your Honor why don't you say you notice this
4
2
    courtroom has no windows sort of like a skylight above me
5
2



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    and you can't look outside to see if it's raining.
1
              THE COURT:    I think the easiest thing to do is
2
    just delete the last sentence on Page 15 then I think it
3
    works.
4
              MS. GREENBERG:     Yep.
5
              THE COURT:    I'm just going to delete it.           Anything
6
    to make these instructions shorter.
7
              MR. MARTIN:     {quha} are.
8
              MR. MONTEMARANO:      What are you deleting Your
9
    Honor.
0
1
              THE COURT:    I'm deleting the last sentence on Page
1
    15 that talks about us not having no windows in this
2
1
    courtroom then the standard sent innocence the second
3
1
    paragraph -- first sentence of the second paragraph of
4
1
    page 16    works.    You can't tell whether it's raining.
5
1
    Mitch {r57b} shouldn't it be courtroom instead of
6
1
    courthouse?     {sfwhrchblingts} {sglfrjts} it says
7
1
    courtroom.     Mitch at the bottom of Page 15.
8
1
              THE COURT:    No, that's deleted.        Mitch you said
9
1
    the last sentence.
0
2
              MR. MARTIN:     The last sent sense deleted.
1
2
              THE COURT:    The last sentence Mitch the second to
2
    the last sentence.
3
2
              THE COURT:    Excuse me.
4
2
              MR. MITCHELL:     The second to the lass s sent a
5
2



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    last sentence assume that you came into the courthouse.
1
            THE COURT:      That's fine.      That's correct.       Mitch
2
    there are windows in the courthouse but there is none in
3
    the courtroom {sglfshtion} {sglfshtion} {whren} you came
4
    into the courthouse I E when {yu} you were outside the
5
    courthouse it was a sunny day.           That {oo} make that
6
    assumption {moych}.
7
            MR. MITCHELL:       Never mind.
8
            THE COURT:      Page 16     no changes.      Page 17.
9
            MR. HALL:      No {sglfrjts} {sglfrjt} page 18?
0
1
            MR. HALL:      No {sglfrjts} {sglfrj} page 19?
1
            THE COURT:      All right now Page 20 where I have a
2
1
    request to change in{25BG} shun 14 received from Mr.
3
1
    {susz} man.
4
1
            MR. HALL:      Yes, Your Honor.       What Mr.     {susz} man
5
1
    was requesting is that the court insert prior to the last
6
1
    sentence the following language.           However if a witness
7
1
    agrees with the assertion contained in the question you
8
1
    may accept the statement as true, and I suspect probably
9
1
    there were instance where is questions were placed that
0
2
    way to a witness, particularly possibly some of the
1
2
    individuals who testified as a an expert but probably
2
    also in other instances and certainly if you postulate
3
2
    something to the witness and he says, yes, in -- by
4
2
    meaning that yes he agrees with that proposition then I
5
2



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    would suggest that that does make it true and that would
1
    be an appropriate addition for that.             {12K3R50EU7B8G9S}
2
    {sglfrjts} all right.        And a slightly in a slightly
3
    modified version I will put in the following language at
4
    the end to have first full paragraph of jury instruction
5
    Number 14 appearing on Page 20.
6
    And you will hear as you hear me read it to you they've
7
    made some nonsubstantive changes but these changes are to
8
    make it more consistent with the sentence structure I've
9
    used in the {staim} same in{stlung}.             However if a
0
1
    witness agrees with a statement contain inside a question
1
    you may accept the statement as true.             Okay?
2
1
            MR. HALL:      That's fine {sglfrjts} {sglfrjt}
3
1
    anything else on Page 20?         21?    Two.
4
1
            MR. WARD:      I'm sorry {sglfrjts} {glfrjts} these
5
1
    are page numbers.
6
1
            MR. MARTIN:      21 Your Honor I'm sorry.          I was still
7
1
    writing.    I thought it should -- let me read this to make
8
1
    sure I don't make a fuel of myself.             The parties have
9
1
    offered evidence in the form of recording -- presently it
0
2
    says the government and I suspect that we will be
1
2
    offering recordings later on.           So perhaps writ says
2
    government that should be changed throughout to parties
3
2
    and then of course a verb would have {to} the verb {woul}
4
2
    have to agree.
5
2



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            THE COURT:
1
            MS. GREENBERG:       Your Honor the only issue with
2
    that is if they are not introduced as sub {stan} {ti}
3
    evidence.
4
            THE COURT:      I think what I need to do is to leave
5
    this instruct {shub} the way it is but put a strike that
6
    separate instruction that deals with the recordings
7
    played by the defense.
8
            MR. WARD:      Your Honor with all due respect I don't
9
    see {whri} you can't simply say what Mr.              Martin {sez}
0
1
    said.   I don't think it needs to be a distinction between
1
    one or the other.       Simply the parties have offered
2
1
    evidence and.
3
1
            THE COURT:      Well, because there's very, very
4
1
    different purposes for which the recordings have been
5
1
    admitted depending on which side is doing it.               The
6
1
    recordings as offered by the government are viewed by
7
1
    them and were admitted as being statements made by
8
1
    coconspirators during and in furtherance of the
9
1
    conspiracy.
0
2
            MR. WARD:      I see what the court means.
1
2
            THE COURT:      And the portions that {vi} permitted
2
    the government -- the defense to require that
3
2
    government's expert witness to play for cross-examination
4
2
    have been admitted for very different purpose with the
5
2



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    limiting instruction that I will give and essentially
1
    repeat at this point so whey {ooem} going to do is make a
2
    note here to have this provision on recordings and
3
    transcripts followed by a new instruction that will
4
    embody whatly put in in a limiting instruction that will
5
    be given during the further cross-examination of Sergeant
6
    Sakala.
7
              MS. GREENBERG:     Your Honor will the court allow us
8
    to review that final instruction.
9
              THE COURT:    Certainly.      What I intend to do is
0
1
    after this session today is I will do these {ed} {ed} its
1
    it will probably take me another day to get some of the
2
1
    new materials down done and into it and give it to you
3
1
    again and when I give it to you againly probably not take
4
1
    the headings out until it's right before it goes to the
5
1
    jury.     The last deletion of all the headings and
6
1
    citations will be at the last part but {u} what I will do
7
1
    will bally add a new instruction here with the combine
8
1
    {wd} the limiting instruction that I give that explains
9
1
    these additional recordings.
0
2
              MR. MARTIN:    Very well Your Honor.
1
2
              MS. GREENBERG:     Your Honor, does the court want to
2
    hear anymore ton government's request that that language
3
2
    come back in or has the court --
4
2
              THE COURT:    Yes, I do.      This is where you.
5
2



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             MS. GREENBERG:      Yes Your Honor there were two
1
    types.
2
             THE COURT:     The reason {vi} taken that out and
3
    maybe I was premature in taking it out.             I just put in
4
    lawful lawfully because I {thut} that note {witz} because
5
    I thought that there were some circumstances that that
6
    did not encompass,
7
             MS. GREENBERG:      Your Honor there were two types of
8
    calls introduced in this case.           One where r were the
9
    Nathan king transcripts were which were consensual based
0
1
    on him calling from the jail and there's a sign up next
1
    to the phone saying that, you know, by you know being
2
1
    here and using this phone you're consent {toing} the
3
1
    interception of these calls and the second part was that
4
1
    wiretap order by this court -- by a {2K5EBG9} judge
5
1
    authorizing the wiretap.         So there with are two different
6
1
    types and I think standard instruction highlights that
7
1
    both types of procedures were lawful {soyt}'s not one or
8
1
    the other.
9
1
             MR. WARD:     Your Honor I don't recall any testimony
0
2
    about there {gsh} by anyone qualified to make such a
1
2
    statement that beside each telephone in the jail is a
2
    plaque which says such and such and such and such about
3
2
    the calls be being consensual.
4
2
    I think that's just unnecessary to get into I think if
5
2



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    you say lawfully obtained that's sufficient.
1
            MR. MARTIN:      Your Honor I still think it would be
2
    ease {yur} easier just to change government to parties
3
    and make sure the verb follows.
4
            THE COURT:      No I'm not going to do that.           It would
5
    be way too complicated to do it that way and as I said
6
    these calls are in as direct evidence of statements made
7
    by coconspirators during and in furtherance of the
8
    conspiracy and the other matters are coming in to {tes}
9
    {tt} opinion of the expert.          All right.
0
1
            MS. GREENBERG:        Your Honor whether {ket} there was
1
    any specific testimony by Nathan king simply doesn't
2
1
    matter the court had admitted those calls based upon {em}
3
1
    {o} en them being note the {thaer} recording the party
4
1
    getting authorization from the court.             I'd like to fin
5
1
    {ib} Mr.    Ward before you can interrupt me again and
6
1
    that's why the form instruction submitted to the court
7
1
    makes sense because it differentiates between the two
8
1
    types of calls the court has rued them admissible they
9
1
    were may played before the court jury and this in{stlung}
0
2
    merely inform it is jury of that fact.             Thank you.
1
2
            THE COURT:      Mr.    Ward.
2
            MR. WARD:      Why does the jury need to know there is
3
2
    basis for one.
4
2
            THE COURT:      Mr.    Ward don't snatch defeat from the
5
2



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    jaws of victory.
1
            MR. WARD:      Huh.
2
            THE COURT:      I'm not going change it.
3
            MR. WARD:      Good {sglfrjts} {sglfrjt} I thought
4
    lawfully did the job quite nicely it didn't have the to
5
    make {shem} figure out whether it was consent or that a
6
    judge ordered it.       That's whey {ooem} going do.           ly Not
7
    go the do the government requested change on that one.
8
    Anything further on Page 22?          This is wherely be adding
9
    an instruction about the recordings that came in on
0
1
    cross-examination.       {ting} on 23?       24?   I took
1
    instruction 18      on Page 24 out because I believed it was
2
1
    redun {tant} {dant} and it was covered by the earlier
3
1
    instructions that said this was done lawfully.                Page 25?
4
1
    And this is where I added the instruction from stand sand
5
1
    and {sif} {fert} Number 4-3 about who calls more
6
1
    witnesses and so forth.
7
1
    That was a request from the defense that I ass seeded to
8
1
    and that's where it will appear lit be appear in right in
9
1
    front of jury instruction 20 on Page 25.              All right?
0
2
    Anything further on page 26?
1
2
            MR. HALL:      Yes, Your Honor.       Reference to page 26,
2
    jury instruction Number 21, there is an issue about one
3
2
    particular chart that the court has indicated that the
4
2
    government may use in closing but has never been
5
2



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    admitted.    It's the one that involves the manage wall
1
    drug transactions and my suggestion is that there should
2
    be something in this instruction that differentiates
3
    between charts which have actually been admitted.
4
            MR. WARD:      Well, there is.
5
            MR. HALL:      And charts that are used in the -- that
6
    will be used in closing argument.            Ward war Your Honor,
7
    there is.
8
            THE COURT:      What I will codo isly add on page 27
9
    where this instruction ends add about argument charts are
0
1
    not evidence.
1
            MR. WARD:      Your Honor, there are -- there is a
2
1
    separate instruction in sand and {sif} {fert} 513 which
3
1
    talks about charts are not admitted in addition to 5-12.
4
1
            THE COURT:      Let me take a look at 5-13.
5
1
            MS. GREENBERG:       Your Honor it doesn't make sense
6
1
    in light of the objection.         I'm looking at 5-13 and and
7
1
    it really -- what the court is suggesting putting a
8
1
    sentence in there makes much more sense in light of the
9
1
    objection.
0
2
            MR. MONTEMARANO:        Perhaps an easier way for
1
2
    members of the jury {quho} are not lawyer {ss} to point
2
    tout touts that are in {efs} they will be able to take
3
2
    back to the jury room and the other others are just {dem}
4
2
    {ons} {tra} tive.
5
2



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            THE COURT:      No.   I think the what I propose to do
1
    is more appropriate because this is dealing with the
2
    charts and summaries that were admitted as evidence and
3
    I'm going to tell them if it's there and it's {gt} an
4
    exhibit tag on it it's evidence like any other but if
5
    it's done in the form of a summary and so forth {awnd}
6
    then {ki} tell them you may also have people during {coz}
7
    closing argument put occupy their own charts they may
8
    have a a power point they may put up liar, cheat and so
9
    forth on these charts I'm not going it that way but --
0
1
    and these are {ooring} ment argument an these are not
1
    evidence and you should not consider them as evidence.
2
1
    {mont} {mnt} Page 25 before the reference Mr.               Hall made
3
1
    instruction 6-7 {sglfrjt} {sglfrjt} wait a minute Page
4
1
    25.
5
1
            MR. MONTEMARANO:        26, rather.      I'm sorry.
6
1
            THE COURT:      Page 26.     What's your question?
7
1
            MR. MONTEMARANO:        The instruction 6-7 that you're
8
1
    inserting there {sglfrjt} {sglfrjt} right.
9
1
            MR. MONTEMARANO:        I'd like to sick discus that I
0
2
    would respectfully submit we did not have an equal
1
2
    opportunity had or lack of opportunity to call witness.
2
    In particular I had considered calling George Harris
3
2
    and/or mill burn walker.         I was told by their counsel
4
2
    that they would not waive their self--- rights against
5
2



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    self-incrimination which still attach until such time as
1
    hay they are September {ens} ed.           The government could
2
    have required these people to waive such as part of plea
3
    agreements they could have undertaken cooperation
4
    agreements we could not have offer {themd} plea
5
    agreements with they were not cooperation or did not
6
    subsume some sort of waiver of whatever privilege may or
7
    may still attach after they took a plea of guilty {fon}
8
    eve of trial.      I submit that the discussion of these with
9
    suggesting an equal opportunity on the part or the of the
0
1
    parties is simply not accurate does not reflect the state
1
    of the law.
2
1
            MS. GREENBERG:       Your Honor I also had an argument
3
1
    on that instruction.
4
1
            THE COURT:      Please.
5
1
            MS. GREENBERG:       I think this instruction is
6
1
    necessary especially in light of Mr.            {mont} ma {ra} {mo}
7
1
    no's opening argue {rment} and his statements {dur} ing
8
1
    the course of the trial but most specifically his open
9
1
    argument when he said where is John Martin?               I didn't
0
2
    notice inunill {te} were going but through this in their
1
2
    closing arguments because {the} he specifically said
2
    where is John mart {snin} John Martin as the court knows
3
2
    was a coconspirator in the this case live {wd} Paulette
4
2
    Martin and is serving a sentence based on his partition
5
2



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    {paition} in this con {xooer} to suggest that the
1
    government had access to Mr.          Martin and somehow would
2
    could have you know called Mr.           Martin at trial in light
3
    of his.
4
              MR. MONTEMARANO:       I didn't {sthaichlt}.
5
              MS. GREENBERG:      Current appeal appeal make this is
6
    instruction incredibly important, incredibly relevant and
7
    I think it should say and one or more of the attorneys
8
    has referred instead of in their closing arguments
9
    because Mr.     Martin has already been referred to.
0
1
              MR. MONTEMARANO:       With all due respect I did not
1
    suggest the government failed to call him.              Pointed the
2
1
    finger at him as the more important and more prominent
3
1
    drug dealer.     He was after all in the gentleman with the
4
1
    50 odd pounds of wrappers or wrappers or 50 odd pounds of
5
1
    cocaine in his backseat back in 2004.             I'm more than
6
1
    happy to confront the government on what I did say I
7
1
    prefer not on what I didn't say.
8
1
              THE COURT:    Mr.     {mont} ma are no it seems to me
9
1
    that this is an appropriate instruction based upon what's
0
2
    taken place in your opening statement and it's I given it
1
2
    before.    I don't see any problem with this instruction.
2
              MR. MONTEMARANO:       Thank you Your Honor.
3
2
              THE COURT:    Okay?
4
2
              MS. GREENBERG:      Your Honor are you {dwoing} to
5
2



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    keep it in may in closing argument refer or has referred?
1
    Has refer or may refer?
2
            MR. MONTEMARANO:        Are you instructing before
3
    closing.
4
            THE COURT:      I'm in{strublingt} ing before closing.
5
            MS. GREENBERG:       Yes but Your Honor whey {ooem}
6
    referring to here is that one or more of the attorneys if
7
    you say may {p} in closing {ring} ing argument remay
8
    refer to the absence from the trial certainly a lot of
9
    these people have already been referred to.
0
1
            THE COURT:      No I'm going leave tit way it is.              I
1
    don't want to do this on a manual on how the interpret
2
1
    opening statement this is is about closing argument andly
3
1
    leave it that way.       All right.      Note {witz} page 27.
4
1
            MR. HALL:      Yes Your Honor in reference to jury
5
1
    instruction number 22 and and I think this is contain
6
1
    inside Mr.     {suz} man {smusz} man's {susz} man's request
7
1
    of jury instructions that hi sent to court I think what
8
1
    he's looking for there is something a little more deaf
9
1
    intive in that the proposal for the first sentence that
0
2
    he sent indicates that every defendant has an absolute
1
2
    right not to testify which of course is the correct
2
    statement of the law.        Of course everyone also has a
3
2
    absolute right to testify if they want and I believe the
4
2
    feeling was that the first sentence of jury instruction
5
2



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    Number 22 is maybe not quite as deaf intive that it's an
1
    absolute right not the testify or to testify.
2
            MS. GREENBERG:       No objection Your Honor.
3
            THE COURT:      Wait a minute.       Neat {net}.
4
            MR. MCKNETT:       Your Honor, {fi} I may I just follow
5
    up.
6
            THE COURT:      Shouldn't we I there's another
7
    instruction that deals with this too.             If I'm going to
8
    change that first sentence.
9
            MR. HALL:      Your Honor may I make a suggestion.
0
1
            THE COURT:      Yeah.
1
            MR. HALL:      Looking at {quha} Mr.         {susz} man put
2
1
    in his motion and put in the inputting the in{stlung}
3
1
    next to it, you could say this.           In a criminal case every
4
1
    defendant has an absolute right not to testify.                You must
5
1
    not draw any inference of guilt against any defendant
6
1
    because he or she did not testify and then go to every
7
1
    defendant has an absolute {deingt} -- {sglfrjts} {glfrjt}
8
1
    I think this's better.
9
1
            MR. HALL:      To testify.
0
2
            THE COURT:      Let's go back through a again in a
1
2
    criminal case -- go back to what you just said.
2
            MR. HALL:      Your Honor, you could begin with
3
2
    {thchlt} every defendant has an absolute right not to
4
2
    testify {yooen}.
5
2



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            MS. GREENBERG:         Starting with in a criminal case?
1
            MR. HALL:      Yeah.
2
            THE COURT:      In a criminal case,
3
            MR. HALL:      Every defendant has an absolute right
4
    not the testify.
5
            THE COURT:      Wait a minute.       Let me -- okay.
6
            MR. HALL:      You must not draw any inference of
7
    guilt against any defendant because he or she chose not
8
    the testify.     And {12K3R50EU7B8G9S} {sglfrjts} and then
9
    you just pick up if he or she does testify.
0
1
            MR. HALL:      Yes or you could add also conversely
1
    every defendant has an absolute right to testify if they
2
1
    choose to and then continue with that sentence.
3
1
            MS. GREENBERG:         Your Honor I think it makes more
4
1
    sense just to go with if he or she testifies.
5
1
            MR. HALL:      That's fine too green {groon} and knock
6
1
    out a defendant cannot be require today testify.
7
1
            MR. HALL:      {vi} no problem with that Your Honor.
8
1
            THE COURT:      The way I've got it now is {EF} in a
9
1
    criminal case, every defendant has an absolute right not
0
2
    the testify.     You may not draw any adverse inference
1
2
    against any defendant because he or she did not testify.
2
    If he or she testifies, he or she is of course permitted
3
2
    to take the witness stand and testify on her own behalf
4
2
    in this case -- I should say if -- why don't I just say
5
2



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    {hr} {o} is permitted to take the witness {tand} stand
1
    and testify just go right straight into it like that.
2
            MR. HALL:      Yes.    Yes, I think you should cut out
3
    the couple of words there {sglfrjts} {glfrjts} the whole
4
    thing will now read until I stop the part that's edited
5
    edited will be as follows.         {ef} in every criminal case
6
    -- in a criminal case, every defendant has an absolute
7
    right not the testify.         You may not draw any adverse
8
    inference against any defendant because he or she did not
9
    testify.    He or she is of course permitted to take the
0
1
    witness stand on his or Hen note wit {uz} his or her own
1
    behalf and the {res} is the unchanged ha {l} hall go on
2
1
    from there.
3
1
            THE COURT:      Everybody agree with that.
4
1
            MS. GREENBERG:        Your Honor I'm fine with that just
5
1
    {o} to because Mr.       {susz} man is not here I know Mr.
6
1
    Hall is covering for him.         He said you must not draw any
7
1
    inference the court change that had to you may not draw
8
1
    any inference and he h had of guilt after inference and
9
1
    the court took that out.         I {juts} {t}.
0
2
            THE COURT:      I said any adverse inference would be
1
2
    broader than guilt.
2
            MR. HALL:      I think the word muss is the probably
3
2
    more important {sglfrjt} {sglchblingt} {ki} put must too.
4
2
    I kind of like aided.         You must not.     All right.      Mr.
5
2



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    {susz} man's presence is being felt as we speak.
1
              All right.     I will put in must.
2
              Anything else?     By the way this language is being
3
    moved to Page 33 as you see.          Mall hall I understand
4
    that.
5
              THE COURT:     Page 23 note wit {u} page 28.           29.
6
    30.     31.   32.    33 I have a comment from Mr.         {susz} man
7
    on this one.        First of all let me -- this is where the
8
    language on the testify {ting} defendant comes in being
9
    moved here from page 27.         On to Page two note {witz} Page
0
1
    33.     Then on this page Mr.      {susz} man would like to add
1
    at the end of the instruction which appears on page.
2
1
              MR. HALL:     It would be on page 37, very end.
3
1
              THE COURT:     Page 37    at the end any objection from
4
1
    the government to add that language?            Mr.    {susz} man
5
1
    proposes to add at the end of the last sentence of that
6
1
    instruction appearing on page 37           the language and the
7
1
    unique facts and circumstances of his or her own case.
8
1
              MS. GREENBERG:     Your Honor I really don't think
9
1
    it's necessary the court has modify it had sand version
0
2
    to make it complete as to these elements, but this is not
1
2
    language from sand and I think that just saying it's a
2
    personal decision is -- covers the ball field.                 Mart
3
2
    {ket} which instruction is this Your Honor?               27    note wit
4
2
    {uz} is it 26.
5
2



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            MS. GREENBERG:       The end of 25.
1
            THE COURT:      End of 25.
2
            MR. MITCHELL:       Page 37.
3
            THE COURT:      I can add this.       {doynt} mind this.
4
    Mr.   {susz} man is doing pretty well not being here.
5
            MR. HALL:      Yes he is.
6
            MS. GREENBERG:       Your Honor, maybe I should leave.
7
            THE COURT:      Did we have any female people
8
    testifying?
9
            MS. GREENBERG:       Ms. Dobie.
0
1
            MR. MARTIN:      Yeah.    Cynthia wine stock {sglfrjt}
1
    {sglfrjt} no.      This is discussing though a sol hall
2
1
    you're talking about a coconspirator {sglfrjts} {sglfrjt}
3
1
    this is coconspirators.         I don't know if being gender
4
1
    neutral on this one is right.          This is talking about how
5
1
    to deal with people who have made plea agreements.                 Green
6
1
    I don't think we had any female cooperators {sglfrjts}
7
1
    {sglfrjt} I don't think you had any female people plead
8
1
    so I will jus {t} say of his case -- his own case.                 All
9
1
    right the language I'm adding is on the top of page 37
0
2
    at the end of instruction 25 is and the unique facts and
1
2
    circumstances of his own case, period.             All right?      As
2
    you see I'm inserting instruction 7-14 on government
3
2
    informers here as modified by me.
4
2
    Anything else on page 37?         All right.      Page sol?
5
2



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            MR. MCKNETT:       Your Honor can we come back to 7-14?
1
            THE COURT:      What page?
2
            MR. MCKNETT:       The insert.
3
            THE COURT:      What page?      Oh, okay.     All right.
4
            MR. MCKNETT:       I feel very strongly that the
5
    portion the court has left out at the end should be kept
6
    in.
7
            MR. MONTEMARANO:        Excised.     That's the whole
8
    {graif} man to tin struck shun Your Honor.
9
            THE COURT:      Which informer testified?
0
1
            MR. MONTEMARANO:        Etch char {tai}, Encarnacion,
1
    Nathan king,
2
1
            MS. GREENBERG:       Yes, your Honor they were
3
1
    cooperating individuals they weren't informants
4
1
    {sglfrjts} {glfrjts} this is dealing basically what's his
5
1
    name the guy with leerily good win's arrest?
6
1
            MR. MARTIN:      Rain {ard} {dor} {si}.
7
1
            THE COURT:      This is really addressing rain {ard}
8
1
    {dor} {si}.
9
1
            MR. WARD:      On insert of 7-14 {sglfrjt} {sglfrnl}
0
2
    yeah it follows immediately after page 37              in your copy
1
2
    Mr.   Ward.
2
            MR. WARD:      Yes, sir.
3
2
            THE COURT:      I believe that the language deleted
4
2
    was appropriate because no informer testified.                Well who
5
2



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    did testify were people who were cocon spear {ter} s or
1
    in this conspiracy who pled guilty medical report medical
2
    report Court.
3
             MR. MONTEMARANO:       Court's indulgence.        Is there an
4
    instruction dealing with cooperators.
5
             THE COURT:     Yeah the {prooef} {yous} one green
6
    {graen} the one that we had with {lang} language put {ap}
7
    a a {t} a the end.       Instruction Number 25.
8
             THE COURT:     It's the lengthy instruction that
9
    begins on Page 33, Mr. Montemarano.
0
1
             MS. GREENBERG:      Goes for like four or fife pages.
1
             MR. MONTEMARANO:       Oh, okay.     Well, then I think
2
1
    the redaction is correct, Your Honor.             I withdraw my
3
1
    objection met net thenly too Your Honor.
4
1
             THE COURT:     I {hrz} thinking the only one that met
5
1
    that deaf {niing} definition was ray {nard} {dor} {si}.
6
1
             MR. MONTEMARANO:       We tend to lump those all names
7
1
    all together infather or mother ant and cooperator and
8
1
    all those other names that wouldn't be permitted in
9
1
    court.
0
2
             THE COURT:     All right.      Page 39.     Page 40.
1
2
             MR. MONTEMARANO:       Defense counsel like it is idea
2
    that it's quite {le} {jit} gnat for us to try to attack
3
2
    the credibility of law enforcement.
4
2
             THE COURT:     I took it out.
5
2



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            MR. WARD:      Quite is the language of the sand.
1
            MR. MONTEMARANO:        Quite is probably not strong
2
    enough, but we will settle for quite.
3
            THE COURT:      The government object to me putting it
4
    back in.
5
            MS. GREENBERG:       I don't care judge.
6
            THE COURT:      All right.      We'll leave it in.
7
            MR. MONTEMARANO:        Thank you Your Honor {sglfrjts}
8
    {sglfrjt} anything on Page 41?
9
            MR. HALL:      Your Honor, Mr.       {susz} {r57b} had a
0
1
    request on this jury instruction.            I'm not sure where it
1
    goes on here but anywhere you would put it on here but
2
1
    his request was in reference to the 404 B. evidence that
3
1
    since there is 404 B. in reference to some defendants and
4
1
    not others that those defendants to whom the 404
5
1
    in{sfrubing} 404 B. instruction applies --
6
1
            THE COURT:      Who {wuld} be the defendants -- put it
7
1
    this way.    In the first paragraph of this instruction it
8
1
    says some of the defendants.          How would you propose that
9
1
    {doy} so that I stay defendant {sos} and so have engaged
0
2
    in?
1
2
            MR. HALL:      Well, since tin struck shun was given
2
    when evidence came out related to those specific
3
2
    defendants and you could name at that point defendants to
4
2
    whom for whom 404 B. evidence applied.             {sglfrjts}
5
2



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    {12K3R50EU7B8G9S} Mr.        {susz} man is on the phone and
1
    we're going to hook him up by speaker.
2
            MR. HALL:      Well, there you go.        Note {susz} man by
3
    speakerphone.
4
            THE COURT:      Counsel, now that Mr.         {susz} man has
5
    joined us I would ask that when you speak you speak
6
    directly into a microphone because he will not hear you
7
    unless you do.      Law law you hear the other people?
8
            THE COURT:      Can you hear me {ed} {sus} {sus} I
9
    think I heard the judge.
0
1
            MR. MONTEMARANO:        Can you hear me {ed}?         {susz}
1
    {sus} yes I can {sglfrjts} {sglfrnlts} {kouns} fill you
2
1
    speak into the Mike he will be able to hear you.
3
1
            THE COURT:      You have been dog quite well with your
4
1
    requests requested suggested revisions {susz} {sus} maybe
5
1
    I should stay out of here {sglfrjts} {glfrjts} don't
6
1
    interfere with sung {sesz}.          No, Mr.    {susz} man {vi}
7
1
    made the change you requested in bum Number 14 which was
8
1
    about agreeing with an ass {sertion} in a question.                    {vi}
9
1
    {wfd} ed with nonsubstantive modifications what you
0
2
    wanted to add to instruction Number 22, {vi} added to
1
2
    Number 25 the lack {wang} you wanted except I took out
2
    her own case because there weren't any persons of the
3
2
    feminine gender to which that would apply.              And now we're
4
2
    up to the question on instruction 30 on my draft Page 41
5
2



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    dealing with similar acts and your suggestion was to put
1
    in here to whom that instruction would apply.
2
            My question is you got as you got ton the phone
3
    was how would {susz} {susz} I'm sorry I'm having a little
4
    trouble hearing you sir.
5
            THE COURT:      I had just gotten when you {gt} on the
6
    phone to your request for revision toss instruction 30
7
    appearing on Page 41.        Can you hear me?
8
            MR. MONTEMARANO:        {ed}, did you hear that?
9
            MR. MONTEMARANO:        I don't think Mr.        {suz} man can
0
1
    hear us.
1
            THE COURT:      Excuse me {mont} Monday I don't think
2
1
    Mr.   {susz} man can hear us.
3
1
            THE COURT:      We haven't said anything.
4
1
            MR. MONTEMARANO:        He hasn't react today anything
5
1
    I've said or you said.
6
1
            THE COURT:      I'll ask him.      Mr.    Mitchell Mitch
7
1
    that would be me.
8
1
            THE COURT:      That's you.      The mar shall is here
9
1
    with a transportation issue.          Wanted to know whether your
0
2
    client really wanted stay here for the rest of this
1
2
    session or not.      Mitch you will have to ask him.
2
            THE COURT:      There's an issue of transporting him
3
2
    back to the jail this day.         This session may go on for
4
2
    another hour and a half or two hours before I'm finished
5
2



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    if he wants to stay here, I'll let him {staw} stay but
1
    it's up to you if you want to discuss it with him.
2
              MR. MITCHELL:     Do you {whawns} the judge is
3
    asking?     Mitch what time does the mar shall do we know
4
    what time the mar shalls -- Mitch {quha} time do you need
5
    to leave mar mar they are ready for {yur} client to go
6
    now.     Depending on what we think the hearing is going be
7
    if he choose toss may we may -- everybody else is
8
    finished except for him.         Defendant defendant how about
9
    minutes?     {sglfrjts} {sglchblingts} Mr.          {pwin} {um} if
0
1
    you want to stay the whole time you can stay the whole
1
    time if you would like to waive your right to be present
2
1
    after five more minutes defendant defendant I just need
3
1
    five minutes {sglfrjts} {sglchblingts} all right you let
4
1
    us know when you're ready Mr.          {pwin} {um} this is pretty
5
1
    boring stuff we're doing Mr.          {pwin} {um} but you have a
6
1
    -- if you want to be presently let you be present.
7
1
              MR. MITCHELL:     I think disagree with that Your
8
1
    Honor.     Note to take out whatever the mar shall said that
9
1
    was a conversation between the mar shall and Mr.
0
2
    Mitchell.
1
2
              THE COURT:    I'll be {quach} ing how many of you
2
    are awatching how many of you are awake when {im} reading
3
2
    these instructions.       Mr.    Ward did you want to say
4
2
    something or are you just standing up.
5
2



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            MR. WARD:      I'm just stretching.
1
            THE COURT:      Okay.     All right.
2
            MR. WARD:      My back is a little bit stiff.
3
            THE COURT:      Mr.     {susz} man can you hear me?
4
    {susz} {sus} I really can't hear very well could you
5
    folks hear me.
6
            THE COURT:      Yeah {ki} hear you very well {waipt}
7
    to {jou} a question.        {sus} {sus} {im} having trouble
8
    hearing you although this {sa} dream come true everyone
9
    has to listen to me and I can't hear anyone else.
0
1
    {12K3R50EU7B8G9S} {sglfrjts} is there a speaker when we
1
    can put near to that phone?          Maybe if you move it near
2
1
    tore the speaker.       Mitch can you put the phone up here
3
1
    you, Your Honor.
4
1
            THE COURT:      Can the phone reach up here?
5
1
    {sglfrjts} {sglfrjts} Mr.         {suz} man, can you hear my
6
1
    better now {susz} {susz} a bit better now yes judge
7
1
    {sglfrjts} {12K3R50EU7B8G9S} okay.            We're right at the
8
1
    point of addressing your concern about instruction 30
9
1
    which is the instruction that deals with how to deal with
0
2
    prior bad acts.      You suggested that the instruction
1
2
    should be modified to name the defendants as to whom the
2
    instruction applies.        My question is how would you
3
2
    propose to do that?       {susz} {susz} well, the first thing
4
2
    is I know that that suggestion does not {u} necessarily
5
2



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    inendeer me to my colleagues but just take a quick listen
1
    to see -- I guess just with a preamble that this
2
    instruction applies only to the named defendants would be
3
    my suggestion, nothing too exextravagant just to mention
4
    that and then move on.
5
             THE COURT:     Well, green {r57b} Your Honor we could
6
    {ju} {squus} {t} take out some of the defendants abdomen
7
    put the names in there.         {jons} {yns} that the
8
    defendants, Ms. Paulette Martin, leerily good win, Reece
9
    whiting and {der} reck {pwin} {um}.
0
1
             THE COURT:     Is that the thes?
1
             MR. MONTEMARANO:       Lavon Dobie.
2
1
             THE COURT:     So there would with be Martin, good
3
1
    win,
4
1
             MS. GREENBERG:      Mr.     {pwin} {um}.
5
1
             THE COURT:     Whiting and {pwin} {um} only; is that
6
1
    right?   Art.
7
1
             MR. HALL:     Right.      Four.
8
1
             THE COURT:     So what I would do is add at the end
9
1
    of the first full paragraph of instruction Number 30
0
2
    appearing on Page 41 this language has within been
1
2
    admitted as to the defendants Martin note the hear the
2
    recording does that cover the waterfront?              I'm try
3
2
    {toing} look and see if there is anything else I need to
4
2
    change in that instruction.
5
2



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            MR. MONTEMARANO:        Your Honor I would be more
1
    comfortable with criminal propensity instead of
2
    personality three line {frs} the {wot} bottom -- four
3
    line {frs} the bottom.        That's the language used in all
4
    the statutes -- I mine all the case law construing 404 B.
5
    {sglfrjts} {sglfrjt} I think that may be a type {po}.                  I
6
    think you're right.       I think it should be propensity.
7
            MR. MITCHELL:       Your Honor if I could interrupt
8
    just briefly.      Mr.   {pwin} {um} is has now agreed the
9
    waive his presence for the remainder of this hearing.
0
1
            THE COURT:       All right Mr.     {pwooind} {pwin} {um}
1
    as I said before you have a right to be here and it's all
2
1
    right if you're hungry and want to go home anded of
3
1
    listen to this {dr} -- or to go where you stay {d}
4
1
    defendant defendant I want to go home that's for sure
5
1
    {sglfrjts} {sglfrjt} you may not go home now.               You may go
6
1
    home to your usual home.         Defendant defendant okay Mitch
7
1
    can we go too Your Honor.
8
1
            THE COURT:       No, you {ooef} got stay {e}.
9
1
            MS. GREENBERG:       {jufrn} Your Honor just so the
0
2
    court say ware sit correct under 525 it says personality
1
2
    but we don't aobject to the court.
2
            THE COURT:       I think this instruction is loud lousy
3
2
    that it says --
4
2
            MS. GREENBERG:       It's fine with the government Your
5
2



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    Honor.
1
              THE COURT:ly Put propensity.         All right so that --
2
    I've made that instruction change -- two {haing} changes
3
    then I've made on Page 41.
4
              Page 42.     43?
5
              MS. GREENBERG:     Your Honor under jury instruction
6
    32 and and I'm sorry I should is have put this in my
7
    letter there is only 61 counts because we're dismissing a
8
    count that just involved mill burn walker.              It was count
9
    six.     We won't dismiss it but {c5e7b9} six just {vf}
0
1
    involved Mr.     Walker.
1
              THE COURT:     Tin instruction now reads 61 green
2
1
    Your Honor if you want to tag that.            I know Ms. Johnston
3
1
    at some point was going to talk to Mr. Montemarano about
4
1
    one of {thiz} concerns so if you want to tag that we
5
1
    should be able to let you know in the next few days.
6
1
              THE COURT:     About what.
7
1
              MS. GREENBERG:     If there's another count that we
8
1
    might reach an agreement with Mr. Montemarano word.
9
1
              MR. WARD:     We still have motions of acquittal
0
2
    which means there may be less or fewer counts.
1
2
              MS. GREENBERG:     I just wanted the court to be
2
    aware of that.
3
2
              THE COURT:     All right we're going be here all
4
2
    night.     Let's not do that.      Page 43 I've got modify today
5
2



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    change {toyt} 61 count {ws} a flag that there may be
1
    other counts coming out too.          Page 44.     Mitch on 43 Your
2
    Honor.
3
             THE COURT:        Back on 43?    Yes.
4
             MR. MITCHELL:        At the top of the page you listed
5
    redundant in the last paragraph.           I think what part of
6
    that is not redundant is the issue of guilty beyond a
7
    reasonable doubt.       I think it pus important to remind the
8
    jury that that's the standard and by taking that out
9
    withdraws that reminder.         I would ask that it be included
0
1
    even though it is somewhat redundant.
1
             THE COURT:        I still think it's redundant it's in
2
1
    here probably five other times that they must find proof
3
1
    beyond a reasonable doubt and that they must base it on
4
1
    the evidence introduced or lack of evidence.               It's -- I
5
1
    mean you don't have to the mis{ri} that I do of having to
6
1
    read this and saying to myself as {doy} it over and over
7
1
    and over again this is getting redundant beyond
8
1
    recognition.     I think I'm entitled to remove some
9
1
    unnecessary redundancies and I think this is one of them
0
2
    so I'm going Lee that out.         Mr.    {sus} man are you
1
2
    hearing this okay {susz} {sus} yes I do {sglfrjts}
2
    {sglchblingts} all right.         Page 44.
3
2
             Page 45.     46     {scoment}.
4
2
             MR. WARD:     Excuse me Your Honor.         On 45 the
5
2



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    indictment is not going to the jury.
1
            THE COURT:      It is not going to the jury.
2
            MR. WARD:      Fine because I was concerned about the
3
    language that there -- there had been other defendants
4
    originally and for whatever reason they're not now before
5
    the court so if the indictment is not going back.
6
            THE COURT:      No it's not going back and on page 46
7
    that language is language that if I remember correctly I
8
    created for the first time in the Martin one case where I
9
    took responsibility for the decision of breaking this
0
1
    case up into {spwrat} trials so that is nonstandard sand
1
    and {sif} {fert} language there.
2
1
            Anything on page 46         other than that.
3
1
            MR. HALL:      Your Honor I think this would be the
4
1
    point where Mr.      {susz} man wanted to {wfd} his proposed
5
1
    jury instruction Number 35 A.
6
1
            THE COURT:      All right let me see.
7
1
            MR. HALL:      Are you paying attention {ed}?           {susz}
8
1
    {susz} yes.
9
1
            MR. HALL:      Mr.     {susz} man do you have a copy of
0
2
    what you wrote to the court in {frnt} of you {susz}
1
2
    {susz} I do.
2
            MR. HALL:      Okay.
3
2
            THE COURT:      Mr.     {susz} man tell me why we need to
4
2
    do that.    I have already tole the jury at the beginning
5
2



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    of the case that I have made directions to the parties to
1
    designate a lead cross examiner to confer with each other
2
    there would not be any redundant testimony and that the
3
    court has directed counsel to do that {susz} {sus} well,
4
    I had forgot ten that so I guess I would suggest that
5
    that may be something that might be forgot ten which by
6
    the jury but it didn't seem like we ask for thatment
7
    there comes a point where we do need to separate ourself
8
    {sos} that's my request.
9
            THE COURT:      What is if government's position
0
1
    {r57b} green Your Honor I think it's not standard it's
1
    not necessary in this case and especially when the court
2
1
    has given the opening instruction we really don't need to
3
1
    highlight the differences between counsels and the fact
4
1
    that it's okay {fo} the court -- for them to cooperate
5
1
    with each other.
6
1
            THE COURT:      I'm not going give this instruction.
7
1
    I think {whif} done already --.
8
1
            MR. WARD:      Your Honor, opening instructions were
9
1
    about I don't know 29        days ago or maybe a little less
0
2
    than that.     I mean, that {ooen} that's an ageened and I'm
1
2
    sure the jury forgot.        I have no doubt your words made an
2
    impression on them but it's been such a long time that's
3
2
    passed they probably for gotten what you said about it
4
2
    {sglchblingts} {sglfrjts} what I'm saying is what I said
5
2



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    was probably better that be this.            It said I told you to
1
    talk to each other and cooperate and to -- for the sake
2
    of fish en{si} to designate a lead exam and to confer
3
    with each other to do that.          This sort of makes like I'm
4
    apologizing for the fact that {te} fence lawyers talk to
5
    each other.     I thought whey gave you before was better.
6
    If I were going to give something like this, I would tell
7
    them I want to remind them they have required that the
8
    defense attorneys designate designated a lead examiner of
9
    each witness and eliminate redundancies and in order to
0
1
    do so they obviously of necessary {es} ty must consult
1
    with each other {fi} were to do it {al} all I would
2
1
    {doyt} as a rep repetition of whey {ooef} done before it
3
1
    {thit} think this sounds like gee whiz folks don't take
4
1
    it against them that they're take you can to each other.
5
1
    {susz} {sus} my {woynt} was that in a con {spwooer} {si}
6
1
    case I'd sort of like to you know have it hit home that
7
1
    because lawyers cooperate doesn't mean the conspiracy is
8
1
    continuing into the courtroom.           That pus kind of my fear.
9
1
            THE COURT:      Well, if we're to add anything at all
0
2
    it would not be where you would want it.              It would be on
1
2
    the top of page 46       at the end of the first sentence
2
    where it says are being tried separately.              {susz} {susz}
3
2
    oh, I didn't have any particular in it as to where it
4
2
    went.   I just thought that looking at something at the
5
2



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    end would be the convenient way to do it.              The point of
1
    place {pt} of it is not a particular issue to me.
2
            THE COURT:      Well {235UBGS} I could put something
3
    in right {f} of after the place where I said I made the
4
    decisions that tall defendants could not be tried
5
    together and the other defendants are being tried
6
    separately and put in to say that I also directed that
7
    the attorneys designate a lead examiner and prohibited
8
    redundant examination of witnesses and in order to do so
9
    this would require consultation among the defense
0
1
    attorneys.     Something like that.        {susz} {susz} sure.
1
            THE COURT:      Let me write something down here.
2
1
            MS. GREENBERG:       Would Your Honor read that
3
1
    language again.
4
1
            THE COURT:      Wait until I write it down.
5
1
    {sglfrjts} {whrfrnlts} counsel I was going to add
6
1
    something like this because {oof} of this insert I will
7
1
    probably are to make some other modifications on this
8
1
    page but I was going to put in, in addition I directed
9
1
    that the defense attorneys designate a lead attorney to
0
2
    examine each witness and prohibited redundant examination
1
2
    of witnesses.      In order for them to comply with this
2
    directive it has been necessary for counsel to cooperate
3
2
    and confer with each other.          I think that's better than
4
2
    what I was asked to do, because it blames me for you
5
2



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    talking to each other.
1
              Now, if I put that in where I indicated which
2
    would be after the special sentence that's on the top of
3
    page 46     that hi already drafted to deal with the fact
4
    that we've {probing} broken this case up into parts, I
5
    think that I will need to change the way the next
6
    sentence reads.       Think I would instead of saying these
7
    persons I would change it to other persons and have a
8
    paragraph break so I obviously am shifting gears when I
9
    go to the next subject.         Anybody have any problem with
0
1
    that?
1
              MS. GREENBERG:     No, sir.
2
1
              MR. HALL:    No.
3
1
              THE COURT:    I will have a paragraph break after
4
1
    I've the insert I just broke to {yu} and thenly say
5
1
    paragraph T. circumstance that is other person {rs} not
6
1
    in this trial must play no part in your deliberations and
7
1
    so forth.     All right anything else on page 46?             47?      48?
8
1
    Now, Mr.     {susz} man had a question as to whether the
9
1
    willful blindness part of this instruction should be
0
2
    included.     Ms. Johnston?      Ms. Green berg?
1
2
              MS. GREENBERG:     Your Honor I think we have a
2
    classic case of willful blindness especially certain
3
2
    defendants and one example I will use is Ms. Ali.                   Mr.
4
2
    McKnett went through the carrying of the bags from the
5
2



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    house to the school, whether or not they were locked or
1
    unlocked, whether or not the bags were closed or not
2
    closed, whether the suit {quais} in her house was locked
3
    or unlock it had book safes whether they were open or not
4
    open and I think that's a classic example of willful
5
    blindness and this instruction is appropriate.
6
            MR. MCKNETT:       Your Honor, I disagree with that.
7
    The first part of a the willful blindness instruction
8
    requires that the defendant's suspicion as {han} I
9
    aroused and there's been no evidence of that.               What Ms.
0
1
    Johnston has referred to is the -- so to is a suitcase I
1
    {pwhrooe} which was locked and there's nothing suspicious
2
1
    about one friend asking another friend to hold on to a
3
1
    suitcase for her.       There is nothing there to arouse
4
1
    suspicion and there's -- without arousing {sus} {pish}
5
1
    {r57b}, there is no need to make further inquiries.                    So I
6
1
    don't think that instruction applies at all {sglfrjts}
7
1
    {sglfrj} well first of all I don't think that the example
8
1
    that the government gave is necessarily the only one to
9
1
    which a willful blindness instruction would apply in this
0
2
    case, but even if it were I don't believe that the
1
2
    question of suspicion being aroused is not something that
2
    could be fairly supported by this record.
3
2
    And therefore I believe that the evidence would support
4
2
    giving that instruction because as the government argues,
5
2



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    a reasonable person's suspicion would be aroused under
1
    these circumstances so I will give this instruction.
2
    Anything else on page 48?         49?    50?     Five?   52?   53?     54?
3
    55?   56?   57?    58?   59?
4
            MR. MCKNETT:       Your Honor I have anish a problem
5
    with Page 59 {sglfrjts} {sglchblingt}.
6
            MR. MCKNETT:       Yes in the second paragraph, the sec
7
    second sentence reads a buyer seller relationship may be
8
    sufficient if it is coupled with other evidence
9
    indicating a kind of purpose such as an on going or
0
1
    continuing relationship.         I have a problem with an on
1
    going or continuing relationship.              That implies that
2
1
    guilt be found from association without anything else.
3
1
    We do have evidence of a continuing relationship between
4
1
    Ms. Martin and several other defendants and to say that
5
1
    -- to tell the jury they can find guilt from that alone
6
1
    is inappropriate and I think violates.
7
1
            THE COURT:       It doesn't say alone.
8
1
            MR. MCKNETT:       Well it says if coupled with
9
1
    evidence I understand {kait} ed a common purpose and that
0
2
    follows such as an on going continuing relationship.
1
2
    That implies that an on going continuing relationship by
2
    itself is evidence of a common purpose and I don't think
3
2
    that's appropriate.
4
2
            MS. GREENBERG:         Your Honor.
5
2



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            MR. MCKNETT:       I think if we take out an on going
1
    continuing relationship the instruction is accurate but
2
    if with that in it there it applies implies that simple
3
    association indicates a common purpose to commit a crime.
4
            MS. GREENBERG:       Yes, your Honor if we agrow so put
5
    in buyer seller there I think it would {sglfrjt} {glfrjt}
6
    tell me where you want to put nit.
7
            MS. GREENBERG:       On going buyer seller
8
    relationship.
9
            MR. MCKNETT:       That also Your Honor is wrong,
0
1
    because that instruct it is jury that they can find {ap}
1
    intent to be part of a conspiracy to distribute drugs
2
1
    simply because you you're involve inside a long term
3
1
    buyer seller relationship.
4
1
            MR. WARD:      I have problems also with the word
5
1
    multiple sales, if one is buying for one's own personal
6
1
    use multiple times that certainly doesn't give rise to
7
1
    any reasonable rational inference that the person is part
8
1
    of a conspiracy {shing} nor does the fact that they might
9
1
    have gotten drugs on credit or it might have been fronted
0
2
    to them.
1
2
            MR. MCKNETT:       I think to follow that I think the
2
    first sent {aens} simple buyer seller relationship at
3
2
    alone {kuz} not make out conspiracy snuff and it could
4
2
    stop {tli} think the {res} {ot} {f} that paragraph is
5
2



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    dangerous in that it can allow the jury to infer
1
    membership in a conspiracy to distribute drugs simply
2
    because someone bought drugs on multiple times has a long
3
    term association bought sales on credit -- made sales on
4
    credit or were fronted drugs.          All of those apply to my
5
    client but they should not in themselves allow the jury
6
    to infer that my client was part of a conspiracy to sell
7
    drugs.
8
             MS. GREENBERG:      Your Honor this paragraph
9
    correctly states the law.         If you just have put in
0
1
    furthermore simple buyer seller relationship alone does
1
    not make out a conspiracy that does not adequately state
2
1
    the law.    The rest of that paragraph is adequately state
3
1
    it is law set forth by the fourth circuit cases {quin}
4
1
    {ta},tous on and best of your knowledge {esz} cite inside
5
1
    this jury instruct {r57b}.         So I don't object if Mr.
6
1
    McKnett wants to clarify a relationship by putting an on
7
1
    going or continuing buyer seller relationship, but this
8
1
    is the law and I don't think the rest of the paragraph
9
1
    should come out.
0
2
             MR. MCKNETT:      Your Honor, frankly I don't think it
1
2
    {st} if law and I want to be.
2
             THE COURT:     Tell me why it's not supported by the
3
2
    authority that the government gave me.
4
2
             MR. MCKNETT:      Well Your Honor I can't stand here
5
2



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    and cite to the specific cases but I think that my
1
    argument is based on what this instructional {lou} s the
2
    jury to infer improperly.         It states tat last part of the
3
    sentence knowledge of a broader illegal venture simple
4
    knowledge of a broader illegal venture would be
5
    sufficient according to this instruction for the jury to
6
    infer membership in a conspiracy.            To distribute drugs.
7
    Simple knowledge of its -- its own right is not enough to
8
    find someone guilty of participating in a conspiracy and
9
    this instructional {lou} s the jury to do that.
0
1
            MR. HALL:      Your Honor if I can make a suggestion
1
    which I think one of the problems with this instruction
2
1
    the way it's worded {st} that it seems to imply that
3
1
    someone who is a purchaser for personal use of drugs can
4
1
    be a coconspirator and I think that if t it were worded
5
1
    {EPB} with the language that is there and at the next if
6
1
    at the an ex tot the last line of that sentence and if
7
1
    the wording was after the word fronted and an awar
8
1
    awareness that the drugs purchase beside I the buy tore
9
1
    be resold were knowledge of a barter illegal venture that
0
2
    would make it -- that would cure the problem and I think
1
2
    that's what Mr. McKnett is saying is missing in {e} -- is
2
    missing there, because the way it's worded now it sounds
3
2
    as if if I'm a simple purchaser for personal use that I
4
2
    can be a coconspirator and I don't think that's what the
5
2



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    law is.
1
              THE COURT:     Ms. Green berg what would be the
2
    matter the what he said with putting in an awareness.
3
              MR. MCKNETT:     If I {scould} a second to read that
4
    through Your Honor.
5
              MS. GREENBERG:     It {stouingt} the jury we would
6
    need to prove all of these things in order to prove that
7
    a buyer seller is part of the conspiracy.              What this
8
    does, this list gives exam {pm} s and it's from the
9
    fourth circuit case law.         {sglfrjts} {sglfrjt} I'm
0
1
    looking tat fourth circuit case law you gave me and I
1
    don't see it.      Neither one of the cases you gave me.
2
1
              MS. GREENBERG:     Your Honor do you have in front of
3
1
    you -- {ki} go pull it from my office I was ain't ware
4
1
    this {wu} {awz} was an objection because it wasn't listed
5
1
    by counsel do you have burg {es} {pwshing} U R G O S note
6
1
    the hear the recording.
7
1
              THE COURT:     Wait a minute.
8
1
              MS. GREENBERG:
9
1
              THE COURT:     94 what {pwering}.
0
2
              MS. GREENBERG:     N. third 839      again I didn't bring
1
2
    the case law with me because {u} didn't see it as an
2
    objection.
3
2
              THE COURT:     I can call it up on the computer.
4
2
              MS. GREENBERG:     That is cited at the end of the
5
2



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    instruction I believe that's where we got that specific
1
    language.
2
             THE COURT:     Let me take a look.        It's burg os,
3
    right.
4
             MS. GREENBERG:      B U R G O S 94 F third at 94.
5
             MR. MCKNETT:      Your Honor, I don't have that case
6
    either but I would submit that if burg os said {sez} that
7
    mere knowledge that a conspiracy exists is sufficient to
8
    make someone a member of the conspiracy I submit that
9
    burg os is wrong.
0
1
             MR. HALL:     Your Honor, can I make a suggestion?            I
1
    don't know if the law library is still open but if
2
1
    counsel wants to get a copy of the case maybe one of --
3
1
    someone from our side could also cop get a copy from the
4
1
    library and we will take a look at it real quick
5
1
    {scoment} ward {wa} Your Honor can we do this Your Honor?
6
1
    With can we defer on this and each get -- each pull the
7
1
    case and look at them and then come back and discus it
8
1
    {sglchblingts} {sglchblingts} why don't we do this so I
9
1
    don't keep you here until midnight.
0
2
             MR. WARD:     I mean defer it {to} until --
1
2
             THE COURT:     Understood.      Understood.      My
2
    suggestion is that I'm going flag this page.               I'm going
3
2
    take a look at these case it is government can give me
4
2
    cases you give me cases we can talk about this on a break
5
2



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    tomorrow and I'm I'll put this down as to further
1
    consideration.
2
            MS. GREENBERG:       Your Honor we did research tissues
3
    defense counsel raised but they didn't raise this.
4
            THE COURT:      I understand.      I want to give good
5
    in{stlung} ifs you will give {the} the inauthority you
6
    think note the hear recording we will pass on this for
7
    now so this I'm flagging to come back for further
8
    consideration.
9
            MR. MCKNETT:       Your Honor could I get that burg
0
1
    burg os cite again {dwrooen} green it is on Page 61 right
1
    under{ket} 19-6 modified soitis Right underneath
2
1
    {thachlt} 94 F. third {bs}, 849           I believe that's writ
3
1
    came from.
4
1
            THE COURT:      We have {ut} it on the {o} up ton
5
1
    computer I will {soo} take a look at it.
6
1
            {sglfrjts} {sglfrjt} counsel let's move off of
7
1
    that issue now.      Page 60.     61?    62.
8
1
            MS. JOHNSTON:       Your Honor on Page 62 the court
9
1
    says all of {xwhrous} s a {lt} agree that the defendants
0
2
    conspired to possess and distribute cocaine.               It sounds
1
2
    as though if one defendant didn't agree to distribute
2
    cocaine then you continue convict all of the defendants.
3
2
    In other words, you must agree that one or more
4
2
    defendants conspired to distribute and possess with
5
2



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    distribute cocaine.       Some of the defendants are involve
1
    inside cocaine some are involved in {abing} crab and some
2
    are involved in heroin.
3
            THE COURT:      What changes would {qulibing} to make?
4
    It looks like I {swrould} to make like four of them on
5
    this page to make it look right.
6
            MS. JOHNSTON:       I think that's correct Your Honor.
7
            THE COURT:      Let me take a look John.
8
            MS. JOHNSTON:       On the specific object that each
9
    defendant agreed to try {o} accomplish that might be a
0
1
    way to do it.      {sglfrjt} {sglfrjts} so, I would have to
1
    put in one or more of the defendants conspired right?
2
1
            MS. JOHNSTON:       However {nort} in order to convict
3
1
    a defendant on this count all 12 of you must agree on
4
1
    specific object a defendant agreed to try to accomplish.
5
1
            THE COURT:      The objective a defendant agreed to
6
1
    try to accomplish.
7
1
            MS. JOHNSTON:       Specific object a defendant agreed
8
1
    to --
9
1
            THE COURT:      Right.
0
2
            MS. JOHNSTON:       In order to convict each defendant
1
2
    on this count as opposed to using the multi{noyt} wet
2
    {uz} {milt} multiple {sglfrjts} {sglfrjt} wait a minute.
3
2
            MS. JOHNSTON:       The paragraph that starts, however.
4
2
            THE COURT:      I understand.
5
2



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            MS. JOHNSTON:       In order to convict a defendant on
1
    this count, all 12 of {xwhrous} {t} agree on the specific
2
    object a defendant agreed to try to {abing} come
3
    accomplish.     All {xwhroufs} {t} agree that.
4
            MR. WARD:      Your Honor.
5
            THE COURT:      Wait a minute let me hear Ms.
6
    Johnston's full --
7
            MS. JOHNSTON:       All of you must agree that the
8
    defendant -- you note tit was the defendant you're
9
    considering conspire today distribute or distributed
0
1
    cocaine or {ul} a I don't have you must agree to
1
    distribute or possess with intent to can note the {thaer}
2
1
    recording the defendant you're considering con fired to
3
1
    distribute and possess with intent to distribute cocaine
4
1
    base.   In other words the way it's read it sounds like
5
1
    all seven of them have have participated for one to be
6
1
    guilty of the heroin conspiracy when that's not what the
7
1
    governmental ledges.
8
1
            MR. MARTIN:      That {tooes} way they drafted the
9
1
    indictment.
0
2
            THE COURT:      Wait a minute {kounts} {el}.           Wait a
1
2
    minute let me make sure I get everything correct here.
2
    What I would I also need to make a change Ms. Johnston on
3
2
    the top of Page 62 it says one or {mo} defendants
4
2
    conspired {jons} John yes Your Honor I think it at it's
5
2



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    sufficient if you find beyond a reasonable doubt that a
1
    defendant conspire today commit at least one object {EU}
2
    in order to convict a defendant on the conspiracy count.
3
    So it should just be singular in terms of.
4
            THE COURT:      A defendant conspired.
5
            MS. JOHNSTON:       A defendant conspired.
6
            THE COURT:      In order to don convict that defendant
7
    {jons} {3R5U7BS} to convict that defendant on a
8
    conspiracy count because {taz} court well knows we can
9
    allege multiple Octobers of a drug conspiracy and an
0
1
    individual doesn't have to be con incompetent {vibingt}
1
    ed of all objects or be involved in all objects.
2
1
            THE COURT:      I think {vi} all of your proposed
3
1
    changes now let me hear from the defense warden ward I
4
1
    want to say on Page 62 T however.            I think if we change
5
1
    the first V to an A and make everything else singular
6
1
    that's all we need to do {chl} in other words it would
7
1
    read however nor in order to convict a defendant on this
8
1
    count all 12 of you must agree on the specific object,
9
1
    the defendant agreed to try to accomplish.              All of you
0
2
    must agree that the defendant conspired, to distribute
1
2
    and {pos} {swes} with bent to distribute and possess
2
    cocaine or all of you must agree that the distribute note
3
2
    the {thaer} record organize finally all {youf} must agree
4
2
    that the defendant conspire today defendant {mra}
5
2



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    {pwhra}, {pwhra}, {pwhra}, {pwhra}, {pwhra} and I think
1
    that changing that one word and making everything else
2
    singular {abing} {vom} accomplishes what we need note
3
    {witz} changinging it to T not note {witz} the not V.
4
            MR. MARTIN:      I agree with Mr.        Ward.
5
            MR. WARD:      It seems to me this fits in with what
6
    we want to accomplish is to tell the jury that each
7
    person is entitled to distinct and separate --
8
            THE COURT:      I agree with that.        Let me tell you a
9
    a a how I'ming {g} the take care of it.             I think this get
0
1
    it is {ses} {ens} of what you both want although identity
1
    {es} bit more redundant than {whan} the defense wants.
2
1
    No change on 61.
3
1
            MS. JOHNSTON:       Your Honor perhaps the bottom of
4
1
    Page 61 I'm sorry I didn't notice this but again it says
5
1
    that it talks about the defendants as {sglfrjs} {sglj}
6
1
    I'm going the {khaibing} {toyt} a defendant.
7
1
            MS. JOHNSTON:       Okay {sglfrjts} {sglchblingts} now,
8
1
    going on on 62 through the end what I would do the make
9
1
    it Chris {kal} clear is it is it would read as follows it
0
2
    is sufficient if you find beyond a reasonable doubt that
1
2
    defendant conspired to commit at least one objective in
2
    order to convict that defendant on the conspiracy count.
3
2
    However, in order to convict a defendant on this count,
4
2
    all 12 of you must agree on the specific object the
5
2



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    defendant you are considering agreed to try to
1
    accomplish.     All of you must agree that the defendant you
2
    are considering conspire today distribute and possess
3
    with intent to distribute and {pos} says cocaine or all I
4
    don't have you must agree that the defendant you are
5
    considering conspire today distribute or {kots} note the
6
    hear recording {o} finally all of you must a{gre} that
7
    the defendant you are considering conspired to distribute
8
    and possess with intent to possess to distribute cocaine
9
    base.
0
1
            MR. WARD:      I think it makes it clearer than
1
    {whooif} said.
2
1
            THE COURT:      I think it makes it clear that one at
3
1
    a time you consider them and one at a time you reach your
4
1
    verdict.    Anything else on Page 62.
5
1
            MR. HALL:      Your Honor I wanted to bring up since I
6
1
    had proposed a multiple conspiracy instruction and Mr.
7
1
    {suz} man did that this would probably be a logical place
8
1
    in the instructions to consider issue.             {sglfrjts}
9
1
    {sglfrjt} first of all let me -- the government has had
0
2
    this now I assume you can give me your position on this.
1
2
            MS. JOHNSTON:       Your Honor the government opposes
2
    any multiple conspiracy instruction in this case.                The
3
2
    defendant -- in order for such an instruction to be
4
2
    require it had proof at trial must demonstrate the {ap}
5
2



                                                                    Page 152
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    {pel} peer answer that the defendants were involved only
1
    in separate conspiracy in the {of} all conspiracy charge
2
    in Tennessee coin incharged in the indictment.                It I'm
3
    quoting from United States versus sill coat at 221 F
4
    third 542 on page.
5
            THE COURT:      Wait.    Go slower give {ne} cite again.
6
            MS. JOHNSTON:       221 F third 542 at Page 574 it's a
7
    decision of the fourth circuit a 2000 decision the
8
    defendant's name is S Q U I L L A C O T E and I'm quoting
9
    that from an {r57b} reported opinion out {f} of this
0
1
    district United States versus Jackson that was a 2006
1
    opinion where judge mess etty refuse today give a
2
1
    multiple conspiracy instruction where Ms. Jackson had
3
1
    obtained prescriptions and forged them and had no contact
4
1
    with the pharmacist who actually filled those
5
1
    prescriptions.      So unless the defendants can show that
6
1
    they were involved only in separate conspiracies
7
1
    unrelated {fo} the overall conspiracy, they are not
8
1
    entitled to a multiple conspiracy instruct {shn} and I
9
1
    can cite additional cases for the court the United States
0
2
    Kennedy case {swi} a 1994 decision of the {fout} circuit
1
2
    at atened F third 876 in particular on Page 883884 again
2
    the court said that you've got to be able to show that
3
2
    the defendants were -- there must be evidence to show
4
2
    they were involved in unrelated conspiracies and in this
5
2



                                                                    Page 153
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    instance there is no evidence and in den Kennedy they
1
    looked at cases in that case it involved eight defendants
2
    that at most had three related conspiracies and there
3
    were some severances done in that case much like this one
4
    and and the court found that a multiple instruction was
5
    not required.
6
    Again requiring it would be proof that the defendants
7
    were involved only in an -- in a separate conspiracy
8
    unrelated to the overall conspiracy.            In this case we
9
    have a overall conspiracy that centers on Ms. Martin and
0
1
    Mr. Goodwin obtaining drugs from different sources and
1
    then distributing them in this area through the
2
1
    individuals that are charged here with them {flt} there
3
1
    is nothing separate {tlchlt} is no separate conspiracy
4
1
    that's unrelated to that overall conspiracy.               There's
5
1
    simply no evidence of it.         I know counsel may argue that
6
1
    well, because she had a separate course source that makes
7
1
    it a separate conspiracy.         It duds not.      Is no case law
8
1
    to support that.      In fact, these cases demonstrate if
9
1
    {quou} you look at the ken {ne} day case that there were
0
2
    multiple groups getting drugs from different individuals.
1
2
    That does not support a separate conspiracy and I don't
2
    believe they're entitled to it undider the case law.
3
2
            MR. HALL:      Well {yo} well Your Honor Mr.           {suz}
4
2
    man may have some other points on this, but the point
5
2



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    they wanted to make on tissue of multiple conspiracies is
1
    this.     You had the testimony of Mr.         Etch char {tai}.
2
    Mr.     Etch charity testified that he had separate and
3
    apart from Ms. Martin he had a separate heroin operation
4
    that the heroin came {um} on the bus from Miami and that
5
    he picked it up, he testified that on several occasions
6
    my client Mr.      Whiting drove him to pick up the heroin
7
    from that bus.      He testified that he didn't share that
8
    heroin -- proceeds from that operation or was involved in
9
    the sale of that with anyone else that that was solely
0
1
    his operation and I would suggest to the court that even
1
    under the case law.
2
1
              THE COURT:    Why would it -- in terms of his
3
1
    operation quote unquote make it note the hear the
4
1
    recording if he act today further Mr.             Etch char {tai} in
5
1
    the receipt of the heroin?
6
1
              MR. HALL:    Well because that.
7
1
              THE COURT:    Even if he didn't profit by it or get
8
1
    didn't get anything {o} {wu} hi but he helped him go get
9
1
    it up pick it up hall a hall the government may very well
0
2
    argue that that was part of this overall conspiracy and
1
2
    that that was an act that my client didn't {d} in
2
    furtherance of the conspiracy.           I would suggest to the
3
2
    court that that is a separate conspiracy, that whatever
4
2
    that if you belief Mr.        Etch charity whatever Mr.          Etch
5
2



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    charity did and however he involved my client Mr.
1
    Whiting in that I would suggest that evidence that {vom}
2
    came out through Mr.        Etch charity on the witness stand
3
    had nothing do with Mr.         Martin or any of the other
4
    defendant ass {tt} table except my client Mr.               Whiting.
5
            MS. JOHNSTON:       Counsel misstate it is fact this.
6
    Mr.   Etch charity testified Mr.          Whiting {goef} drove him
7
    to pick up cocaine and heroin and of that cocaine he gave
8
    some of it to Ms. Martin and her daughter {kim} {pwer} ly
9
    rice it wasn't just Mr.         Etch charity using Mr.         Whiting
0
1
    to pick up cocaine, and heroin, he brought that back and
1
    some of it was distribute today Ms. Mar inso factually
2
1
    the evidence is -- does not support his position note the
3
1
    hear the recording and this is now tape two side B.
4
1
            MR. HALL:      While I disa{grae} with counsel as to
5
1
    what Mr.    Etch charity said but since we're not in front
6
1
    of the jury at this moment the court's recollection
7
1
    controls but my recollection of the fact {ss} he testify
8
1
    that had Mr.     Whiting assisted him on a number of {obing}
9
1
    {kaiing} s picking up the heroin and that he testified
0
2
    specifically there was a transaction in which an amount
1
2
    of heroin I believe {ket} was around $10,000 worth was
2
    give tone Mr.      Whiting, Mr.      Whiting was going to sell
3
2
    that presumably in Baltimore but I don't know if he was
4
2
    that specific about it and that Mr.            Whiting ended up
5
2



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    returning the bulk of that.          That had nothing to do with
1
    the involve {m} of Ms. Martin or anyone else {sglfrnlts}
2
    {sgljts} Mr.     Hall, I've listened to arguments of counsel
3
    in that and this and I have take {aen} look at the
4
    Kennedy case and a {sunlt} to you try {toing} talk me out
5
    of it at a later time, I do not believe that a multiple
6
    conspiracy instruction is required on this case.
7
    The fourth circuit has held that a court node need only
8
    instruct in multiple conspiracy ifs such a in{stlung} is
9
    note the hear the recording appellants were involved only
0
1
    in separate conspiracies unrelate today the overall
1
    conspiracy charged in the indictment.             And I do not
2
1
    believe there's been an adequate showing here that the
3
1
    defendants were slough involved in conspiracy pus
4
1
    unrelated to the sing conspiracy charge inside the
5
1
    indictment and while it's -- {wroo} while {ilt}'s
6
1
    conceivable some of these other matters might have
7
1
    constituted other conspiracies there was am note to
8
1
    {thaer} recording.       Therefore, I decline to provide a
9
1
    multimultiple conspiracy instruction.             If you have other
0
2
    authority you want to bring to my attentionly be glad to
1
2
    look ate but that's my {se} {di} {sition} decision for
2
    now so we can hopefully get {tli} {tlez} instructions
3
2
    anything else on Page 62.
4
2
            6364?    Note {witz} 63?        64?
5
2



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            MR. MCKNETT:       Your Honor on 64 just the
1
    terminology maybe to be consistent I think the {firs}
2
    sentence should be in order to prove the {kharnl} of
3
    possession with intent to distribute against a defendant.
4
            THE COURT:      Any objection {fwi} government?              Or I
5
    or I should could say the defendant you are considering.
6
    Counsel?    For the government?
7
            MS. JOHNSTON:       We're fine, Your Honor that's not a
8
    problem changing that.        My concern was that it says he
9
    possessed and I was asking Ms. Green berg if you
0
1
    addressed whether that should say he or she in terms of
1
    the rest of the instruction.          She advised me that you're
2
1
    going with the.
3
1
            THE COURT:      Why don't I just stay defendant you
4
1
    are considering?      {jons} {yns} that's fine.
5
1
            THE COURT:      And I'll put in the he or shes.              It's
6
1
    only one place, right?        {jons} {yns} yes Your Honor.
7
1
            THE COURT:ly Change this to say, in order to prove
8
1
    a charge of {pos} {swetion} intent to distribute {gens}
9
1
    {tt} defendant you are considering, the government must
0
2
    prove -- must establish and so forth and on paragraph or
1
2
    part two I will add in that the defendant knew that he or
2
    she possessed, etcetera.         Anything on Page 65?         Ward
3
2
    {wfd} would the court want to use the language the
4
2
    defendant you are considering?
5
2



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            THE COURT:ly Take out each and just say, the
1
    defendant you are considering.             Anything on Page 66?        67?
2
    68?   69?   70?    71?     72?     73?   74?   Seven?   Note it would
3
    you describe 75?         76?     And I belief on this one Mr.
4
    {susz} man had a -- want {td} wanted to have the
5
    instruction 55.
6
            MR. WARD:        Your Honor, I think with respect to
7
    this count since my client is charged I think in three.
8
            THE COURT:        Where are you now?       What page.
9
            MR. WARD:        I'm on 76, elements of the offense.
0
1
            THE COURT:        All right.
1
            MR. WARD:        This has to do with telephone counts, I
2
1
    believe.
3
1
            THE COURT:        Yes.
4
1
            MR. WARD:        My client is charged in three of those
5
1
    and my {fution} is note it was my position is as it is
6
1
    with respect to the gun count but I will.
7
1
                      MR. CONRAD:       Fine myself for the court
8
1
    moment with the telephone {koun} s and I think court
9
1
    needs to say this that if you find as to a particular
0
2
    defendant, a defendant is not guilty on count one, I E
1
2
    the conspiracy, the person cannot be convicted of the
2
    telephone count because the telephone count alleges that
3
2
    it was in furtherance of the crime under count one so if
4
2
    they're found not guilty under count one, they would have
5
2



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    to be found not guilty under -- in my case it would be
1
    counts 47, 50, 5357.
2
            MS. JOHNSTON:       Your Honor I think we had this
3
    discussion before the court gave its opening in{stlung} s
4
    when the court summarized.
5
            MR. WARD:      I can't hear I'm sorry.
6
            MS. JOHNSTON:       I said I believe we had this
7
    discussion when we discussed the court's opening
8
    instructions in {terp} s {o} {f} the almosts of the
9
    offense the statute does not {25BG} about whether
0
1
    somebody commit it had underlying offense it talks about
1
    knowingly using the telephone to facilitate the
2
1
    commission of a drug offense.          It does in the require
3
1
    that the person himself commit the underlying offense
4
1
    only that he facilitated through the use of the
5
1
    telephone.     So it has to be a knowing facilitation.                 If
6
1
    one were to -- and I would call the court's attention to
7
1
    a number of fourth circuit cases United States versus
8
1
    {la} son no at 839       F second, 1020, ten note wit {uz}
9
1
    1020-1023 if we look at the statute {tand} language of
0
2
    the statute itself if you were to require that the person
1
2
    commit the underlying offense {thaen} there would be no
2
    necessity to have the language in the statute that
3
2
    {sglfrjts} {sglfrj} let me {jou} this, Ms.
4
2
    Johnston.    I'm looking a {t} the actual indictment and
5
2



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    for example count 21 and and {ket} tracks the almosts of
1
    the crime and when it talks about the offense that it
2
    would you describe used in furtherance of the indict {m}
3
    itself says in committing causing and facilitating the
4
    commission of a felony to wit the narcotics conspiracy
5
    offense {sfoert} in count one.           {jons} I don't know
6
    exactly Your Honor.
7
            THE COURT:      Why if the {yur} did not conclude --
8
    if the jury in this case as to a particular defendant
9
    concluded that they have had not been involve inside the
0
1
    narcotics conspiracy in any way alleged in count one how
1
    would could they be convicted of this crime.
2
1
            MS. JOHNSTON:       If I know that Paulette mart sin
3
1
    involved in a conspiracy to distribute drugs and I
4
1
    facilitate that, her involvement in the conspiracy by
5
1
    calling her and ordering drugs from her, I could be
6
1
    convicted of the telephone count because my call and
7
1
    asking her {fo} {25BG} ets facilitates Ms. Martin's
8
1
    participation in the conspiracy.           I may not be involve
9
1
    inside the conspiracy.        I may through my own for example
0
2
    if I'm a simple buyer on one occasion of drugs from Ms.
1
2
    Martin and I'm going to buy drugs for my personal use
2
    from Ms. Martin so I haven't joined the conspiracy to
3
2
    distribute drugs but I know based upon my conversations
4
2
    with Ms. Martin that Ms. Martin is involved in a drug
5
2



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    business a drug conspiracy, I through my actions in
1
    calling her and getting drugs from her could facilitate
2
    that conspiracy through the use of the telephone.
3
            THE COURT:      In other words if I'm at Ms. Martin's
4
    house one night and her cell phone breaks dun and she
5
    says I'd like to use your cell phone so I can call Mr.
6
    {yur} {ar} {tai} or Mr.         Etch charity to make an order
7
    and I give her my cell phone.
8
            MS. JOHNSTON:         She has facility at a timed
9
    {sglfrjts} {sglrjts} I'm in the member of the conspiracy
0
1
    but I have facilitated her commission of a {kuing} drug
1
    conspiracy.
2
1
            MS. JOHNSTON:         Because you know her involvement.
3
1
            THE COURT:      Mr.     {mont} mama {ra} no.
4
1
            MR. MONTEMARANO:         It seems the way Ms. Johnston is
5
1
    explaining it one could facilitate a conspire by using a
6
1
    telephone if all one did was call to make one single purr
7
1
    {dhas} {khas}.
8
1
            THE COURT:      No I don't think that's what she said
9
1
    I this I what she said based under that hypothetical I
0
2
    just gave if I loaned to Ms. Martin my cell phone so that
1
2
    she could arrange for a delivery of cocaine from Mr.
2
    Manage wall for example and I knew that's what she was
3
2
    doing {EPB} though I wasn't buying anything any, she
4
2
    wasn't selling any to me then I'm guilty.
5
2



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            MR. MONTEMARANO:        How about if Mr.       {cins} {ki}
1
    called Ms. Mar infor the purpose of arranging a purchase
2
    no more?    I need to get an eight?
3
            THE COURT:      Well, I don't necessarily think that a
4
    street purr puser purchaser's phone call to Ms. Mar
5
    insaying can you sell me an eight ball means that that
6
    person necessarily has facilitated Ms. Martin's
7
    conspiracy.     Medical report.
8
            MR. MONTEMARANO:        I think in{stlung} needs to
9
    clarify those two things.         It has to be more than just
0
1
    facilitating one's own purchase.
1
            MS. JOHNSTON:       You get that element in {fl} if the
2
1
    person ewe what Ms. Martin was involved in if they have
3
1
    knowledge if there are circumstances from which you could
4
1
    infer that Ms. Martin -- that the caller Ms. Ali knew all
5
1
    about Ms. Martin's drug business, then her call whatever
6
1
    it is for could be done to facilitate.
7
1
            MR. MONTEMARANO:        No.   {susz} {susz} no.        {jonts}.
8
1
            MS. JOHNSTON:       Excuse me to facilitate Ms.
9
1
    Martin's commission of the conspiracy.
0
2
            MR. WARD:      Your Honor the problem with that
1
2
    argument is that assuming Ms. Ali is calling Ms. Martin
2
    to buy drugs, she necessarily knows that Ms. Martin is
3
2
    involved in distributing drugs.
4
2
            MR. MONTEMARANO:        Or wouldn't {vu} called her.
5
2



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            MR. MCKNETT:       Or she wouldn't have all {kawld} ed
1
    her to ask about drugs {sglfrjts} {sgljt} Mr. McKnett if
2
    you take a look at personal injury 78 at the instruction
3
    that goes through this element and it define ins the
4
    second paragraph it says to is facilitate the commission
5
    of a crime mean toss {yuz} a telephone in a way that aids
6
    assists or makes easier the commission of that crime.
7
    This element is satisfied if you find that a defendant's
8
    use of the legal {e} telephone facilitated each either
9
    his or her own or another person's commission to have
0
1
    offense.
1
            MR. MCKNETT:       Your Honor, if that is read to mean
2
1
    that a buyer of drugs when a buyer of drugs uses the
3
1
    phone to call a supplier of drugs, that simple act of
4
1
    buying for your own con {vum} sum shun makes you
5
1
    facilitator of the entire conspiracy and I don't think
6
1
    it's the intent of the law.          I think the intent of the
7
1
    law is do something more than just buy for your own use.
8
1
            MR. WARD:      I mean I think the bent of the law --
9
1
            MR. MCKNETT:       Otherwise every buyer for personal
0
2
    use is a facilitator of the conspiracy.
1
2
            THE COURT:      Why don't you all see if you can find
2
    some case law on this other than just telling me that
3
2
    that's what you would like to do because I don't think
4
2
    that what you ire telling me needs to be done on this
5
2



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    one.
1
            MS. JOHNSTON:       Your Honor I don't know if we
2
    provided the court with it but there is a fourth circuit
3
    case and it's a district court case from the eastern
4
    district of Virginia united state versus Louis at 38seven
5
    F sup second page -- starts on 573.
6
            MR. MCKNETT:       Ms. Johnston I can't hear you.
7
            MR. WARD:      We can't hear over here green Your
8
    Honor we had propreviously provided the court a numb ore
9
    {f} bum number of cases prosupporting element two of note
0
1
    the {thaer} recording.
1
            MS. JOHNSTON:       United States versus Louis 38seven
2
1
    F sup note the hear recording the relevant {lang} {wang}
3
1
    at pages sol one to 584 there is also a 7th circuit case
4
1
    United States versus binically at 903 F second 1130 at
5
1
    pages 1135 and 1136.        And as specific.
6
1
            THE COURT:      Give he me the lass s {t} citation.
7
1
            MS. JOHNSTON:       The last citation was 903 fed
8
1
    second 1130 at pages 1135 and 1136            but more importantly
9
1
    here is a United States versus live {is} L I V A S it's a
0
2
    fourth circuit albeit unreported opinion at 867, F second
1
2
    609 the west law cite is 1989 west law 5578 at page 3 and
2
    and that in the that case the court held that the second.
3
2
            MR. WARD:      I'm sorry it's 862.
4
2
            MS. JOHNSTON:       867 F second 609, 1989 west law
5
2



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    5578 at Page three of the west law opinion.               It concluded
1
    that under 843 B there is no requirement that the
2
    defendant commit the underlying drug felony.               That is
3
    that the defendant -- that he commit the underlying
4
    felony that the telephone call is in furtherance of.                   I
5
    have some additional cases.          An eleventh circuit case
6
    United States versus {rusz} so which is quoted in the
7
    opinion -- in the case I just gave the court.               That's at
8
    796 F second 1443, particularly at Page 1467 note {witz}
9
    1464 and and I quote a prime ma fascia case need not
0
1
    include proof that the defendant committed the underlying
1
    offense only that he facilitated its commission.
2
1
            THE COURT:      All right.      Counsel I will look at
3
1
    those cases.     I hear what the defense is caying I think I
4
1
    understand the issue.         I need to take a look at it F. the
5
1
    defense has any cases they would like to give me I would
6
1
    be glad to look at them please them to me promptly.
7
1
            MR. MONTEMARANO:        Thank you Your Honor.
8
1
            MR. WARD:      {Oot} issue that comes to mind.
9
1
            THE COURT:      Mr.    Ward, let Mr. Montemarano finish.
0
2
            MR. WARD:      Oh, I'm sorry.
1
2
            MR. MONTEMARANO:        Just so it's clear.        What the
2
    government is suggesting to the court is that one cannot
3
2
    participate in a conspiracy by simply buying drugs for
4
2
    personal use but can facilitate the conspiracy and the
5
2



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    last time I looked facilitating the conspiracy means
1
    joining by using the {el} the {le} phone and there is a
2
    large coin inconsistency.
3
             MR. MCKNETT:      Your Honor I would point out on the
4
    government's chart Number one my client is {laib} label
5
    add as a facilitator and therefore a member of the
6
    conspiracy.     I don't think the government can have it
7
    both ways.
8
             MR. MONTEMARANO:       Which goes back to that chart.
9
             THE COURT:     Counsel I think I hear your
0
1
    a{graement} and your disagreements and I'm {g} {toing}
1
    look at this one and and any authority you want to give
2
1
    mely glad to look at.
3
1
             MS. GREENBERG:      Your Honor for everybody's
4
1
    edification there is a June 15, 2006 letter including
5
1
    charts that I sent to the court and all counsel and there
6
1
    is an attachment A which had the proposed jury
7
1
    instruction that we're talking about here and all of the
8
1
    authority for the government for this instruction some of
9
1
    which Ms. Johnston read into the record was attachment A
0
2
    to that June 15, 2006 letter so that everybody has those
1
2
    cases.
2
             THE COURT:     If anybody has any additional
3
2
    authorityly be glad to look at it.            I will look at the
4
2
    authorities that you have jus cited in the letter and
5
2



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    that has just been cited by Ms. Johnston.               Anything else
1
    on page -- we were on Page 76 I think when we got into
2
    this issue.     Anything on 76?       77?    On 77 I took out one
3
    piece of the instruction because the only one allege
4
    inside this case is a telephone.            And I made that clear
5
    by what I did on the previous page that it used a
6
    communication facility this case a telephone.                  All right?
7
    Anything on 78?       That's the page I will be addressing
8
    speckly the matter we just discussed.             79?    80?     81?   82.
9
              MR. WARD:    I'm sorry.
0
1
              THE COURT:    We're on Page 82, Mr.           Ward.    Mr.
1
    {susz} man you still with us {susz} {susz} yeah I'm with
2
1
    you.
3
1
              THE COURT:    Okay {susz} {sus} I'm not disagreeing
4
1
    please don't think I've abandoned you.
5
1
              THE COURT:    All right.      Page 83.
6
1
              MR. WARD:    Well Your Honor now we come to the
7
1
    possession of a firearm in furtherance of drug
8
1
    trafficking crime I E conspiracy.            I raised the same
9
1
    issue.    If the person is found not to be guilty of the
0
2
    conspiracy, {ket} seems to me they cannot be found guilty
1
2
    of possession of a fire am in if you remember furtherance
2
    of the conspiracy of which they have been found not
3
2
    guilty.
4
2
              THE COURT:    Which instruction are you referring to
5
2



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    now?
1
             MR. MARTIN:     It's on Page 83 {sglfrjts} {sglfrjt}
2
    83.
3
             MR. WARD:     I thought it was Page 83.          Yeah the
4
    elements of the possession of a gun -- it should be a
5
    weapon I think think in furtherance of a drug trafficking
6
    crime.   Now, my position is that if a person is found not
7
    guilty of the drug trafficking crime, I E the conspiracy
8
    charged in count one, how can they be found guilty of
9
    possession of a firearm in furtherance of that of which
0
1
    they have been found not guilty?
1
             THE COURT:     Well, let me ask you this, Mr.            Bard.
2
1
    Note {witz} Mr.      Ward.    In {5B} on the bottom of Page 81,
3
1
    top of Page 82, I've indicated in these instructions if
4
1
    you're -- during your {dlib} lations you've determined
5
1
    the government has fail today prove beyond a reasonable
6
1
    doubt that either {pwin} {um} or Dobie is guilty of the
7
1
    crime charged in count one they think so you may proceed
8
1
    no further as to that defendant.
9
1
             MR. WARD:     I'm sorry.     Your Honor was going a
0
2
    little faster than my mind goes.
1
2
             THE COURT:     While you were doing That though {vi}
2
    a question for the government.           Ms. Johnston and Ms.
3
2
    Green berg I don't know that the description tat bottom
4
2
    of Page 81 is correct.        Isn't the charge in count one
5
2



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    conspiracy.
1
             MS. GREENBERG:      Yes, sir.
2
             THE COURT:     This says possession green {sglfrjts}
3
    {sglfrjt} {shoud}n't this be conspiracy to possess.
4
             MS. GREENBERG:      Yes, sir.
5
             THE COURT:     So it's conspiracy to.
6
             MS. JOHNSTON:      To distribute an possess with
7
    intent to distribute {12K3R50EU7B8G9S} {sglfrjts} to
8
    distribute and.
9
             MS. JOHNSTON:      Possess with intent to distribute.
0
1
             THE COURT:     Possess with intent to distribute Joan
1
    green and then the intent to distribute at at the end
2
1
    would come out Your Honor.
3
1
             THE COURT:     All right.      So, what that sentence
4
1
    will now say this shall -- this is the last full
5
1
    paragraph on Page 81 the first sentence will now read the
6
1
    defendants are charged in count one with conspiracy to
7
1
    distribute and {pos} possess with intent to distribute
8
1
    heroin, cocaine and crack cocaine.            Then for the benefit
9
1
    of Mr.   Ward and Mr.       Mitchell, there is a specific
0
2
    provision indicating that if either defendant is not
1
2
    found guilty on count one that brings the consideration
2
    of this counts on possession of a firearm a in {ket}
3
2
    {rans} of a drug trafficking crime a dead letter.
4
2
             MR. WARD:     My mind wasen going that fast Your
5
2



                                                                    Page 170
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    Honor.
1
              THE COURT:       Page 83.   Page 84?    85?    86?    87?    88?
2
    89?     90?   91?   92?    Netiquette Your Honor, at the bottom
3
    of 92 and and the top of 93 that I'm not sure.
4
              THE COURT:       All of this stuff in the fat footnote?
5
    That's not going to go in.
6
              MR. MCKNETT:       Okay.
7
              THE COURT:       No that will not be the in the final
8
    note.
9
              MR. MCKNETT:       Thank you Your Honor.
0
1
              THE COURT:       No, this is just citations.         That will
1
    not be in.
2
1
              MR. WARD:       Your Honor I notice in earlier
3
1
    instructions you have referred to the defendant {pwin}
4
1
    {um}.     Since this applies only to him these apply only to
5
1
    him, I assume you will say that in each of these felon in
6
1
    possession I think he's the only one charged with felon
7
1
    in possession {sglfrjts} {sglfrjt} I think that's the
8
1
    only place I {ooef} done that isn't it.
9
1
              MR. WARD:       That's what I'm saying.       You had made
0
2
    the -- you put that in some of the -- {dpor} example on
1
2
    Page 87 the defendant {pwin} {um} was and I just wanted
2
    to make sure --
3
2
              THE COURT:       I think {klirts} but I can put nit a
4
2
    couple of other places.         I mean on Page 91 I can put it
5
2



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    if find the defendant {pwin} {um} either had actual or --
1
    you know actual possession {ki} put that in.               I don't
2
    think I need to do it every single time.              I thinkitis
3
    pretty apparent I'm speaking about Mr.             {pwin} {um}.
4
    {ki} put nit another time on 92.           I see I can put it at
5
    the end of the line that begin toss satisfy this element.
6
    I can put it in there.        All right.      The next, Page 93.         I
7
    can change it to the defendant {pwin} {um}'s possession
8
    if you want.     Page 94.     Are these the correct counts,
9
    government?     Ward I'm {voyr} what 94.
0
1
            THE COURT:      {fl} was one you indicated less.               Have
1
    we got the right counts here?
2
1
            MS. GREENBERG:       Court's indulgence the count that
3
1
    should not be in anywhere anymore.
4
1
            MR. WARD:      Your Honor.
5
1
            MS. GREENBERG:       Is count six.
6
1
            MR. WARD:      I'm sorry we're on 94 now?          Page 94.
7
1
            MS. GREENBERG:       Count six should be removed.
8
1
            MR. WARD:      May {ski} this {fe} this question Your
9
1
    Honor how can one be an aider and abet {ter} of a
0
2
    conspiracy it {sooement} s to me you ire either a con
1
2
    spear {tr} {tor} or you're not.
2
            THE COURT:      That's why I put in introductory
3
2
    {dang} language here because I thought it made no sense
4
2
    if I don't didn't do this.
5
2



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            By the way, will.
1
            MR. WARD:      I see the court's insertion there, but
2
    I still don't think that that clarifies that with respect
3
    to count one ear either a con spear {ter} or you're not.
4
    The you the rule of ate aiding and abetting it seems to
5
    me applies to the other counts!           {sglfrjts} what {aes}
6
    the government's {fotion} on that?
7
            MS. JOHNSTON:       Your Honor I don't know if counsel
8
    has any authority white wouldn't apply to con peer
9
    conspiracy {koun}.
0
1
            THE COURT:      {im} not sure why it wouldn't.
1
            MR. WARD:      Bade aiding and abetting {sglfrjts}
2
1
    {glfrjts} yes.
3
1
            MR. WARD:      If you wade aid and abet a conspiracy
4
1
    you ire a coon spear {tor}.
5
1
            MR. MONTEMARANO:        Cob spear {si} requires no acts.
6
1
            THE COURT:      Give me some authority that says that.
7
1
            MR. WARD:      All right sir.
8
1
            THE COURT:ly Be glad to consider it.              As of right
9
1
    now I will leave it in.         I will Lee that {anz} open
0
2
    question andly see if you have any authority for it and
1
2
    that is note the {thaer} recording.            Anything on 95 I put
2
    in a redundancy warning here because hi already done this
3
2
    once before but I decided I would tell them in case they
4
2
    thought I was falling asleep and reading the same thing
5
2



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    that I'm doing It again on purpose.             96?     97?   98?
1
              MS. GREENBERG:     Your Honor count six should come
2
    out here and I also noted while the court was going
3
    through it count six {o} is on Page 6263.
4
              THE COURT:    Wait a minute let met {ge} me get that
5
    out right now.
6
              MS. GREENBERG:     That was as to Mr.          Walker.
7
              THE COURT:    Count six Page 62 is gone and 63 {ilt}
8
    it's {xwon} in both places it's on that page twice.
9
              MS. GREENBERG:     Yes, sir.
0
1
              THE COURT:    All right?      If you pick it up anywhere
1
    else let me go.
2
1
              MS. GREENBERG:     Then on Page nine where we just
3
1
    were.
4
1
              THE COURT:    Nine sol it's one once on that page
5
1
    Greece.
6
1
              MS. GREENBERG:     Yes, sir {sglfrjts} {sglfrj}
7
1
    anything else on Page 98?         99.    100.    101.
8
1
              MS. GREENBERG:     Your Honor perhaps on Page 100 to
9
1
    make it consistent with the prior change it says the
0
2
    second paragraph towards the bottom says with regard to
1
2
    count one if you find that the defendant has proven a
2
    defendant guilty of count one and and then go through
3
2
    quantity.    Cocaine, heroin or cocaine base.
4
2
              MR. MITCHELL:     Or a defendant you are considering.
5
2



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             THE COURT:     To the defendant you are considering.
1
    Okay.    All right.     That's on the top of Page 101, right?
2
    {xwrooen}.
3
             MS. GREENBERG:        The bottom of Page 100 with regard
4
    to count one {fw} {u} if you find that the government has
5
    proven a defendant you are considering guilty of {koun}
6
    one {sglfrjts} {12KR50E7B8G9} right.             I've {gt} that
7
    covered.
8
             MS. GREENBERG:        Then it should say con {sper} {si}
9
    with intent to distribute cocaine, heroin or cocaine base
0
1
    instead of and.       Thank you sir note to {thaer} it.
1
             THE COURT:     In{stid} of what.
2
1
             MS. GREENBERG:        Instead of and.
3
1
             MR. MITCHELL:        That's what the count one says.
4
1
             MS. GREENBERG:        It's charge inside the conjunctive
5
1
    it's prove inside the a terntive {l} {aern} {ti}
6
1
    alternative dun {ter} case law {sglfrjts} {sglchblingts}
7
1
    all right I've got that {kof} ed so identify made those
8
1
    two that I think changes on page 1 hundred and and
9
1
    identify made a change on Page 101 to change {toyt} the
0
2
    defendant you are considering.             Anything else on?     Page
1
2
    102.    103.   104.    105.    106.   17     note {witz} 107.      108.
2
    109.    All right counsel just to recap, I've got the
3
2
    following notes I've made to myself one is I'ming {g} to
4
2
    do a word search of this document to see if the word six
5
2



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    appears any place else that we haven't picked up today to
1
    take out the reference to count six.
2
              MS. GREENBERG:     The last graft draft we gave Your
3
    Honor had Mr.      Walker and Mr.      Harris in there so that's
4
    why that was in there.        Sorry about that.
5
              THE COURT:    So that's done.       I'ming {g} to add
6
    some language on Page 22 to deal with the defense
7
    recordings which I haven't draft drafted {aet} yet and I
8
    will share it with you when I get it done.              On page 27     I
9
    will add some language about charts or power {poyn} s or
0
1
    whatever the {kounts} counsel use in the closing argument
1
    is not {EF} {ET} evidence even though it looks nice and
2
1
    it's on chart.      Anybody by the way intend to use pow
3
1
    point in closing argument?
4
1
              MS. GREENBERG:     Your Honor, I was thinking of it
5
1
    if we could get it set up but I'm not sure we can get it
6
1
    set up.
7
1
              THE COURT:    When it works it's fine when it
8
1
    doesn't it's awful but I was look {maingt} {r} mar Mr.
9
1
    Martin specifically.        He's {can} king away and --
0
2
              MR. MARTIN:    Identify tried using power point
1
2
    before.    It was a disaster.
2
              THE COURT:    I didn't like it when I was practicing
3
2
    either.    It never seemed to be something you could fix to
4
2
    move -- to change with the -- you know with the moment.
5
2



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    It just wouldn't work and if I got up and made some
1
    {wond} erful -- prepared to make some closing argue {pt}
2
    and someone else had said one word before it and {ut} pit
3
    put my chart in a shamble I was blubbering.
4
            MR. MARTIN:      My problem has always been the
5
    technology T screens either you don't see it well
6
    {sghfrjts} {sghfrjts} you don't trust I.              I trust paper.
7
            All right the next thing I have flagged to look at
8
    is on I have flagged on Page 43 where note the hear the
9
    recording.
0
1
            THE COURT:      What I had flagged on Page 43 I had
1
    government told me {fl} were note the hear recording I
2
1
    just flagged that for a possible change.              The other
3
1
    places I have flagged are the counsel were to {gif} me
4
1
    add {daiing} a did additional authority on this question
5
1
    of use of a communications device to facilitate another
6
1
    drug offense as to whether being acquitted of the
7
1
    conspiracy would preclude that and the final thing I got
8
1
    open to discuss is the reference count Number one in the
9
1
    aiding and abetting statute is as to whether that's a
0
2
    proper use of the aiding and abetting statute so you
1
2
    saided and abetted a conspiracy the position to have
2
    defense being if you aid {apd} abetted one you are one if
3
2
    I understand what they're saying.
4
2
            MS. GREENBERG:       Your Honor one other thing I know
5
2



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    court was going to give an in{stlung} as to the {df} s
1
    use of the transcripts.
2
              THE COURT:    I mentioned that.
3
              MS. GREENBERG:     That were provide today us before
4
    it goes in the draft jury in{stlung} s.
5
              THE COURT:    I mentioned that.        I have the
6
    government's {vi} the government's draft limiting
7
    instruction I'm going to work on that and work on
8
    something to go into the draft jury in{stlung} s tat same
9
    time.
0
1
              MS. JOHNSTON:     Your Honor the count that the
1
    government out of an abundance of caution had some
2
1
    concern about that Mr. Montemarano argued it during his
3
1
    rule 29    motion is I think it more has to do {wus} taking
4
1
    defendants out but I had government will out of an
5
1
    abundance of caution drop count 41 because it's a {ket}
6
1
    that is also encompassed in the charge in count 40.
7
1
              THE COURT:    What count is that.
8
1
              MS. JOHNSTON:     Count 41.     I just need to look at
9
1
    it for a moment, but it {kharnl} s an offense on or about
0
2
    April 7 and and charges Ms. Martin alone with possession
1
2
    with intent to distribute 50 grams or more of cocaine
2
    base and on that date she was involved in a transaction I
3
2
    think it Claude Arnold {thand} {aes} how that {koun} was
4
2
    in there originally but count 40 charges her with
5
2



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    possession with intent to distribute 50 grams or more of
1
    cocaine base between April first and on or about April 7.
2
             THE COURT:     You're going to make a decision
3
    {thabt} later you neither making it right now with are
4
    you {mont}.
5
             MS. JOHNSTON:      The court was {wond} erring What
6
    the counts were it was count 41 {sglfrjts} {sglfrjt}
7
    before I butt these in{stlung} s to bedly check for the
8
    word 41 and and if you tell me you want to drop 41, we
9
    will take it out.       You will also need to address the
0
1
    verdict form appropriately.
1
             All right.     By the by the way counsel I heard
2
1
    nothing today and I'm unconvince that had alesser
3
1
    included offense instruction is appropriate.               If somebody
4
1
    has a specific proposal on how they want to do this one,
5
1
    they need to tell me in specific language where they want
6
1
    it, how they want it and why because I do not have it
7
1
    now.
8
1
             MR. MONTEMARANO:       An instruction for what Your
9
1
    Honor.
0
2
             THE COURT:     Less {e} er included offense.           So if
1
2
    there is any desire for me to do that, you need to tell
2
    me and I mean in very specific -- don't just tell me sand
3
2
    and {sif} {fert} X I need to know as to what charges
4
2
    against what defendants you really want to have a lesser
5
2



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    included offense.
1
            MR. MONTEMARANO:        Your Honor make sure Mr.           {susz}
2
    man heard that {sglfrjts} {glfrjt} Mr.             {susz} man did
3
    you hear that {susz} {sus} yes I did sir.
4
            THE COURT:      The ball is in your court, because I
5
    have nothing that convinces me now that that's an
6
    appropriate instruction in this case and if you have
7
    authority for it please be sure to give it to me because
8
    I would {tlibing} to these instructions correctly.                 Note
9
    et with {witd} {uz} {woy}.
0
1
            Counsel, back to the telephone calls.
1
            MR. MONTEMARANO:        Your Honor, can we have five
2
1
    minutes?
3
1
            THE COURT:      Five minutes.      I don't want to have
4
1
    the court reporter get another charley horse.               Five
5
1
    minutes.
6
1
                          (Off the record at 6:15 p.m.)
7
1
                          (On the record at 6:24 p.m.)
8
1
            THE COURT:      Counsel, we were last on call 3134 at
9
1
    Page 213 of the defense transcripts.
0
2
            MR. MARTIN:      That's Mr. Montemarano's.          That's
1
2
    Martha Jean West.
2
            MR. MONTEMARANO:        4134, Your Honor?        4134.
3
2
            THE COURT:      4134, Page 213.
4
2
            MR. MONTEMARANO:        Same stuff.      Different day.
5
2



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    This is a call with Gwen LNU, as well as Martha Jean
1
    West.
2
            THE COURT:      How long is this call?
3
            MR. MONTEMARANO:        It's rather lengthy.        It will
4
    have to be redacted.        It goes to like Page 225, I
5
    believe.
6
            THE COURT:      I will permit it, but I want you to
7
    redact it.
8
            MR. MONTEMARANO:        Consider it done, Your Honor.
9
            THE COURT:      Okay.    All right.      The next phone call
0
1
    is 4480 at Page 231.        Now, wait a minute, there's some
1
    government stuff in here.
2
1
            MR. MCKNETT:       We will pull all the government
3
1
    stuff out, Your Honor.
4
1
            THE COURT:      All right.
5
1
            MR. MCKNETT:       4480 is --
6
1
            THE COURT:      Wait a minute.       Let me get my notebook
7
1
    straightened out here.        Okay.     The next one is 4480 at
8
1
    Page 231.     This has a star on it.         What does the star
9
1
    mean?
0
2
            MR. MCKNETT:       That's one of mine, Your Honor.
1
2
    This is a call about -- there's three things in this call
2
    that I think are relevant and would go to challenge the
3
2
    opinion of Sergeant Sakala.           There is a series of
4
2
    numbers.     Size ten -- excuse me, size 12 -- ten or 12.
5
2



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    These are numbers that are used in the non drug-related
1
    context.    They refer to clothes.         There is a section of
2
    this where Ms. Ali and Ms. Martin are talking about
3
    investments.     There's a reference to Merrill Lynch at the
4
    bottom.
5
              THE COURT:     All right.     I will permit this call.
6
    It's short enough, and it is germane to the issue.
7
              MS. JOHNSTON:        Your Honor, just so the record is
8
    clear, Agent Sakala didn't testify about sizes 12 or ten.
9
              THE COURT:     No.     But he did testify when they were
0
1
    referring to sizes they were referring to drug
1
    quantities; I will permit that.
2
1
              MS. JOHNSTON:        The rest of the call, the next two
3
1
    two pages don't have anything to do with clothes.
4
1
              THE COURT:     Mr. McKnett, will you redact the other
5
1
    than size materials out of this call?
6
1
              MR. MCKNETT:     Yes.     I can do that, Your Honor.
7
1
    But just for the record, they talk about -- the third
8
1
    issue I was going to mention to you is there was a
9
1
    reference to Gil, and a conference, and Gil introducing
0
2
    Ms. Martin as someone the next day.            There's a reference
1
2
    to the entertainment business.
2
              MS. JOHNSTON:        Again, the reference to Gil.        Gil
3
2
    was a person who on cross-examination Agent Sakala
4
2
    identified as being the person to whom Ms. Martin --
5
2



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            THE COURT:      I agree.     Your request to redact is
1
    noted, and I'm requesting that this be redacted.
2
            MR. MCKNETT:       I will redact all but the first
3
    section Your Honor.
4
            THE COURT:      B-4508 at Page 234.
5
            MR. MONTEMARANO:        We can discuss that with the
6
    next one, 4662 at 254.        The two consume about 30 pages.
7
    They are calls with Gilbert Williams about shows.                Your
8
    Honor has already ruled about the other Gilbert Williams
9
    call.   There is nothing especially different about these.
0
1
            THE COURT:      Okay.    I'll make the same ruling on
1
    this as I have before.
2
1
            MR. MONTEMARANO:        I can't tell you anything new,
3
1
    Your Honor.     I'd love to but --
4
1
            THE COURT:      All right.      The next one is B-4663 at
5
1
    Page 265.
6
1
            MR. MCKNETT:       Your Honor, there should be one
7
1
    prior to that.      I left it off of my list, I apologize.
8
1
    It's B-4662 at Page 254.         I think Mr. Montemarano talked
9
1
    about that, but I would also like to talk about that.
0
2
            THE COURT:      That's in here?
1
2
            MR. MONTEMARANO:        It's one of the ones I just
2
    mentioned, Your Honor.
3
2
            MS. JOHNSTON:       That's a Gilbert Williams call
4
2
    beginning on Page 252, call B-4662 between Ms. Martin and
5
2



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    Mr. Williams.
1
              MR. MCKNETT:     Yes, Your Honor.       This call -- there
2
    are actually ten calls that I would like to address all
3
    at the same time.
4
              THE COURT:     Wait a minute.      I'm trying to find
5
    this phone call.       Oh, it begins on Page 254.          You're
6
    saying you want to talk about it on what page?
7
              MR. MCKNETT:     On Page 259.
8
              THE COURT:     What is it that you want to have
9
    played?
0
1
              MR. MCKNETT:     There is a portion that starts in
1
    bold.     It says "break in recording," and then it picks up
2
1
    again toward the top of the page.            Ms. Martin is talking
3
1
    to Mr. Williams about PTK Associates.             They're discussing
4
1
    the name of her business.         He's telling her that he needs
5
1
    this information for advertising for the shows.                And at
6
1
    the end at the bottom of that page Mr. Williams says to
7
1
    her, you're going to send me a letterhead.
8
1
              Then the top of the next page, Page 260, he says,
9
1
    you're going to fax me a letterhead with your stuff on it
0
2
    so I can, you know, move it on, you know, so the
1
2
    advertising person from the radio can show can, you know,
2
    say whatever it is that you want them to say.               And they
3
2
    talk about the letterhead.         The significance of this Your
4
2
    Honor relates to a call that the government played
5
2



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    concerning conversations between Ms. Martin and Larry
1
    Nunn.   And the court may recall that call related to a
2
    time sheet that the government put up on the screen.                   At
3
    the bottom of the time sheet it had, I think it had PTK
4
    Associates at the bottom of it.
5
            The government, through Sergeant Sakala, argued
6
    that that time sheet was fraudulent, and the purpose of
7
    it was somehow to throw investigators off the trail
8
    concerning, I think, the murder of Steven B.               Detective
9
    Sakala stated his opinion was that my client was involved
0
1
    in preparation of that fraudulent worksheet -- time sheet
1
    that had to do with -- I'm not sure which person it
2
1
    related to, but it was a time sheet supposedly from
3
1
    Paula's School of Performing Arts.
4
1
            THE COURT:      In which call did he opine as such?
5
1
            MR. MCKNETT:       Excuse me Your Honor?
6
1
            THE COURT:      In which call did he give that
7
1
    opinion, if you recall?
8
1
            MR. MCKNETT:       One call was B-4758 in which this
9
1
    Ms. Martin and Mr. Nunn are talking about Office Depot or
0
2
    Staples have time sheets.         This was one in which Mr. Nunn
1
2
    and Ms. Martin were apparently putting together a time
2
    sheet to show that Mr. Nunn would recollect worked for
3
2
    the school and it was a fraudulent purpose that the
4
2
    detective described as being related to hiding criminal
5
2



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    activity on the part of Ms. Martin and Mr. Nunn and that
1
    my client was involved in the preparation of this
2
    document or similar documents.           There are ten calls, Your
3
    Honor, starting with 4662 that clearly put the lie to
4
    that opinion.      And the reason is, as I pointed out on
5
    Page 269 was --
6
            THE COURT:      If you ask about letterhead
7
    preparation?
8
            MR. MCKNETT:       The conversation I just described to
9
    you in which Mr. Williams -- Gil Williams was asking Ms.
0
1
    Martin for her letterhead.         The very next call, which is
1
    B-4663, it is minutes after that call.             Ms. Martin calls
2
1
    Ms. Ali and says, when you're on the computer at the
3
1
    school I want you to do me some type of letterhead with
4
1
    PTK Associates on it.        Because Gil says, I need it -- he
5
1
    needs me to fax him a letter.          And then there's a series
6
1
    of calls, 4670, 4671, 4722, 4739-A, 1389-B, 4740, B-4741,
7
1
    and B-4766, all of which contain conversations between
8
1
    Ms. Ali and Ms. Martin concerning the preparation of the
9
1
    letterhead.     Ms. Ali faxing the letterhead to Ms.
0
2
    Martin for her review.        Ms. Martin calling back to Ms.
1
2
    Ali asking for changes in the letterhead.              They have
2
    nothing to do with the time sheet, and it cuts to the
3
2
    very heart of the detective's opinion that Ms. Ali was
4
2
    involved in an attempt to produce fraudulent time records
5
2



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    for Larry Nunn to use with regard to a murder
1
    investigation.
2
            THE COURT:      So you want to use part of call B
3
    46two that deals with this stationer station air issue;
4
    correct.
5
            MR. MCKNETT:       Yes Your Honor just that portion of
6
    it {sglfrjts} {sglfrj} redacted portion John John.
7
            MS. JOHNSTON:       Your Honor you know if the
8
    government could be heard on this.
9
            THE COURT:      I'm try {toing} get what his request
0
1
    is down.    {im} not ruling yet.          You want to get it
1
    redacted {fwou} only cover cover the letterhead.
2
1
            MR. MCKNETT:       Yes.    Specifically the portion from
3
1
    the sixth line -- 7th line down on Page 259 through the
4
1
    second line {fl} from the bottom on page 260.
5
1
            THE COURT:      And then the -- in the same vein you
6
1
    want to have calls B 4663, 4670, 4671, 4724, 4739, A
7
1
    1389, B 4740, B 4741 {235UBGS} B 4766 and and B 4789 all
8
1
    on the same subject?
9
1
            MR. MCKNETT:       B 4766 is the last.
0
2
            THE COURT:      Stop.     Okay.
1
2
            MR. MCKNETT:       {ki} very quickly point out why each
2
    of them is relevant.
3
2
            THE COURT:      No I want to make sure what your
4
2
    position is and then I want to hear from the government.
5
2



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    Your position is then you would like to be able to cross
1
    examine Sergeant Sakala's opinion concerning her
2
    participation in the preparation of a bogus document by
3
    showing that contemporaneously with the call in which he
4
    opined that she was helping Ms. Mart anyone the
5
    preparation of a bogus document she was in fact helping
6
    prerare letterhead for was it PTK associates.
7
            MR. MCKNETT:       PTK associates unrelate today the
8
    fraudulent documents {sglfrjts} {sglfrjt} okay let me
9
    hear from the government.
0
1
            MS. JOHNSTON:       Your Honor the fraud {ent} document
1
    we introduced was not on PTK associates letterhead what
2
1
    agent Sakala testified to in regards to the particular
3
1
    call was that she was having her reproduce business
4
1
    letterhead.     The call with Mr. Nunn where there was a
5
1
    reference of where whether {nort} he needed her to fill
6
1
    out agent Sakala specifically said that the her he was
7
1
    referring to was not Ms. Ali.          So, the call with Ms. Ali
8
1
    had to do with preparing fraudulent letterhead and that
9
1
    the call with -- the calls concerning the facts had to do
0
2
    with the note wit {uz} fax that was sent {swi} inest
1
2
    which shows it {wawz} time sheet and I believe it was
2
    sent from a hotel and is a time sheet that references P
3
2
    net {witz} note {uz} PTK associates ton {pwot} toll of
4
2
    the time sheet it snot letterhead so this whole notion of
5
2



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    what {sthez} calls goes to is not going to impeach
1
    anything agent Sakala said he said that she called
2
    getting her to prepare some letterhead with a fax number
3
    on it and {ta} the call {ws} Mr. Nunn had to do with
4
    doing up a time sheet and the time sheet is in evidence
5
    it is not faxed letterhead it is a time sheet that
6
    references PTK associates along the bottom of the
7
    letterhead.     So -- and Mr. Nunn {25BG} ly said that when
8
    asked that Ms. Ali wasn't the woman referenced to when he
9
    asked the question if he needed her to fill it out.                    So,
0
1
    I don't see how this is at all relevant in terms of a
1
    attacking agent Sakala's opinion in terms of the call.
2
1
    {kouns} {e} in fact has conceded that the call with that
3
1
    -- that we introduced was about faxes or creating
4
1
    letterhead for her business.          We {donlt} dispute that and
5
1
    agent is {sa} {kla} didn't offer a separate opinion
6
1
    concerning that.
7
1
            MR. MCKNETT:       Your Honor, the agent plaid did {sh}
8
1
    the {dwt} played and the agent testified concerning call
9
1
    A 136three which took place on April 28, 04 at 9:53 in
0
2
    the morning in which Ms. Ali and Ms. Martin are talking
1
2
    about Ms. Ali suggested she buy an answering service just
2
    buy a fax machine so everything will look official and so
3
2
    forth and then the {got} played call {235UBGS} 4753 which
4
2
    took place late {ner} the day in which Mr.              Ms. Martin
5
2



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    and Mr. Nunn are talk about getting time sheets from
1
    office depot or staples and I specifically asked the
2
    agent if it was his opinion that those two calls were
3
    related to each other and {the} said yes.              These other
4
    calls.
5
             THE COURT:     I will permit limited with redaction
6
    use of the phone calls just enumerated which begin with
7
    the redacted version of B 4662 and and include redact as
8
    necessary B 4663, 4670, 4671,
9
             MS. JOHNSTON:      Your Honor 4671 I {sthi} nothing
0
1
    but them saying good-bye on the known phone.
1
             MR. MCKNETT:      4671 Your Honor there was an
2
1
    interinterruption in the call.           4671 is the second part
3
1
    of 4670.
4
1
             MS. JOHNSTON:      Okay look at page 270 it's all
5
1
    right, bye.
6
1
             MR. MCKNETT:      If you look at the previous page you
7
1
    will see where they were saying good-bye to each other
8
1
    and there was an interruption and the government's own
9
1
    recorder recorded that as two separate calls Your Honor.
0
2
    It's nothing that we've done.
1
2
             MS. JOHNSTON:      {whri} do we need it?
2
             MR. MCKNETT:      Because it finishes the call.
3
2
             THE COURT:     I {thit} would explain they didn't
4
2
    hang up on each other.        Two lines of print {ki} tolerate
5
2



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    {thachlt} let me finish whey was saying the calls you
1
    {wuld} be permit today use for cross-examination on his
2
    opinions in add {doytion} the thes I just mentioned would
3
    be B 4671, B 4722, B 4739, A 1389, B 147              note {witdz}
4
    4740, B 4741 and and B 4766.            Now, in the midst of that
5
    sequence of calls is B 4687 at page 27one which I believe
6
    {st} a Paulette Martin call that you want to use for
7
    purposes of Martha Jean West.
8
            MR. MONTEMARANO:        Yes Your Honor it's a -- not a
9
    an specially lengthy call about ten {painl} s butt it's
0
1
    all dealing with clothes, styles, sizes, sizes --
1
    different kinds of sizes for different people.
2
1
            THE COURT:      Subject to the notion that at some
3
1
    point we're going get into redundancy territory you may
4
1
    use this call.
5
1
            MR. MONTEMARANO:        Thank you Your Honor.
6
1
            MS. JOHNSTON:       We would object on that basis at
7
1
    this point in time it's a ten page call which will take a
8
1
    long {toym} to play.        {EUT} advertisen't add anything new
9
1
    {sglfrjts} {sxwhrfrjt} {sxwhrfrjts}.
0
2
            THE COURT:      If you can react it, redact it.            Note
1
2
    {witz} redact not react.         {f}.
2
            Now, after page 290 there's a government recording
3
2
    which I will disregard.         And then the next page is 29one
4
2
    which is call B 4789 and and that has a star on it that
5
2



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    means it's your baby Mr. McKnett.
1
            MR. MCKNETT:       4789     Your Honor?
2
            MS. JOHNSTON:       Your Honor, if I could.         This is
3
    another call with Gilbert Williams again talking about
4
    that same concert that he was {hrz} ing Ms. Martin's
5
    money for that we previously addressed.
6
            MR. MCKNETT:       To be honest I still haven't heard
7
    the call number.
8
            MR. MONTEMARANO:          4789, page 29one.
9
            THE COURT:
0
1
            THE COURT:      This is another Gilbert Williams call,
1
    isn't it?
2
1
            MR. MCKNETT:       Your Honor I continue see this.
3
1
            THE COURT:      Mr. McKnett think this is another
4
1
    Gilbert Williams call.
5
1
            MR. MONTEMARANO:          I think Mr. McKnett is
6
1
    withdrawing the asterisk and making it mine I have
7
1
    nothing to add.
8
1
            THE COURT:      I will be perhaps consistently wrong
9
1
    but I will rule that that can't be used.
0
2
            MR. MONTEMARANO:          Thank you Your Honor.
1
2
            THE COURT:      4861 which I believe.
2
            MR. MARTIN:      The next two calls supposedly involve
3
2
    Mr. Goodwin {scoment} I withdraw them to the extent that
4
2
    somebody thinks that they do.          I don't think that they
5
2



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    do.
1
            THE COURT:      These are which calls?
2
            MR. MARTIN:      They appear on page 299 300 for the
3
    record it's B 4861 and and B 4888 {sglfrjts} {sglfrj}
4
    these are withdrawn?
5
            MR. MARTIN:      These are withdrawn.
6
            THE COURT:      Okay.
7
            MR. MARTIN:      Unless somebody else wants them in.
8
    I don't want them in.
9
            THE COURT:      That brings us to 303 and and call B
0
1
    4906.
1
            MR. MCKNETT:       Your Honor, calls B 4906 and and the
2
1
    next one, B 4907 are very short calls and they actually I
3
1
    cut my {lis} my {lis} {ut} off earlier they relate also
4
1
    to the letterhead that my client prepared for Ms. Martin.
5
1
    {sglfrnlts} {sglfrjts}.
6
1
            MR. MCKNETT:       Is this is the end of that sequence
7
1
    of calls in which Ms. Ali has sent -- has faxed over the
8
1
    proposed letterhead to Ms. Martin.
9
1
            THE COURT:      I note {es} one of your calls you want
0
2
    me to play is a fax tone.         Does that show you faxed it?
1
2
            MR. MCKNETT:       That was client fax toss Ms. Martin
2
    the letterhead that she prepared then the calm also be to
3
2
    the effect of did you get {snit} yes, I got it.
4
2
            THE COURT:      All right.
5
2



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              MR. MCKNETT:     These two calls are of the same
1
    nature.
2
              THE COURT:     All rightly permit these calls too.
3
    All right.     B 4911.
4
              MR. MONTEMARANO:      Withdrawn.
5
              THE COURT:     Withdrawn?
6
              MR. MONTEMARANO:      It's semimy redundant.         I've got
7
    the one the day {wfr}.        There's really no need for this
8
    one so we can just dispense with it entirely {sglfrjts}
9
    {sglfrjt} that brings us to -- which is withdrawn?                 Note
0
1
    wit {uz} 4911.
1
              MR. MONTEMARANO:      Yes Your Honor.
2
1
              THE COURT:     How ant 4913.
3
1
              MR. MONTEMARANO:      I think same thing.
4
1
              THE COURT:     Withdrawn?
5
1
              MR. MONTEMARANO:      Yes, sir.
6
1
              THE COURT:     4911 on 311.
7
1
              MR. MONTEMARANO:      Court's indulgence just for a
8
1
    second.
9
1
              THE COURT:     I'm sorry B 4999 and and -- {mont} yes
0
2
    I'm {ting} I was going to {kep} that one because there's
1
2
    {meng} s of one that Gwen bought.            By her ostensibly her
2
    daughter, {kim}.
3
2
              THE COURT:     All rightly leave that in.         B 5070 on
4
2
    Page 314.    It has a star on it.
5
2



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              MR. MCKNETT:     Your Honor that's one of mine and I
1
    have to look at having looked at this again I can
2
    withdraw that one.       Mr.     {mont} ma {ra} no might want to
3
    address it but I don't need that one.
4
              THE COURT:     Okay.    Page 322 is the next {u} call.
5
    B 5372.
6
              MS. JOHNSTON:     Your Honor this is another one with
7
    Mr.   Bill Williams the neck {t} two call {rs} with Mr.
8
    Will {yals} {sglfrjs} {sglfrjs} I will not permit that
9
    then Monday.
0
1
              MR. MONTEMARANO:       Yes they are Your Honor.
1
              THE COURT:     Those an ex {twot} calls are out.
2
1
    Then we have B 5375 on 327 {fwooen} Paulette mart un{awn}
3
1
    yule {is}'s garner netiquette can I have just a second
4
1
    Your Honor.
5
1
              THE COURT:     Certainly.
6
1
              MR. MCKNETT:     This is a call in which my client's
7
1
    husband, yule {is}'s {garn} {ser} talk {toing} Paulette
8
1
    Martin about their -- about Ms. Mar in's attempts to
9
1
    enter into a contract of court sorts for -- an
0
2
    interDanement -- show business contract and I don't
1
2
    necessarily need that one either {sglfrjts} {sglfrjt} all
2
    right.    Withdrawn.     {sglfrjts} {sglfrjt} the neck {t} one
3
2
    {vi} is Page 333, call B 5378 {ft}.            That one has a a
4
2
    star on it that's yours Mr. McKnett.
5
2



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            MR. MCKNETT:       Your Honor this is the same kind of
1
    a call Ms. Martin and Mr.         Garner caulk talking about her
2
    business relationship with Mr.           Gillly Williams and again
3
    I don't see that as necessary.           I can withdraw that one.
4
            THE COURT:      All right.      That's withdrawn.       {prf}
5
    page 339, Number 5383.
6
            MR. MCKNETT:       Your Honor this is my client and Ms.
7
    Martin talking about Ms. Martin talking to her business
8
    lawyer whose name is in there I think it's Spencer {hoy}
9
    er but I think in here it says Spencer note {witz}
0
1
    Spencer boyar {tand} rest Spencer is not letting me go
1
    along long I don't think he and gill are going to get
2
1
    a{whrachbing} along and then talking about the
3
1
    relationship and again the efforts to get him to show
4
1
    business and note wit {uz} get into show business and
5
1
    this is a short call and I would like to keep this one in
6
1
    jus tot show the continuity of these conversations
7
1
    {jonts} {yons} Your Honor we would object to this cause
8
1
    cause bawl call because sit about gill and their
9
1
    relationship with gill which about agent Sakala as
0
2
    already an acknowledged.
1
2
            THE COURT:      I don't believe that this is
2
    appropriate for cross-examination of the witness to test
3
2
    his opinion, soly not permit Number three note wit {uz} B
4
2
    5383 on page -- beginning on page 339.             All right?      That
5
2



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    brings us to 342 {kawlt} number B 5385 {fwooen} Paulette
1
    Martin and yule {is}'s garner.           Mr.    Mac.
2
             MR. MCKNETT:      Net Your Honor this is the same
3
    thing.    It talks about the Ms. Martin try {toing} put
4
    together a contract and my client's husband ass {tis}
5
    assisting her in terminology and giving her some advice.
6
             THE COURT:     I won't permit that either for the Sam
7
    insame reason I just gave to the prior recording.                All
8
    right.    On Page 345, number 538seven.           Between Paulette
9
    Martin and LaNora a lee.         Is this more about the same
0
1
    contract?
1
             MR. MCKNETT:      If I can have a sec {sglfrjts}
2
1
    {sglfrjt} I {thoy} be consistent I will preclude that as
3
1
    well.    I don't think that's fair for {coz} examining the
4
1
    expert and the opinions he's {gif} en.             It didn't cover
5
1
    this.    It brings us to call B 5471 on page 349              which is
6
1
    a --
7
1
             MR. MONTEMARANO:       Withdrawn.
8
1
             THE COURT:     Withdrawn?      Okay.    And then brings us
9
1
    to Page 351, call B 5475.
0
2
             MR. MCKNETT:      This is another in a series of calls
1
2
    between my client, Miss {mard} inand her husband
2
    concerning the business contract.
3
2
             THE COURT:     I will not permit that either.            This
4
2
    is what {ksh} where -- where does the series begin and
5
2



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    end?
1
             MR. MCKNETT:      Basically started at B 5070.
2
    {sglfrjt} {sglfrjts} it began with what.
3
             MR. MCKNETT:      B 5070.
4
             THE COURT:     Okay oh, okay.
5
             MR. MCKNETT:      Tall one that is have been.
6
             THE COURT:     Tell me which whichs are on the same
7
    subject matter they should.
8
             MR. MCKNETT:      5070, 5375, 5378, 5385, 5385, 5385
9
    {apd} perhaps the next one.
0
1
             THE COURT:     Next one I think for you would be B
1
    5726.    Go back and tray to listen to the numbers {jons}
2
1
    {jns} we would object to that call.            I think we've
3
1
    skipped two calls.
4
1
             MR. MCKNETT:      Your Honor the reason I put this one
5
1
    in is to put in context the government played call B
6
1
    5728.    B 5728    is an excerpt it's LaNora a lee says {al}
7
1
    hello Paulette Martin says uh-huh did you want tickets
8
1
    {wheb} when you came out here.           Call 5726     is Ms. Ali
9
1
    calling Ms. Mar intelling her where she is and saying
0
2
    that she -- I'ming {g} to stop by before I lev leave --
1
2
    after I leave here {scoment} you going to be there,
2
    right?    It puts it in context Your Honor and there's some
3
2
    questions I would like to be able to ask the witness
4
2
    about how and why he reached the opinion he did about the
5
2



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    call B 5728.
1
            MS. JOHNSTON:       Your Honor I don't have any
2
    objection if counsel wants to put in context call B 5726
3
    -- no, strike that 5728.         We played call B 5728         we only
4
    played an excerpt of that call.           If he wants to play the
5
    rest of that call to put that call in context I don't
6
    have Friday any objection to that but this call here
7
    about whether they're going get together, about whose
8
    mother passed away has nothing at all to do with putting
9
    into context the excerpt we played of 5728              un.    Up {der}
0
1
    rule 106 to put in context you're talking about the
1
    balance of what was in that call that conversation.                    Not
2
1
    a conversation {sglfrjts} {sglfrjt} all right.                I agree.
3
1
    I won't permit this call to be used.
4
1
            MR. MCKNETT:       Your Honor it puts in context my
5
1
    client's reason for going by Ms. {ket} in's house.
6
1
            MS. JOHNSTON:       And she can testify to that.           It
7
1
    has nothing to do with the officer's opinion.
8
1
            MR. MCKNETT:       I should also be able to question
9
1
    the agent about why he reached the opinion that my client
0
2
    was going there to get drugs.          And these -- this call and
1
2
    the next one 5727       -- {sglfrjts} {glfrjts} did you
2
    transcribe the balance of 5728?
3
2
            MR. MCKNETT:       Your Honor I thought we had but I
4
2
    don't see it here.
5
2



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              THE COURT:     I mean it would help me to resolve
1
    this if I saw the saw the balance of 5728.
2
              MR. MCKNETT:     I thought we had Your Honor.
3
    Q.        .
4
              MS. JOHNSTON:     {jons} page 370 Your Honor I {sthi}
5
    the balance.
6
              THE COURT:     370?
7
              MS. JOHNSTON:     Page 370.
8
              THE COURT:     Okay.
9
              MS. JOHNSTON:     Call B 5728.      Yes.
0
1
              MR. MCKNETT:     Okay.    My pages are out of order
1
    Your Honor.     I don't have it {sxwhrfrjts} {sxwhrfrjts}.
2
1
              THE COURT:     I don't have those pages {jns}.
3
1
              MS. JOHNSTON:     You don't?     I have them in the copy
4
1
    that I got on July 21.
5
1
              THE COURT:     Those pages are not in my copy.
6
1
              MR. MCKNETT:     My {cebing} lek shun is that we did
7
1
    transcribe that and for some reason we it is not in
8
1
    thisen.
9
1
              MR. MONTEMARANO:       It can be reproduced probably
0
2
    floating around my office {sglfrjts} {glfrjts} put it
1
2
    this way.     I agree the government if the context of 5728
2
    is adequately demonstrate bid the {kaw} itself --
3
2
              MS. JOHNSTON:     I think you already have B 5728            in
4
2
    the packet you {dwot} with the letter on July 21st on
5
2



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    page 370.
1
            THE COURT:      Yeah it's not in this notebook.
2
            MS. JOHNSTON:       I'm using my old notebook because I
3
    started working on these before last Friday.
4
            MS. GREENBERG:       Your Honor I'm using the new
5
    notebook it's not in the new book notebook it was in the
6
    old.
7
            THE COURT:      What with are the {naij} page numbers.
8
            MS. JOHNSTON:       Page 370.
9
            MR. MONTEMARANO:        370 in the overall mass.
0
1
            MR. MCKNETT:       The book I have is missing pages
1
    {sglchblingts} {sglfrjts} what page numbers are they for
2
1
    the full call.
3
1
            MS. JOHNSTON:       It should be page 370.         I think
4
1
    it's three pages.
5
1
            THE COURT:      Let me take a look at it.
6
1
            MS. JOHNSTON:       Your Honor I don't know how that
7
1
    works into the other call, quite frankly.
8
1
            MR. MCKNETT:       To save time let me pull this out
9
1
    I'll take a look at it and resubmit it if I still want to
0
2
    bring nit {sglfrjts} {glfrj} take a look at it because
1
2
    I'm not sure this is appropriate.            As for now I won't
2
    permit number B 5726.        All right then you have B 5727
3
2
    designated on page 368.         I'ming {g}.
4
2
            THE COURT:      Mr. McKnett.
5
2



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            MR. MCKNETT:       They go together and if the first
1
    one doesn't go in then.
2
            THE COURT:      I will put no on that and we'll come
3
    back.   Now I skipped over two calls of Mr.             {mont} ma
4
    {ra} no's, call B 5484.
5
            MR. MONTEMARANO:         A short call to Ms. West about
6
    clothing that I within the to use the following one is a
7
    call with {kef} inScott Your Honor has already ruled on a
8
    prior {kef} inScott rule call.
9
            THE COURT:      I will let you use the first but not
0
1
    the second.
1
            MR. MONTEMARANO:         Thank you.
2
1
            THE COURT:      Page 37three.
3
1
            MR. MARTIN:      Withdrawn.
4
1
            MR. MCKNETT:       Your Honor, I've looked at 5727 and
5
1
    and I can pull that one out.          I don't need that one.
6
1
            THE COURT:      57-
7
1
            MR. MCKNETT:       B 5727    {sglfrjts} {sglfrj} you're
8
1
    going to withdraw that.
9
1
            MR. MCKNETT:       I'll withdraw that {sglchblingts}
0
2
    {sglfrjts} okay.
1
2
            MR. MARTIN:      619 on page 37three is withdrawn.
2
            THE COURT:      Juan withdrawn? {sglfrjts}.
3
2
            MR. MARTIN:      Yes, sir {jons} I.
4
2
            MS. JOHNSTON:         Aam lost right now.      I don't know
5
2



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    what Mr.    Martin just did.
1
             THE COURT:     What Mr.     Martin just did was to
2
    withdraw call B 6189 at page 37three.             What Mr. McKnett
3
    did was to withdraw call B 5727           at page 368.
4
             MS. JOHNSTON:      I'm good then {chl} thank you Your
5
    Honor.
6
             THE COURT:     We're now on A 1596 at page 378.               Mr.
7
    McKnett.
8
             MR. MCKNETT:
9
             MS. GREENBERG:      Your Honor pus {t} to be clear
0
1
    where the government's transcripts are in there, counsel
1
    is going to take them out.
2
1
             THE COURT:     Yes, all of these are coming out.
3
1
             MR. MCKNETT:      We're at B 7733, Your Honor.
4
1
             THE COURT:     New York City A 1596 at page 378.
5
1
             MR. MCKNETT:      Okay.
6
1
             THE COURT:     I don't know if this is your call.               It
7
1
    says it is.
8
1
             MR. MARTIN:     Yes, it is.
9
1
             MS. JOHNSTON:      It's another {kef} inScott call
0
2
    about what size shoes {har} {vi} Washington wears.
1
2
             THE COURT:     I'm not going to permit that.           That's
2
    not something that is fair cross-examination of the
3
2
    witness on his opinions.         B 7733 on page 38seven.
4
2
             MR. MCKNETT:      Yes, Your Honor.       Your Honor, this
5
2



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    -- the government play played call number -- let me find
1
    it here.
2
            THE COURT:      A 1670?
3
            MR. MCKNETT:       It's a call that starts out with Ms.
4
    Ali asking Ms. Martin did you get {bing} {wr567bd} then
5
    it's Ms. Martin interrupts and says yes, I got it or yes
6
    I have it, words to that effect.           I thought it had that
7
    call right here but I don't seem to have it.               In any
8
    event, the agent opined that that was a reference a coded
9
    reference by my client asking Ms. Martin whether {nort}
0
1
    she had gotten drugs and then his opinion was that Ms.
1
    Martin had indicated yes, she had -- I got it.
2
1
            THE COURT:      Okay.
3
1
            MR. MCKNETT:       Call B 7733 puts that call in
4
1
    context and challenges the agent's opinion because in
5
1
    call 7733, Ms. Martin add Ms. Ali talk in great detail
6
1
    about how Ms. Ali had been notified from the post office
7
1
    that there was a certified letter addressed to them that
8
1
    the mailman had try today {cifr} deliver it but it called
9
1
    for a receipt and Ms. Ali was asking Ms. Martin if she
0
2
    could to the post office and pick up the certified letter
1
2
    for her -- for her husband for accurately the next day or
2
    so and Ms. -- and then the call the government played is
3
2
    Ms. Ali checking with Ms. Martin as to whether or not she
4
2
    was able to pick up the certified letter and Ms. Mat inis
5
2



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    telling her yes, she did.
1
            THE COURT:      All right I'll let you play that.
2
            THE COURT:      All right.      Call B 7757 on page 39one.
3
            MS. JOHNSTON:       That's Gilbert Williams call Your
4
    Honor having to do with.
5
            MR. MCKNETT:       This is Ms. Ali talk {toing} gill
6
    Williams about tickets.         You need to get me some $75
7
    tickets some top of the line.          I'll sell my tickets if
8
    you get me the $75 tickets and once you get into the rest
9
    of the conversation it's clear that they're talking about
0
1
    ticket toss a show somewhere {scoment} these are the same
1
    codes, the same numbers that detective Sakala indicated
2
1
    were in his opinion frequently references to drugs and
3
1
    the purchase of drugs.
4
1
            MS. JOHNSTON:       Agent Sakala never said that Mr.
5
1
    Williams was involved in any calls where the code tickets
6
1
    referred to drugs.       He was very specific that Mr.
7
1
    Williams was involved in the concert promotion business
8
1
    and not in reference to any other illegitimate use of the
9
1
    word tickets, so it doesn't go to his opinion in relation
0
2
    to the parties 'conversation {ws} Mr. Williams.
1
2
            THE COURT:      Would it not go into his opinion that
2
    when Ms. Ali and Ms. Martin used the term tickets they
3
2
    were referring to drugs?         {jons} John Ms. Martin wasn't a
4
2
    party to this call {sglfrjts} {sglfrjt} no I understand
5
2



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    that.   Would it go to test that opinion?
1
            MS. JOHNSTON:       I don't believe so Your Honor
2
    because it's in the a conversation -- they don't have any
3
    conversation {ws} Ms. Martin and Mr.            Will {sproums}
4
    where they {ooefr} talking about tickets.              The agent
5
    specifically said go back that that there enwere plenty
6
    of calls where ticket {wrs} use that had we heard about
7
    actual tickets for concerts for air plain planes for use
8
    cruises this is an example zero one of those call that is
9
    is con sis ten with his testimony not inseason
0
1
    inconsistent -- {sglfrjts} {glfrjts} I agree.               I don't
1
    think it's inconsistent with the opinions he gave of Ms.
2
1
    Ali so I won't permit that one.
3
1
            MR. MCKNETT:       Your Honor if I may respond the
4
1
    inconsistencies is that the agent's opinion seem today be
5
1
    when Ms. Ali talks to Ms. Mar inabout tickets they
6
1
    {ooefr} talking about {pwruing} drugs but when Ms. Ali
7
1
    talks to somebody else about ticket tickets they're not
8
1
    and this goes to address that ass peck of the witness
9
1
    'opinion.
0
2
            MS. JOHNSTON:       I think court has already allow
1
2
    inside calls where Ms. Martin and Ms. Ali talked about
2
    tickets that her daughter {trooes} {sa} {wawingt} bought
3
2
    so there are call that is the court --
4
2
            THE COURT:      It's short I will let this call come
5
2



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    in just for that purpose.
1
            Okay.    401, call B {vom} 15.         Neat.
2
            MR. MCKNETT:       Your Honor I believe this is another
3
    call concerning the business relationship the
4
    entertainment business relationship between Ms. Martin
5
    and Ms. Ali.     I also wanted to get it in for the portion
6
    of the first page.       Actually, I take it back it's the
7
    first page that's relevant here.           This is the entire
8
    call.   The government introduced an excerpt of call B
9
    7815.   It's the one I referred to earlier with Ms. A
0
1
    where Ms. Ali asked were you able?            Ms. Martin says yeah
1
    {vi} the {yai} I have it that's the one the government
2
1
    the agent {sid} said that {wawz} drug conversation but
3
1
    this is the call that follows the one about Ms. Ali
4
1
    asking Ms. Martin to pick up a certified letter {fo} her
5
1
    at the airport the day before.           And it gives a different
6
1
    interpretation it {dwif} s a basis for a different
7
1
    interpretation nondrug related interpretation of this
8
1
    conversation.
9
1
            THE COURT:      All right I'll permit that.           408?
0
2
            MR. MCKNETT:       I can {sglfrjts} {sglfrjt} do some
1
2
    redacting.
2
            MR. MCKNETT:       I can redact just about all of this
3
2
    but I wanted -- the government did the redaction and they
4
2
    wanted to make the I wanted to make the entire
5
2



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    conversation to {stur} the jury if they want today hear
1
    it {sglfrjts} {sglfrjt} Page 408, call 82202.
2
             Note wit {uz} A 2202 not eight.
3
             MS. JOHNSTON:      It's about whether {nort} Ms.
4
    Martin is available for a cookout.
5
             THE COURT:     Why is her availability.
6
             MR. MCKNETT:      I can withdraw that.        That's fine.
7
    {sglfrjts} {sglfrjt} speaking of cookouts GSA just turned
8
    the air conditioning off to this courtroom.               We will be
9
    cooked out of here very shortly with the temperature
0
1
    outside being a hundred degrees but we only have one call
1
    to go.   A 32 on Page 410.
2
1
             MR. MCKNETT:      Your Honor this one I'm in the sure
3
1
    if the government played this one or not.              This had to do
4
1
    with delivery of money to Ms. Martin by her -- by Ms.
5
1
    Ali's husband for Ms. Ali's benefit and it's again the
6
1
    government's agent's testimony was that his opinion
7
1
    {firs} vir all {khul} ly all the time to pa {pra} phrase
8
1
    what my client was talking about delivering money to Ms.
9
1
    Martin and it was drug related and I think I will be able
0
2
    to establish other times other reasons for Ms. Ali to
1
2
    {dlifr} money or have money {dli} today Ms. Martin not
2
    involving drugs.
3
2
             THE COURT:     If you're try {toing} establish the
4
2
    truth of what's in this conversation that's different
5
2



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    than attacking the validity of the opinion of Sergeant
1
    Sakala.
2
              MR. MCKNETT:     His opinion was that when my {klin}
3
    was delivering money to Ms. Mat inthat it was payment for
4
    drugs.
5
              MS. JOHNSTON:     And that it that would you say was
6
    not his opinion Your Honor he look at the ledgers and
7
    {saitd} here she an {rawp} ran up a charge --
8
              MR. MCKNETT:     I'll withdrawal withdrawal it.
9
              THE COURT:     {you} all right it's withdrawn.           I
0
1
    think that's all the {kawls} acorrect or not.
1
              MR. MONTEMARANO:      Yes Your Honor {sglchblingts}
2
1
    {sglfrjts} I think {vi} try today be a fair steward on
3
1
    what can come in and what can't come in.              {noy} it east
4
1
    {nou} it's up to the defense to put this together in a
5
1
    new and improved notebook with redactions with {e} limb
6
1
    re{ip} {e} limb neighs we limb nation of the government
7
1
    transcript portions and I think we get this down to a
8
1
    reasonable size that can give sergeant {sa} {ka} get
9
1
    Sergeant Sakala on the stand and off sometimes in our
0
2
    sometime in our collective lifetimes.
1
2
              MR. MCKNETT:     Your Honor {vi} a question.          I may
2
    be opening up a different can of worms Your Honor {worp}
3
2
    s Your Honor but we {ooef} addressed the admissibility of
4
2
    these conversations with regard to cross-examination of
5
2



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    agent Sakala.
1
             THE COURT:     Right.
2
             MR. MCKNETT:      I have pounded other reasons for
3
    entering some of these conversations if and when my
4
    client should testify.         Has anything we've done today
5
    affected that issue.
6
             THE COURT:     No.    I mean I've not addressed that
7
    issue.
8
             MR. MCKNETT:      All right Your Honor.
9
             THE COURT:     I'm try {toing} address {soyt} that
0
1
    when Sergeant Sakala comes here we know what can be done
1
    and what can't be done and be reasonably efficient with
2
1
    his examination.      I have not addressed that.
3
1
             MR. MONTEMARANO:        Your Honor I would {tlibing}
4
1
    clarify status of Ms. West.
5
1
             THE COURT:     Yes.
6
1
             MR. MONTEMARANO:        The government has suggest that
7
1
    had they have information that she was selling stolen
8
1
    clothing to my client.         It seems that would at the very
9
1
    least be 404 B. as to my client and as a recipient of
0
2
    stolen property, but beyond that I will be calling Ms.
1
2
    West I will be telling her to expect to hear from
2
    somebody on behalf of the court as counsel since the
3
2
    government suggested that there's a fifth amendment
4
2
    issuely provide her cell {r57b} number she is here in the
5
2



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    state nowly provide her cell known number to your law
1
    clerk however I would like to get some information about
2
    this because she will certainly ask me what is this
3
    they're saying about me and I'd like to be able to advise
4
    her at least by way of information.
5
            MS. JOHNSTON:       I think the calls speak for
6
    themselves and in great measure if anyone looked at them
7
    in {ne} {dmi} detail one would know she was pawning or
8
    selling stolen goods that she would go out and steal from
9
    different score stores and ask for lists in terms of what
0
1
    people wanted and I don't think the government is under
1
    any obligation to tell counsel anymore than that and the
2
1
    government has done what it {thooz} do so the court can
3
1
    provide Ms. {wes} with the an attorney to advise her of
4
1
    her rights.
5
1
            MR. MONTEMARANO:        That {aes} fine Your Honorly
6
1
    tell her that and she can go from there.              I know nothing
7
1
    about it.     ly Advise her either she will understand or
8
1
    she won't.
9
1
            THE COURT:      {doy} have a reviseed verdict form?
0
2
    {sz} has that been submitted?
1
2
            MS. GREENBERG:       Your Honor {btion} until the Ms.
2
    Johnston -- {sglfrjts} {sglfrj} we do have it okay.
3
2
            MS. GREENBERG:       Removed a count -- considering
4
2
    removing a count.
5
2



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            THE COURT:      Okay.
1
            MS. GREENBERG:       I haven't done that yet because
2
    identify been here.
3
            THE COURT:      Give me a new and improved version as
4
    soon adds you can {chl} anything further counsel?
5
            MS. GREENBERG:       Your Honor, one other thing.              I
6
    hate to do this at this late hour but Mr.              Ward has filed
7
    a motion relating to Ms. Dobie's examination tomorrow and
8
    we're add addressing that first thing if I may summarize
9
    it in two sentences -- two minutes for the court
0
1
    {sglfrjts} {sglfrjt} okay summarize away.
1
            MS. GREENBERG:       During the bench conference Mr.
2
1
    Ward wanted to bring up a call B 238four note wit {uz} B
3
1
    28four relating to Ms. Dobie whether or not there was a
4
1
    conversation between Ms. Dobie and Ms. Martin.                It was
5
1
    not through the -- he didn't want to introduce the
6
1
    transcript he wanted to question Ms. Dobie about that and
7
1
    the reason he said that was relevant Your Honor is
8
1
    because there's a call B 289          where {deingt} Sakala
9
1
    testified that hammer meant gun and that's all he said is
0
2
    that hammer meant gun and so now Mr.            Ward wants to bring
1
2
    in a call that happened prior to that call to say that
2
    they were joking when they talked about a gun in a later
3
2
    call which first makes no logical sense if he wants to
4
2
    bring out the fact that they were joking about talking
5
2



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    about a gun it should be a subsequent call instead of a
1
    precedent call.
2
    Secondly Your Honor, I submit that his argument that 806
3
    allows the admission of this testimony is misplaced.
4
    What he really appears to do is the declare {ent} would
5
    be Ms. Martin and if Ms. Martin testified that Ms. Dobie
6
    had a gun then he {ooed} be entitled to cross exam
7
    examine her with relation to other calls in which she
8
    joked about Ms. Dobie having a gun but he wants to ask
9
    his client if in an earlier conversation she was joking
0
1
    with Ms. Martin about her possessing guns.              So, one,
1
    honestly {ket}'s not at all add {miz} {bl} under any
2
1
    theory of hearsay but secondly Your Honor Mr.               Ward is
3
1
    going to open a whole can of worms and I just don't want
4
1
    to up at the bench after he does this relating this, but
5
1
    he's try today keep out her prior firearms conviction the
6
1
    court has {pwr} very careful of that.
7
1
    There are many other calls relating to Ms. Dobie talking
8
1
    about firearms and if he want toss go down this road it
9
1
    {oo} {aes} very slippery slope and therefore the
0
2
    government's argue {sment} twofold it's not at all as add
1
2
    {miz} {bl} it's {rae} clearly hearsay and {seblingd} ly
2
    Your Honor we're opening {tup} door to the government on
3
2
    rebuttal {qush} on on cross-examination I'm sorry asking
4
2
    her about times where she did talk about guns {tawm}
5
2



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    times when she possessed guns and admitted to {pros} s
1
    {posz} {ses} inging guns which was her 1988 conviction to
2
    rebut the testimony that she {uz} joking a about gun so
3
    that's where we're at ward ward Your Honor despite the
4
    government's inter{ar} {um} {arling} ment about slope
5
    slippery slopes an opening up doors and so forth which is
6
    absolute I nonsense, frankly, {ket} is clear under the
7
    cases that I've cited -- if the court wants know argue
8
    themly be glad to but thousand government can stand
9
    before the court with a straight face and {sthai} this
0
1
    evidence is not admissible is almost laughable.
1
    Who opened the door by bringing out the facts through or
2
1
    the opinion through Sakala that indeed a hammer on the
3
1
    trigger on the hammer or whatever it was meant that my
4
1
    client was carrying a gun?         It's there.      It's before the
5
1
    jury.   I'm entitled to attack that opinion of Sakala by
6
1
    bringing in other conversation which my client had with
7
1
    Ms. Martin in which Ms. Martin says that she joked about
8
1
    {sglfrjts} {12K3R50EU7B8G9S} do {vi} the transcript of
9
1
    that call?     Ward ward I'm so {ri}.
0
2
            THE COURT:      Do {ri} the transcript of that call?
1
2
    Ward ward there is no transcript of the call.               I'm going
2
    to play the call and first of all I'm going ask her about
3
2
    it and then when Sakala gets on the stand I intend to
4
2
    have it played and ask Sakala if that has any effect on
5
2



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    his opinion or not.
1
             THE COURT:     Who are the parties to the
2
    conversation you want to play?           Ward ward the party toss
3
    the conversation are Martin and my client.
4
             THE COURT:     All right.
5
             MS. GREENBERG:      Your Honor just to be clear ward
6
    ward the point is the government -- I don't understand
7
    this, frankly.      The government knows about both of those
8
    calls.   They know that 28four calls into question the
9
    opinion of {sa} {ka} {la}, Sakala knows about the other
0
1
    call and that alone calls into question his opinion and
1
    they want to leave this jury with the impression that my
2
1
    client was carry {ting} around a gun when they know well
3
1
    and that that's not a fact.          But this grant case in
4
1
    particular I suggest is right on point and I mean I will
5
1
    be glad to address the case but it's before the court.
6
1
             THE COURT:     Let me do this, counsel.          It's 7:10
7
1
    p.m. ward ward I know.
8
1
             THE COURT:     I'm a one week after surgery and I'd
9
1
    like to go home and go to bed and be {pwsh} -- fit a as a
0
2
    fiddle to talk about this tomorrow morning on a recess or
1
2
    something.
2
             MS. GREENBERG:      Your Honor it's the {firts} thing
3
2
    he's bringing up in the morning.
4
2
             THE COURT:     We'll {pwre} bring it up on in the
5
2



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    morning we'll have the jury in the box at ten o'clock.
1
    ly Be here at 910 anyone its Of teen.
2
            MS. JOHNSTON:       Nine o'clock you're scheduled for
3
    nine o'clock in the morning.
4
            THE COURT:      I mean nine o'clockly be here at ten
5
    minutes of nine.
6
                          (Off the record at 7:12 p.m.)
7

8

9

0
1
                                 CERTIFICATE
1
        I, Tracy Rae Dunlap, RPR, CRR, an Official Court
2
1   Reporter for the United States District Court of
    Maryland, do hereby certify that I reported, by machine
3
1   shorthand, in my official capacity, the proceedings
    adduced upon the Pretrial Proceedings in the case of
4
1   UNITED STATES OF AMERICA versus PAULETTE MARTIN, et als,,
    Criminal Action Number RWT-04-235 on July 31, 2006.
5
1

6
1        In witness whereof, I have hereto subscribed my name,
    this 1st day of April 2009.
7
1

8
1

9
1                               ______/S/___________________
                                TRACY RAE DUNLAP, RPR, CRR
0
2                               OFFICIAL COURT REPORTER
1
2

2

3
2

4
2

5
2



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